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07:04    1
                             IN THE UNITED STATES DISTRICT COURT
         2                    FOR THE WESTERN DISTRICT OF TEXAS
                                        WACO DIVISION
         3
             VLSI TECHNOLOGY LLC              *
         4                                    *
             VS.                              * CIVIL ACTION NO. W-21-CV-57
         5                                    *
             INTEL CORPORATION                *     February 24, 2021
         6
                   BEFORE THE HONORABLE ALAN D ALBRIGHT, JUDGE PRESIDING
         7                         JURY TRIAL PROCEEDINGS
                                        VOLUME 3 OF 7
         8
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08:45    1        (February 24, 2021, 8:45 a.m.)

08:45    2        THE BAILIFF:    All rise.

08:45    3        THE COURT:     Thank you.     You may be seated.

08:45    4        Good morning, ladies and gentlemen.          My understanding is

08:45    5   we have a couple of issues to take up.        I apologize.        I had

08:45    6   another hearing I had to get done this morning.          I couldn't get

08:45    7   in here soon enough.     I apologize.

08:45    8        Yes, sir?

08:45    9        MR. HATTENBACH:     Good morning, Your Honor.       One of the

08:46   10   issues we wanted to raise is Intel has a witness, Mr. Douglas.

08:46   11   The issue is he was never disclosed as an expert, no expert

08:46   12   report, no expert deposition.       And last night we received these

08:46   13   demonstratives which include a large physical board with a

08:46   14   bunch of moveable --

08:46   15        THE COURT:     He's not going to go today, is he?

08:46   16        MR. HATTENBACH:     He may.    I think it depends on how

08:46   17   quickly the proceedings move.

08:46   18        MR. MUELLER:    I think it's unlikely, Your Honor.

08:46   19        THE COURT:     I thought yesterday we thought that there

08:46   20   would just be one Intel witness that we got to today.             And so

08:46   21   just for the sake of time and getting started, if I could take

08:46   22   this one up later, either today or tonight or whatever.             I've

08:46   23   got it.   I'll take it up, but I don't want to take up the time

08:46   24   right now.

08:46   25        MR. HATTENBACH:     Okay.     That's fine.   I think he is their


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08:46    1   first witness.

08:46    2           MR. MUELLER:    He's not.      It's Mr. King.

08:47    3           MR. HATTENBACH:        Thank you, Your Honor.

08:47    4           THE COURT:     See, I'm paying attention.

08:47    5           MR. HATTENBACH:        Appreciate it.

08:47    6           THE COURT:     Yes, sir, Mr. Lee.

08:47    7           MR. LEE:     Thank you, Your Honor.     I think there are two

08:47    8   things that if I could ask Your Honor to consider --

08:47    9           THE COURT:     Sure.

08:47   10           MR. LEE:     -- that need to be considered this morning.

08:47   11           One is with Mr. Stolarski.       We were informed last night

08:47   12   about 11 o'clock that he has left the jurisdiction.

08:47   13   Mr. Stolarski has been the corporate representative at all the

08:47   14   hearings before Your Honor, introduced to the jurors at voir

08:47   15   dire, jury selection, introduced to the jury.           He was disclosed

08:47   16   as a witness.      They disclosed him.

08:47   17           THE COURT:     Did you subpoena him?

08:47   18           MR. LEE:     We did not subpoena him.     He's on the will call

08:47   19   list.

08:47   20           THE COURT:     Well, Mr. Lee, I hate --

08:47   21           MR. LEE:     But, Your Honor, actually I'm not -- if I could

08:47   22   suggest what we think we need to do, if that's all right with

08:47   23   Your Honor, I asked yesterday at 5 o'clock whether he was going

08:48   24   to testify because Your Honor had asked the question.               I was

08:48   25   told yes.


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08:48    1         Now, if I'd been told no, I would have issued a subpoena.

08:48    2   But since he's left the jurisdiction, we will have to amend our

08:48    3   deposition disclosures to add disclosures to him.          We will

08:48    4   argue the empty chair, which Your Honor would expect.             We will

08:48    5   offer -- we will make a proffer to Your Honor on Fortress,

08:48    6   because we now are in a circumstance where --

08:48    7         THE COURT:    I haven't ruled on -- I haven't -- you all

08:48    8   have not done anything with respect to Fortress during the

08:48    9   trial.   I haven't decided if Fortress is in or out.

08:48   10         MR. LEE:     And look, Your Honor, I'm not suggesting that

08:48   11   you either have the power or should order him to come back.

08:48   12   I'm not suggesting that I want to subpoena him if he's left the

08:48   13   jurisdiction.

08:48   14         THE COURT:    But I just want to take up -- you know, I had

08:48   15   an issue during the opening with Fortress because of the

08:48   16   conflict and what I was hearing about their role in the case

08:49   17   and all that, and because the opening argument is just argument

08:49   18   and it's not evidence.

08:49   19         I haven't -- Intel has not addressed the Fortress issue at

08:49   20   all as far as I could tell, in asking to be allowed to bring it

08:49   21   in as an evidentiary issue.      And so when you say you're going

08:49   22   to make a proffer on it, I haven't ruled that it's not coming

08:49   23   in.

08:49   24         MR. LEE:     We understand, Your Honor.    And so our intention

08:49   25   had been to put it in through Mr. Stolarski, who was going to


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08:49    1   be the second or fifth witness, depending on the disclosure.

08:49    2   Since he's not here any longer, I wanted to offer Your Honor

08:49    3   our position so it was clear as soon as the issue arose.

08:49    4        We will supplement our deposition designations from both

08:49    5   this case and Delaware.       There was cross use for this.         We will

08:49    6   argue the presence or absence of a witness.           The one thing I

08:49    7   don't want to have happen is to have someone get up in closing

08:49    8   and provide an explanation for why he's here if it's not part

08:50    9   of the evidentiary record.        And I think that would be --

08:50   10        THE COURT:     Let's take that up down the road.

08:50   11        MR. LEE:     Yeah -- inappropriate.

08:50   12        And the Fortress evidence would have been put in through

08:50   13   Mr. Stolarski.     So the reason we're going to make the proffer

08:50   14   to Your Honor is so you can have it at the same time we give

08:50   15   you the deposition designations for him.

08:50   16        THE COURT:     Is it not in the deposition?

08:50   17        MR. LEE:     It is in the deposition.

08:50   18        THE COURT:     Okay.    So, well, then I'll -- Mr. Chu, are you

08:50   19   opposed to him using the deposition?

08:50   20        MR. CHU:     Of course we're not -- excuse me.         Trying to get

08:50   21   to a mic.

08:50   22        THE COURT:     Yes, sir.

08:50   23        MR. CHU:     We're in favor of using depositions, but not

08:50   24   related to Fortress for reasons --

08:50   25        THE COURT:     I get that.


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08:50    1         MR. CHU:     Right.

08:50    2         THE COURT:    And so --

08:50    3         MR. CHU:     So if they -- they had designated a lot of

08:50    4   Mr. Stolarski's deposition previously.          And we don't have a

08:51    5   blanket objection to their using, if appropriate and relevant

08:51    6   and meeting the normal rules, Mr. Stolarski's deposition.

08:51    7         THE COURT:    Okay.    So, Mr. Lee, it sounds to me like the

08:51    8   issue that we have -- we have a couple of issues that aren't

08:51    9   ripe yet.

08:51   10         One is, because Mr. Chu says you're going to -- he's not

08:51   11   going to object, and I wouldn't -- if he did, I would overrule

08:51   12   it.   But you're using the deposition since he's not here.          I

08:51   13   get that.

08:51   14         When you go to put on the -- when you go to call that, it

08:51   15   doesn't seem to me like it makes much difference when you -- in

08:51   16   the order that you play that deposition.          Maybe it does to you,

08:51   17   I don't know.     But it seems to me like I can take up the part

08:51   18   of the deposition that relates to Fortress immediately before

08:51   19   you -- when the jury's not in here.

08:51   20         If you'll -- we probably have it, but if you'll get the

08:51   21   section just on Fortress that you care about, that you will

08:52   22   want to have admitted, if you'll get that to Evan in a discrete

08:52   23   way -- I don't want the whole depo -- but if you can get us

08:52   24   just the section that you want to put in, and that Mr. Chu is

08:52   25   going to object to coming in, so I can read it in advance.              And


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08:52    1   then you all can argue about whether or not it's admissible.

08:52    2        MR. LEE:     Yeah.   We'll do that, Your Honor.

08:52    3        I think the likelihood now is to play his deposition

08:52    4   closer to the end of our case so we have some time.          I wanted

08:52    5   to raise it with Your Honor because the issue has just arisen,

08:52    6   and it will require us to supplement our deposition

08:52    7   designations.

08:52    8        THE COURT:    You'll be permitted to do so.       I'm not giving

08:52    9   you -- I'm not saying one way or the other about the

08:52   10   admissibility of Fortress, but in terms of your ability to --

08:52   11   I'm not going to hear them say it's too late for you to

08:52   12   supplement now because you anticipated being able to call him

08:52   13   and he's not here.

08:52   14        And so I'm -- I've been in your shoes, Mr. Lee.              I have --

08:52   15   everything that's going on here I have experienced myself.             So

08:53   16   I understand exactly what's going on in the middle of trial.

08:53   17   And you may supplement your deposition of him, the transcript

08:53   18   that you want to play, in any manner you seek.         And at

08:53   19   someplace on Friday, I guess, where -- what is today?

08:53   20        MR. LEE:     Today's Wednesday.    I think sometime Friday we

08:53   21   can get to it.

08:53   22        THE COURT:    We can do it tomorrow, you know.        This may be

08:53   23   the best time.    As of right now, I think the best time for you

08:53   24   all -- for us to do the jury charge is tomorrow evening after

08:53   25   the trial.   If it weren't for your schedule, Mr. Lee, I would


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08:53    1   probably put it off until like Monday morning and do it and

08:53    2   then have the closing arguments.        But I don't want to waste

08:53    3   that time for you if you need to get out of here.

08:53    4         MR. LEE:     I appreciate it, Your Honor, only because the

08:53    5   other hearing is starting.

08:54    6         THE COURT:    Right.   And so I will -- we'll do the jury

08:54    7   charge either tomorrow night, or possibly at worst, Friday

08:54    8   night after trial.     But we won't take up any daytime time doing

08:54    9   the jury charge.

08:54   10         And what I'm saying is if we do the jury charge tomorrow

08:54   11   night, we may as well wrap in the Fortress issue as well.            And

08:54   12   I'll see what's in the deposition, and you can argue why it

08:54   13   should come in.     Mr. Chu can argue why it should stay out.         And

08:54   14   I'll make a ruling, and you'll be able to play it on Friday.

08:54   15         MR. LEE:     And, Your Honor, what we might accompany the

08:54   16   deposition designations with this is just -- what I called the

08:54   17   proffer -- it's just a very short brief -- it says:          Given

08:54   18   what's occurred during the evidence, here's why we should offer

08:54   19   it.   So you'll at least have our argument.

08:54   20         THE COURT:    Well, you don't need a proffer yet.

08:54   21         MR. LEE:     Okay.

08:54   22         THE COURT:    I would suggest you wait to offer -- you're

08:54   23   being way too pessimistic.        I don't know what I'm going to do,

08:54   24   but you'll only need the proffer if I decide to exclude it.

08:54   25         MR. LEE:     Fair enough.


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08:54    1         THE COURT:    Also, and it may very well be when I see what

08:55    2   he said in the deposition, I may allow some of what he said

08:55    3   about Fortress in and not other things.         I'll have to read what

08:55    4   he said to make that decision.

08:55    5         MR. LEE:     Fair enough.

08:55    6         Your Honor, for Dr. Sullivan, who we will get to this

08:55    7   morning, a few things.      One is in his demonstratives he has a

08:55    8   new opinion.     He has a per-unit royalty, $1 per unit.           It's

08:55    9   nowhere in his expert reports.

08:55   10         When we raised the issue, we were told it's just math.              If

08:55   11   you do the math, you'd come up with a number.          But that's --

08:55   12   everything on the damages end "it's just math."           It's an

08:55   13   entirely new number.

08:55   14         THE COURT:    Well, let me ask you this because I haven't

08:55   15   heard -- I didn't hear during opening what the number was.

08:55   16   We're all -- all of America's waiting to find out the answer to

08:55   17   that question with rapt attention.

08:55   18         But my sense from the beginning has been -- my sense from

08:55   19   the opening argument was that it was essentially going to be --

08:55   20   work out to be about $1 per unit, was --

08:56   21         MR. LEE:     Your Honor, that's not in any expert report.

08:56   22         THE COURT:    Okay.

08:56   23         MR. LEE:     Not once.

08:56   24         THE COURT:    Well, if -- here's -- I'm just going to have

08:56   25   to deal with this as it -- here's my problem.          I'm a big:     Has


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08:56    1   to be in the expert report, but if -- I'm just going to make

08:56    2   this up -- if it turns out that -- I'm just making these

08:56    3   numbers up -- if it turns out that Intel sold one and a half

08:56    4   billion allegedly infringing units, and Dr. Sullivan says the

08:56    5   amount of damages is $1.5 billion, and Mr. Chu says, "what does

08:56    6   that work out to be?"      And he says, "it's $1 per unit."         In

08:56    7   that sense, to me that is just math.

08:56    8         Now, what I would not -- that would not bother me.            If it

08:56    9   was the other direction, and he was saying how did you get to

08:57   10   the number?    I thought the right number was $1 and they sold

08:57   11   1.5 billion, and that was not disclosed in the report, then

08:57   12   that I would have a concern about.        Does that make sense?

08:57   13         MR. LEE:     Your Honor, and this is -- I apologize for

08:57   14   taking more time, but I think this is an important part of my

08:57   15   making the record.

08:57   16         THE COURT:    Yes.

08:57   17         MR. LEE:     There is a fundamental difference between what

08:57   18   he did and a per-unit royalty.       And responding to a per-unit

08:57   19   royalty and identifying the problems with even your -- the

08:57   20   first part of your analogy, which is 1.5 divided by 1.5, there

08:57   21   is a separate attack on the legitimacy of that type of royalty.

08:57   22         We have not had a chance to respond to it, because it

08:57   23   wasn't in his report.      It is a separate analytical framework.

08:57   24   It is a separate legal framework.

08:57   25         And to have him now do this on the third day of trial for


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08:57    1   the first time under the guise of "it's just math," it's not

08:58    2   just math.    We would have a full-throated response as to why

08:58    3   this was not right.

08:58    4         And Your Honor will recall that one of your motions in

08:58    5   limine was to exclude evidence of royalty stacking.            Believe

08:58    6   me, if they did a per-unit royalty, you would have heard a ton

08:58    7   about the royalties we're paying now and royalty stacking.

08:58    8         THE COURT:    Well, here's what we're going to do.            I'm not

08:58    9   going to rule, so don't -- I'm not going to hear from VLSI at

08:58   10   this point because I'm not going to rule right now.            When we

08:58   11   get to that point of Dr. Sullivan's direct where they want

08:58   12   to -- where VLSI wants to use that slide, we'll take a break.

08:58   13   I'll hear what the questions are going to be from counsel to

08:58   14   Dr. Sullivan and his answers.        And then I'm going to ask the

08:58   15   plaintiff to show me what in his report prior to this time

08:59   16   supports him being able to say that.

08:59   17         MR. LEE:     Fair enough.

08:59   18         THE COURT:    If it's in the report, if I decide it is,

08:59   19   he'll get to testify about it.        If I decide that it's not, then

08:59   20   he won't.

08:59   21         MR. LEE:     Fair enough, Your Honor.

08:59   22         THE COURT:    So the burden's on VLSI when they get to this

08:59   23   point to say, you know, Judge, this would be a good time to

08:59   24   take a break.     I'll understand what that means.         I'll excuse

08:59   25   the jury, and we'll take up -- this is an issue I can't decide


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08:59    1   kind of out of context.

08:59    2         MR. LEE:     No.   Certainly these issues are, as we did

08:59    3   yesterday with the 1006 issue, it's just to alert you to the

08:59    4   issue so it doesn't pop up while the jury's sitting there.

08:59    5         Just a couple others we can do quickly.         There are a

08:59    6   series of demonstratives that -- where Dr. Sullivan picks

08:59    7   numbers out, big numbers, research and development numbers,

08:59    8   total revenue numbers.

08:59    9         Your Honor has ruled on that in Rule No. 7 and said those

08:59   10   numbers should be out.      We have said that for the exhibits that

08:59   11   have them in, you know, we'll work with the other side to

09:00   12   redact what shouldn't come in under Your Honor's ruling, but to

09:00   13   allow what should come in that is critical to his analysis.

09:00   14         But the slides that he has now, and just to alert you

09:00   15   because I will be objecting to them, they have these other

09:00   16   numbers that have nothing to do with his analysis other than

09:00   17   the fact they're big numbers from, as Your Honor knows from

09:00   18   your own experience, SEC reports, annual reports of a whole

09:00   19   host of numbers, there's a bunch of demonstratives that have

09:00   20   those in and so we would be objecting to those so Your Honor

09:00   21   knows.

09:00   22         THE COURT:    Are those numbers in his report?

09:00   23         MR. LEE:     The documents are in his report, but that was

09:00   24   before Your Honor's MIL ruling on what would come in and

09:00   25   wouldn't and before we had the argument on the entire market


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09:00    1   value rule and the 403 issues.

09:00    2         THE COURT:     Let me hear from counsel for VLSI, and I'm

09:00    3   presuming you don't want to put something in I ruled on in a

09:00    4   MIL -- well, let me start over.

09:00    5         The point of the MIL is to have you come to me before you

09:01    6   put it in, and it's not actually a ruling that it's

09:01    7   inadmissible.

09:01    8         Let me ask you -- try it this way.        Is this something --

09:01    9   and, Mr. Lee, I want you to -- I want you to weigh in on this

09:01   10   as well.    Is this something that you can show the demonstrative

09:01   11   and, Mr. Lee, you can object at that time and I can see from

09:01   12   what is happening in the questioning of whether or not I think

09:01   13   it should be admissible or not?

09:01   14         MILs are typically to keep something out that where just

09:01   15   the prejudice of showing it to the jury would be so profound

09:01   16   that, you know, I can't just rule on the relevance of it as we

09:01   17   go.

09:01   18         What -- let me ask you what you think about that and then

09:01   19   I'll hear from Mr. Lee.      It seems to me this is something I can

09:01   20   probably deal with as you show the demonstrative.           I hear the

09:01   21   context of what you're asking, and Mr. Lee can object.

09:02   22         MS. PROCTOR:    I think that's fine, Your Honor.        I would

09:02   23   love to hear from Mr. Lee what specific demonstratives he's

09:02   24   concerned about because the SEC filing demonstratives we've

09:02   25   submitted do not include any of the big numbers.           They just


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09:02    1   include statements about the competition in the market.

09:02    2         THE COURT:     Well, what would certainly make me happy going

09:02    3   forward is if someone has a concern with someone else's

09:02    4   demonstratives, if they make sure the other side knows which

09:02    5   demonstratives those are.       So, Mr. Lee, if you have not favored

09:02    6   VLSI with which demonstratives you are unhappy about, I would

09:02    7   do that.

09:02    8         MR. LEE:     We did last night, Your Honor.

09:02    9         MS. PROCTOR:     And I'm so -- I'm not sure which ones you're

09:02   10   referring to now because there are none -- I'm sorry, Your

09:02   11   Honor.     I'm not sure which ones he's referring to now because

09:02   12   there are none with the large numbers that relate to SEC

09:02   13   filings, and we also offered to submit just selected pages from

09:02   14   the SEC filings into evidence, and we've prepared those

09:02   15   redacted versions that we would be happy to submit in place of

09:02   16   the full SEC filings.

09:02   17         THE COURT:     Okay.   Well, here's what I'm going to do.

09:03   18         Mr. Lee, this seems to me to be something we can deal with

09:03   19   as Dr. Sullivan's testifying.        You can object to them, and I'll

09:03   20   see in the context of the question and answer whether or not I

09:03   21   think they should come in as evidence or not.

09:03   22         MR. LEE:     That's fine, and to the extent there's any

09:03   23   ambiguity, I'll rescind the list of the ones that we are

09:03   24   objecting to because there'll be some time when Dr. Annavaram's

09:03   25   on the stand.


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09:03    1         THE COURT:     Okay.

09:03    2         MS. PROCTOR:    And one other comment I wanted to make, Your

09:03    3   Honor, just on the per unit versus the overall numbers, I know

09:03    4   you're going to address that later.        We understand your ruling.

09:03    5   We'll happily go through and show you how Dr. Sullivan

09:03    6   disclosed a running royalty in his report and that's always

09:03    7   been the form of royalty, but I want to make sure that the

09:03    8   Court is aware.     Intel's also objecting to our use of the total

09:03    9   accused revenues which you ruled on during the MIL phase and

09:03   10   said that those can come in.       The issue is those numbers are

09:03   11   for one patent 50 billion, for another patent 123 approximately

09:04   12   billion dollars.

09:04   13         And so in order for us to show the math of Dr. Sullivan's

09:04   14   calculation, we have to use those 50 billion or $123 billion

09:04   15   numbers or we have to divide, just simple division like Your

09:04   16   Honor said, the total royalty by the total number of units and

09:04   17   do it on a per-unit basis.

09:04   18         So it's the exact same math.       I'm happy to show you the

09:04   19   slides and show you the support in the report, but I want to be

09:04   20   clear that this is an issue that's been brought on actually by

09:04   21   Intel's objections and their -- basically they said we can't

09:04   22   use the big numbers.     They think that's prejudicial so we've

09:04   23   tried to adjust and use the small ones.

09:04   24         THE COURT:     Well, when Dr. Sullivan tries to move forward,

09:04   25   I'll decide whether he can use the big numbers or the method


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09:04    1   he's using to not use the big numbers, but I'll understand it

09:04    2   better if I hear Dr. Sullivan's testimony.

09:04    3         MS. PROCTOR:    Absolutely, Your Honor.       And we'll show you

09:04    4   the calculations both ways, and we think both are admissible.

09:04    5         THE COURT:     Okay.   Mr. Lee?

09:04    6         MR. CHU:     Go ahead.

09:04    7         MR. LEE:     Last issue with Dr. Sullivan, Your Honor, he has

09:05    8   a series of slides to show the hypothetical negotiation as

09:05    9   between Intel and NXP.       It's between Intel and Freescale at the

09:05   10   time of the hypothetical negotiation of the date.

09:05   11         This is something Your Honor addressed in part in the

09:05   12   opening slides.     They just need to be correct on who the

09:05   13   parties are to the hypothetical negotiation.

09:05   14         THE COURT:     I definitely agree that it should be between

09:05   15   Freescale and Intel.

09:05   16         MR. LEE:     Thank you, Your Honor.

09:05   17         MS. PROCTOR:    And I'm sorry.     Very briefly on that, Your

09:05   18   Honor.   It's very clear on our slides -- sorry -- it's clear on

09:05   19   our slides that it would be between Freescale and Intel.

09:05   20   That's what Dr. Sullivan will say.        We've just put NXP's logo

09:05   21   next to Freescale to remind the jury of the relationship

09:05   22   between the companies now and the merger.

09:05   23         THE COURT:     Why don't we take NXP off?      Because I think it

09:05   24   does need to be made clear.

09:05   25         You can -- he can certainly say that, but I think it's


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09:05    1   fair to Intel that the jury understand that even -- it might be

09:05    2   NXP now, but the negotiation would have been between Freescale

09:06    3   as it stood at the time and Intel as it stood at the time and

09:06    4   NXP's -- and the relationship between Freescale and NXP is --

09:06    5   there's no relevance to that for the hypothetical negotiation.

09:06    6         MS. PROCTOR:    Understood, Your Honor.

09:06    7         THE COURT:     As I understand hypothetical negotiations and

09:06    8   who knows how well I do so... anything else, Mr. Chu?

09:06    9         MR. CHU:     Yes.    At the end of the day yesterday, promised

09:06   10   to get back to the Court about the time.         And Suzanne's time

09:06   11   keeping and your rounding up is perfectly fine and consistent

09:06   12   with our time keeping.

09:06   13         Second, I wanted to give -- share with Your Honor a short

09:06   14   report on written discovery, but more importantly on deposition

09:06   15   designations, and then third, we are going to read in the list

09:06   16   of the exhibits that we thought were admitted.

09:06   17         So my neutral report without faulting either side, there

09:06   18   have been designations and counter-designations.           I'm not sure

09:07   19   they're all complete.       They may be largely complete, but I

09:07   20   think both sides have objections, and we will work with Intel's

09:07   21   counsel to get you those objections as soon as possible.

09:07   22         I want to confirm that the running time in the deposition

09:07   23   is charged against the party who had designated that.

09:07   24         THE COURT:     Correct.

09:07   25         MR. CHU:     Okay.    And what is the Court's preferred way to


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09:07    1   get you the objections?       Would it be for us to just to mark it

09:07    2   on the deposition transcripts or in some other way?

09:07    3         THE COURT:    I think -- here's what I would do.        If you

09:07    4   just give me the portions of the transcript and highlight the

09:07    5   portions that one side's objected to, I've done this long

09:07    6   enough where I'm not going to really pay attention to what your

09:07    7   objections are.     I'm just going to read through it, and I'll

09:07    8   know -- I think I'll be able to figure it out.          If I have a

09:07    9   question, I'll say, why are you objecting to this, but I think

09:07   10   I can read those pretty quickly and decide whether or not I

09:08   11   think they're objectionable.

09:08   12         MR. CHU:     So we'll work with Intel's counsel, try and get

09:08   13   those to you as quickly as possible, but it may be that we

09:08   14   don't get all or everything to you today in time so that --

09:08   15         THE COURT:    That's fine.

09:08   16         MR. CHU:     Okay.    And then there may be some written

09:08   17   discovery we want to read to the jury.         So it may be --

09:08   18         THE COURT:    Responses to interrogatories and that sort of

09:08   19   stuff?

09:08   20         MR. CHU:     Yes, responses to written discovery.

09:08   21         THE COURT:    Okay.

09:08   22         MR. CHU:     So it may be when we have called our last

09:08   23   witness that we formally will not have rested subject to the

09:08   24   items I just discussed.

09:08   25         THE COURT:    Understood.


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09:08    1         MR. CHU:     And then my colleague, Mr. Heinrich, will do a

09:08    2   superb job of reading exhibit numbers.

09:08    3         THE COURT:     Well, he did a fine job on his direct

09:08    4   yesterday.     I expect nothing less today.

09:08    5         MR. HEINRICH:     And I won't go too fast.      PTX-0007,

09:09    6   PTX-0227, PTX-1588-NAT, PTX-1669, PTX-1669-NAT, PTX-1670-NAT,

09:09    7   PTX-1696-NAT, PTX-1802, PTX-1805, PTX-1949-NAT, PTX-1979-NAT,

09:09    8   PTX-3481, PTX-3484, PTX-3494, PTX-3511, PTX-3523, PTX-3574,

09:09    9   PTX-3579, PTX-3588, PTX-3588-NAT, PTX-3628, PTX-3638,

09:10   10   PTX-3641-NAT, PTX 3659, PTX-3662, PTX-3662-NAT, PTX-3695,

09:10   11   PTX-3845, PTX-3851, PTX-4375, PTX-4396, D-1065, D-1145 and

09:10   12   D-1154.    The last three were excerpts from source code files.

09:10   13   Does Intel agree?

09:10   14         MR. MUELLER:    I think there was four of them that we did

09:10   15   not understand to be admitted.       What I would suggest, Your

09:10   16   Honor, if we could with Your Honor's permission confer with

09:11   17   VLSI's counsel and at lunch perhaps let you know the final

09:11   18   numbers.

09:11   19         THE COURT:     Absolutely.

09:11   20         MR. MUELLER:    Thank you, Your Honor.

09:11   21         THE COURT:     And that's why we do this.      I mean, I want to

09:11   22   be on the same page as to what's been admitted.

09:11   23         Is there anything else we need to take up before I bring

09:11   24   in the jury?

09:11   25         MR. CHU:     No, Your Honor.


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09:11    1         MR. LEE:     No, Your Honor.

09:11    2         THE COURT:     Okay.    If you all will get ready and if you

09:11    3   can bring your witness up, I'll step back, we'll bring in the

09:11    4   jury and we'll be in in a few seconds.

09:13    5         THE BAILIFF:      All rise.

09:13    6         THE COURT:     Please remain standing for the jury.

09:13    7         (The jury entered the courtroom at 9:13.)

09:14    8         THE COURT:     You may be seated.

09:14    9         Yes.    It's always fascinating to me to see how you move

09:14   10   during the week.       Do you put on more clothes, do you put on

09:14   11   less clothes, is it hot in here, is it not hot in here.              I wear

09:14   12   this and so I can never tell what the temperature in here

09:14   13   really is for you all sitting here.          Welcome back.

09:14   14         Counsel, you may proceed with your direct.

09:14   15         MR. WASHBURN:      Good morning.     Things ended a little

09:14   16   quickly yesterday.       I don't think I got a chance to introduce

09:14   17   myself.    My name is Ian Washburn.        It's nice to meet you.

09:14   18                                DIRECT EXAMINATION

09:14   19   BY MR. WASHBURN:

09:14   20         Q.     And good morning, Professor Annavaram.

09:14   21         A.     Good morning.

09:14   22         Q.     Now, I'm not going to qualify you again, but just

09:14   23   because there was a lot of technical testimony yesterday, could

09:14   24   you briefly remind the jury who you are?

09:14   25         A.     Just in case you forgot, my name is Murali Annavaram.


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09:15    1   I am a professor at USC.

09:15    2         Q.    And did you prepare any slides for your presentation

09:15    3   today, professor?

09:15    4         A.    Yes.   I have prepared a few slides so that you can

09:15    5   follow along as I describe some of the technology-related

09:15    6   issues.

09:15    7         Q.    All right.   Now, just to situate us before we get to

09:15    8   your opinions, could you explain to the jury using your slides

09:15    9   if you like what your role is on this case?

09:15   10         A.    My role in this case is to quantify the benefits.

09:15   11   Basically, you heard Professor Conte with respect to what the

09:15   12   infringing technologies are and what my role is, to say what

09:15   13   does that mean in terms of power benefits?          Does it improve

09:15   14   your system performance, system powered by 5 percent, 10

09:15   15   percent, whatever that number is, and so it's just trying to

09:15   16   quantify and putting numbers, some technical numbers to the

09:16   17   infringing technologies, and so I worked with Professor Conte

09:16   18   to provide this analysis.

09:16   19         Q.    And do you have an understanding of what was done

09:16   20   with the results of your analysis?

09:16   21         A.    My understanding is that the data that I provided to

09:16   22   Professor Conte was then sent or given to Dr. Sullivan, who you

09:16   23   will hear from a little bit later, which is then used to do

09:16   24   damage calculations.

09:16   25         Q.    All right.   Now, let's get to your specific analyses.


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09:16    1   What specifically were the analyses you did in this case?

09:16    2         A.     So I did two specific tasks that I'm listing in the

09:16    3   slide.     The first one relates to the '373 patent, and here you

09:16    4   heard again from Professor Conte regarding these two power

09:16    5   supplies versus a single power supply connecting to the memory,

09:16    6   and my role here is to show you what is the power savings

09:17    7   associated with that ability to switch between the two power

09:17    8   supplies.

09:17    9         And then my second analysis is associated with the '759,

09:17   10   and in this particular patent, my role is to provide the power

09:17   11   used by the ring domain compared to the total chips.                Because

09:17   12   the total chip has some power, what is the fraction of the

09:17   13   power that the ring is going to consume?

09:17   14         Q.     And, Professor, at least on my screen, the -- like a

09:17   15   good teacher, you're making annotations on the slides.               At

09:17   16   least on my screen those are not appearing just for your

09:17   17   information.     They may not be on the jury's.

09:17   18         A.     Okay.

09:17   19         Q.     Now, was your approach in this case similar to your

09:17   20   universal research or was it different?

09:17   21         A.     So the approach that I took to this task is similar

09:18   22   to the research that I conduct in my research group, in the

09:18   23   sense that we followed rigorous existing scientific methodology

09:18   24   to provide the power analysis.

09:18   25         But in addition, I also had the advantage of getting


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09:18    1   access to Intel's confidential tools.         And since I had access

09:18    2   to those confidential tools, I was able to conduct this

09:18    3   analysis more precisely because it's -- these tools are

09:18    4   designed and developed by Intel.

09:18    5         MR. WASHBURN:     Now, and, Your Honor, we believe what's on

09:18    6   our slides and what he's planning to say is not confidential.

09:18    7   Intel can inform us if they disagree.

09:18    8         MR. MUELLER:    Your Honor, I would ask if we could turn off

09:18    9   the monitors for the public.       I'm not asking to seal the

09:18   10   courtroom --

09:18   11         THE COURT:     Perfect.

09:18   12         MR. MUELLER:    -- just turn off the monitors, please, Your

09:18   13   Honor.

09:18   14         THE COURT:     But -- and Intel understands that this is

09:18   15   being broadcast by telephone, so I assume you're okay with that

09:19   16   as well?

09:19   17         MR. MUELLER:    Yes, Your Honor.      The only thing else I'd

09:19   18   ask is that if the witness is going to refer to specific

09:19   19   numbers in some of these spreadsheets, if he could instead just

09:19   20   refer to the screen in front of the jury without reading them.

09:19   21         THE COURT:     That'd be fine.

09:19   22         Are you okay with that, sir?

09:19   23         MR. WASHBURN:     We'd like to read exhibit numbers, but

09:19   24   aside from that, yes.

09:19   25         THE COURT:     Oh, no.    Sure.   Of course.   But -- you're


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09:19    1   welcome to.

09:19    2         Doctor, do you understand?

09:19    3         THE WITNESS:     Yeah.   Thank you.

09:19    4         THE COURT:     Very good.    Thank you.

09:19    5   BY MR. WASHBURN:

09:19    6         Q.     All right, sir.      Then on the note of those

09:19    7   confidential tools, what specific tools did you use?

09:19    8         A.     Yeah.   So as I just mentioned, I used tools that were

09:19    9   provided to me by Intel.       These are Intel's confidential tools

09:19   10   that I have used.

09:19   11         And in particular I used two of the Intel's confidential

09:19   12   tools for doing power modeling.         One is called the Intel Power

09:19   13   Model.     The other one is called the Fox2.       So these are the two

09:19   14   tools that I used in this analysis.

09:19   15         Q.     And how did you get access to these confidential

09:19   16   tools?

09:19   17         A.     So since these are confidential tools, it's not

09:20   18   something that, even as a university professor, I would have

09:20   19   access to directly.      It's not a website I can go and download

09:20   20   them from.

09:20   21         Instead, I would have to sign a protective order, and I

09:20   22   would have to go through some security protocols to log into

09:20   23   systems to get access.       And there is a continuous video camera

09:20   24   on the computer that will monitor my access to these tools.

09:20   25         So every minute that I'm on the -- actually every second


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09:20    1   I'm on the machine, there is a video that is continuously

09:20    2   streamed to Intel so they can see that I'm actually accessing

09:20    3   that tool.

09:20    4         Q.     All right.   Now, the first of the two tools that you

09:20    5   mentioned is the Intel Power Model tool.          What is the Intel

09:20    6   Power Model tool?

09:20    7         A.     So let me take a little bit of a deep dive into just

09:20    8   explaining what does that tool look like.          This is a sort of a

09:20    9   screenshot of the Power Model tool.         It might look a lot like a

09:21   10   spreadsheet that you may have seen before, like an Excel or

09:21   11   some other kind of spreadsheets, except this is fairly

09:21   12   complicated and it has thousands and thousands of inputs that

09:21   13   go into the model.

09:21   14         And these inputs are then used to compute the power

09:21   15   consumption of the chip.       So we can say, when I put in these

09:21   16   inputs, the chip consumes less than 14 watts of power.              And

09:21   17   again, watts are nothing but a unit of power, you probably

09:21   18   heard electric bulb is two watts, four watts.           It's the same.

09:21   19   That's what power here stands for.

09:21   20         And this tool not only tells you the whole chip power, but

09:21   21   it can also divide the chip into multiple pieces and provide

09:21   22   the power consumption information for each of the pieces within

09:21   23   the chip.    So it can kind of break down the power into multiple

09:21   24   components within the chip.

09:21   25         Q.     And are you referring to Exhibit 77 there, sir?


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09:22    1         A.    Yes.   It's hard to read, but my screen doesn't show

09:22    2   the exhibit number at the bottom, so...

09:22    3         Q.    Have you seen any evidence of how much time Intel

09:22    4   spent building this Power Model tool?

09:22    5         A.    So I reviewed Mr. Stephen Gunther's testimony, and he

09:22    6   has -- he was asked the same question regarding the effort

09:22    7   required to build these tools.        And in his opinion, it takes

09:22    8   many thousands of hours to design and build these tools.

09:22    9         Q.    And how does Intel use these Power Model tools?

09:22   10         A.    So the way these tools are used is imagine that you

09:22   11   have a design and you want to make a change to the design.            And

09:22   12   you want to make that one change, keeping everything else

09:22   13   constant.

09:22   14         So if you want to make that design change, you want to

09:22   15   know what is the impact of the change on the system's power.

09:23   16         So previously, if it was consuming 14 watts, if I made

09:23   17   this change, does it consume more than 14 watts or less than

09:23   18   14 watts?    And I want to be able to make that analysis by doing

09:23   19   these comparisons.      And these are the kinds of comparisons

09:23   20   Intel, I believe, does, which is also something -- again I

09:23   21   can't see the trial exhibit in here because it's hidden.             So I

09:23   22   can just say that this is Intel's document that talks about

09:23   23   essentially this comparison analysis.          We can use this for

09:23   24   doing, you know, what-ifs scenarios of a design.

09:23   25         Q.    And, sir, are you referring to Slide 8.8, that has


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09:23    1   the Exhibit No. 2477 on it?

09:23    2           A.   Yeah.    So I can see the slide number but not the --

09:23    3           Q.   Thank you, sir.

09:23    4           A.   -- the exhibit number, so...

09:23    5           Q.   All right.    The second of those two power testing

09:23    6   tools that you mentioned was the Fox2 tool.            What is the Fox2

09:24    7   tool?

09:24    8           A.   So Fox2 is another one of Intel's Power Model.          And

09:24    9   the difference between this Power Model and the previously

09:24   10   described Power Model, the spreadsheet model, is that this

09:24   11   tool, the Fox2, can monitor the power consumption varying over

09:24   12   time.    For example, if the CPU or the processor is running real

09:24   13   fast because it has to do a lot of work, it's going to burn

09:24   14   more power.      So it's going to consume more power and that's

09:24   15   tracked at that instance in time.

09:24   16           And let's say a second later, the processor goes to some

09:24   17   idle state, like not much to do, sit there and go to sleep, in

09:24   18   which case its power goes down.          And when the power goes up or

09:24   19   down, it's tracking these changes over time and continuously

09:24   20   figuring out what is the power consumption that chip is burning

09:24   21   as the workload goes up and down.

09:25   22           Q.   And did you see any evidence of whether Intel finds

09:25   23   this tool reliable?

09:25   24           A.   So again, I looked at a few documents that Intel has

09:25   25   provided me, which includes some e-mails where Intel engineers


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09:25    1   talked about how good this tool is.          "Tool" here Fox2.       And

09:25    2   they talk about near 100 percent accurate correlation, which

09:25    3   means the data that this tool provides you is as close to the

09:25    4   actual physical chip that you are going to test on.             So it's a

09:25    5   very good, accurate simulation of the tool -- of the chip.

09:25    6           Q.   And are the two documents these referred to

09:25    7   Exhibits 2478 and 2465?

09:25    8           A.   That's right.     So you will see that this says

09:25    9   PTX-2478 and PTX-2465.

09:25   10           Q.   So we've now talked about two tools you used for your

09:26   11   testing of power benefits of the patents.           Did you have to

09:26   12   provide any inputs to those tools?

09:26   13           A.   So there are two inputs that these tools take.            The

09:26   14   first one is because Intel has literally, you know, dozens of

09:26   15   various kinds of processors, you have to first pick what

09:26   16   processor model that you want to actually measure this data on.

09:26   17   So one of the inputs is the processor model.            And you've

09:26   18   probably heard by now words like "Haswell," "Broadwell."              So

09:26   19   you have to first input one of that.          That's the first input to

09:26   20   this system.

09:26   21           And the second input to the system, these tools, is what

09:26   22   kind of workload, does this -- this processor is likely to be

09:26   23   used.    So is it doing computations or is it doing like Word

09:26   24   document reading?       So we have to kind of give that input as

09:27   25   well.


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09:27    1         So those are the two inputs that one has to give.             One is

09:27    2   the CPU information, which you want to measure, and second is

09:27    3   the workload that you want to simulate on these systems.

09:27    4         Q.     So starting with the first of those two inputs, how

09:27    5   did you decide which products to use as representative samples

09:27    6   in your analysis?

09:27    7         A.     So when I started doing the analysis, I looked for

09:27    8   the processors which have the highest volume in terms of number

09:27    9   of units that are actually sold to pick that as the model that

09:27   10   I want to simulate in my system.        And so I picked the

09:27   11   processors that are accused processors and also have the

09:27   12   highest volume.     So that's how I picked what to simulate as the

09:27   13   processor.

09:27   14         Q.     And then turning to the second of those two inputs

09:27   15   you described, how did you decide what work those products

09:28   16   would be doing in your tests?

09:28   17         A.     So if you recall the second of the inputs, the first

09:28   18   one is the processor model; the second one is the workload, the

09:28   19   kind of work the system is expected to do.          And here I relied

09:28   20   on a -- something called a "MobileMark."         This is a benchmark

09:28   21   suite, and obviously it's not a very common term.           So benchmark

09:28   22   is nothing but a collection of applications --

09:28   23         (Interruption.)

09:28   24         (Off-the-record discussion.)

09:28   25         THE COURT:    No one else is allowed to have a phone, so...


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09:28    1   If anyone else's goes off, you get a pass.

09:28    2           (Laughter.)

09:28    3           THE WITNESS:    I didn't even bring my phone in just to be

09:28    4   safe.

09:28    5   BY MR. WASHBURN:

09:28    6           Q.   So, sir, I think you were describing your use of

09:28    7   benchmarks in your analysis.

09:28    8           A.   Correct.    And so for the MobileMark, it's a

09:29    9   collection of applications, and I kind of listed a few here

09:29   10   that are quite familiar to many of you:           Word documents, you

09:29   11   must have read, edited things like Word documents; Internet

09:29   12   Explorer, which is a browser you can browse the web with; Excel

09:29   13   spreadsheets; and PDF document readers.           So these are things

09:29   14   that you would have used on a daily basis in using your

09:29   15   computers.

09:29   16           And so it's packaged, the collection of applications that

09:29   17   are packaged together, and that's what is called a MobileMark.

09:29   18           Q.   Now, is MobileMark limited to laptops in terms of its

09:29   19   use in research like yours?

09:29   20           A.   So there is a little bit of a misnomer here.            It says

09:29   21   "MobileMark," kind of giving you an impression that it is a

09:29   22   mobile, which typically corresponds to things that can be

09:29   23   moved, like laptops.

09:29   24           But if you look at the applications that -- I've

09:29   25   highlighted a few of them, like the Word, Excel spreadsheets


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09:30    1   and PDF readers -- these are not just on laptops.           They're also

09:30    2   on your desktops and like, for example, the PowerPoint that we

09:30    3   are projecting on this particular screen is not just a

09:30    4   laptop-only projection, but it is on desktops and such.

09:30    5         So these are used across a broad spectrum of computing

09:30    6   systems, if you would like to think of it that way.

09:30    7         Q.    Did you do any of your own testing to confirm the

09:30    8   data in Intel's Power Model?

09:30    9         A.    So the Intel Power Model, as well as the Fox2,

09:30   10   require you to pick the work -- the application that the user

09:30   11   is going to look at or run, and they come with their own data

09:30   12   set for picking that workload.

09:30   13         What I did was I took six different computers, and I ran

09:31   14   the MobileMark on those six different computers.           These are

09:31   15   some of the accused processors have -- these systems have them.

09:31   16   And when this MobileMark is running on these computer systems,

09:31   17   I measured how active the CPU is, how sleepy the CPU is at

09:31   18   various times as the workload continues to progress.

09:31   19         So just to give you an idea, the MobileMark, for example,

09:31   20   really simulates the end user behavior, like, for instance,

09:31   21   think of Word document.      You are not editing every single

09:31   22   second.    You edit a few words and then you're going to just

09:31   23   sort of stare at what you wrote so that you can go back and

09:31   24   edit again.    And so it has this notion of idleness, where

09:31   25   you're actually just staring at the screen, and it can actually


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09:31    1   simulate that behavior also.

09:31    2         And so as it simulates, it actually tells you what the CPU

09:32    3   usage looks like.      Oh, now I'm actually active, now I'm not

09:32    4   active, now I'm active.       So it's maintaining this information.

09:32    5   And so I measured that.

09:32    6         And once I measured that, I then chose that measured

09:32    7   values to see which of the Intel's various power available

09:32    8   system -- power models that are available have a reasonable

09:32    9   match, and I picked the one which has a close match to that.

09:32   10         Q.     All right.   Well, thank you for that discussion of

09:32   11   the two tools that you used.

09:32   12         I'd now actually like to turn back to the first of the two

09:32   13   analyses that you did with these tools.          The first, I believe,

09:32   14   related to the '373 patent.        Could you describe that analysis

09:32   15   for the jury?

09:32   16         A.     Yeah.   So just to recollect the -- this particular

09:32   17   slide.     You've seen this multiple times, I believe, in

09:32   18   Professor Conte's presentation.         So if you recall the '373

09:32   19   solution that Professor Conte described as having two power

09:33   20   supplies, which are shown in these two different colors, and

09:33   21   when my ring is sleeping here, the CBO and the ring is

09:33   22   sleeping, then basically the power comes from the top power

09:33   23   supply.

09:33   24         When the ring is not sleeping, so when the ring is

09:33   25   actually -- so this is showing you what ring is sleeping, but


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09:33    1   let's say the ring is actually active, then the power comes

09:33    2   from this.

09:33    3         And so I simulated this and this mux which is nothing but

09:33    4   a selection between these two choices.         And I simulated both of

09:33    5   them and said, okay, so this is how much power is going to be

09:33    6   consumed if I did this '373.

09:33    7         The alternative solution, if I didn't have this muxing

09:33    8   capability, is to have a single power supply which is what is

09:33    9   shown here, on the alternative strategy.         So I simulated the

09:34   10   alternative strategy where the power is provided to the ring

09:34   11   and to the memory, the C6 SRAM.

09:34   12         And even if the ring is sleeping, we still have the power

09:34   13   going to the SRAM from this power supply, and therefore the

09:34   14   ring is also getting that power even if it is sleeping.             So

09:34   15   it's kind of going to borrow a little bit of extra power simply

09:34   16   because the way these systems work, if you give them power even

09:34   17   if they are sleeping, they would burn some of it.

09:34   18         Q.     So thank you for that conceptual explanation.           And

09:34   19   could you just explain briefly -- or concretely what you

09:34   20   actually did?

09:34   21         A.     Yeah.   So let me take the slide down.

09:34   22         So the way to do this experiment, those two scenarios that

09:34   23   I described, is to take the power model, and within the Power

09:34   24   Model you create a scenario where whenever the ring sleeps, the

09:34   25   power to the C6 SRAM comes from the top power supply.              Whenever


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09:35    1   the ring is awake, the power to the C6 SRAM comes from the

09:35    2   bottom of the two power supplies.         And so you do that

09:35    3   simulation.

09:35    4         And for the alternative strategy is simply ignore whether

09:35    5   this ring is sleeping or not, constantly provide the power to

09:35    6   the C6 SRAM and the ring always from the same power supply.

09:35    7   And so now you have these two choices that you can model within

09:35    8   that Intel Power Model.

09:35    9         Q.    And what did you find in your '373 analysis, sir?

09:35   10         A.    So I'm going to put some numbers to the benefit.              So

09:35   11   basically this is a Haswell processor, which is one of the

09:35   12   accused processors, I believe.        It is two cores is what I

09:35   13   simulated with 15-watt power consumption.          And this is the

09:35   14   power consumption without the mux.         So this is -- I didn't have

09:35   15   that solution where there is no selected.          It burned 1761

09:36   16   milliwatts.

09:36   17         When I have the mux, basically I can reduce the power

09:36   18   consumption down by 96 milliwatts to 1665 milliwatts.               And

09:36   19   therefore the total power savings, because of the selection

09:36   20   capability, is 5.45 percent which is just simply 96 divided by

09:36   21   the 1761.

09:36   22         Q.    Was Haswell the only accused product for which you

09:36   23   did this analysis?

09:36   24         A.    I did this analysis also for the second of the

09:36   25   accused products, for '373 which is the Broadwell processor.


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09:36    1   And here the Broadwell processor, two cores again, same

09:36    2   analysis, 1353 milliwatts versus 1261 [sic] so you save

09:36    3   6.36 percent.

09:36    4         Q.    All right.   Thank you.

09:36    5         Let's turn now to the second of your two analyses, the one

09:36    6   related to the '759 patent.

09:36    7         Can you describe that for the jury?

09:36    8         A.    Yeah.   So for the '759 I'm interested in measuring

09:37    9   the power consumed by the ring bus domain as a fraction of the

09:37   10   total chip.     And so that's the analysis that I am interested in

09:37   11   conducting.

09:37   12         Q.    And how did you go about that analysis?

09:37   13         A.    So let me again take down the slide just a minute

09:37   14   here to explain.

09:37   15         So for the '759 analysis, what I have done is I have taken

09:37   16   the Fox2, the model that I mentioned, the second of the two

09:37   17   power models.

09:37   18         And in this Fox2 I can essentially run a workload, and it

09:37   19   is measuring as the work is continuing.         Let's say, for a

09:37   20   second, it will measure how the processor is going

09:37   21   active/inactive, active/inactive and all of that.           And it will

09:37   22   basically divide the total power available of the chip and say

09:37   23   this is the power consumed by the ring domain, this is the

09:37   24   power consumed by the cores or the processors themselves.

09:38   25         So you can do this on Fox2 and you run it for whatever


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09:38    1   number of minutes or seconds that you're interested in, and you

09:38    2   get the data back.

09:38    3         Q.     And what results did you find?

09:38    4         A.     So the results -- let me again put some numbers here.

09:38    5   So this is on a Whiskey Lake which is, I believe, one of the

09:38    6   accused products.     It's a two-core Whiskey Lake that I used.

09:38    7   The ring domain consumes 1021 milliwatts from the Fox2 analysis

09:38    8   out of the total chip power of 5412.        And so it is 1000 divided

09:38    9   by 5400 will give you 18.86 percent.

09:38   10         Q.     Did you take any steps to confirm that number?

09:38   11         A.     So I have also run this -- remember, this is done

09:38   12   with Fox2.    I also have the ability to run this with the Power

09:38   13   Model, so I also did something similar with the Power Model

09:38   14   analysis, but not on Whiskey Lake but on other products.

09:39   15   There, the ring domain consumed between 17 to 24 percent.           So

09:39   16   it's in the same ballpark here.

09:39   17         Q.     And did you perform this exercise for any accused

09:39   18   products other than Whiskey Lake?

09:39   19         A.     So let me go to my next slide, and I show you -- this

09:39   20   is for Skylake which is the second of the accused products.

09:39   21   And here is the power.

09:39   22         MR. MUELLER:    I apologize for interrupting, Your Honor.

09:39   23   If we could just indicate the numbers rather than reading them

09:39   24   out loud for this section.

09:39   25         THE COURT:     That would be fine.


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09:39    1         MR. WASHBURN:     No objection, Your Honor.

09:39    2         MR. MUELLER:    Thank you, Your Honor.

09:39    3   BY THE WITNESS:

09:39    4         A.    So here is the ring bus domain power, and here is the

09:39    5   total power.    And you just divide this power by the total, you

09:39    6   get the ring bus domain power.

09:39    7   BY MR. WASHBURN:

09:39    8         Q.    Thank you, sir.

09:39    9         To wrap up, after you completed your assignment, did you

09:40   10   report your findings to Professor Conte?

09:40   11         A.    Yes.   So after I finished my analysis, I provided

09:40   12   these results to Professor Conte who has explained some of that

09:40   13   and how he has used it in his own work.

09:40   14         So to -- basically to summarize the results that I

09:40   15   provided to Professor Conte, the memory power savings features

09:40   16   saves at least, you know, the number of power that -- since I'm

09:40   17   not supposed to speak the number, I will just highlight the

09:40   18   numbers.    And the ring domain consumes at least the number that

09:40   19   is shown here.

09:40   20         Q.    Are your results relevant to other accused products?

09:40   21         THE COURT:     Counsel, you might want to, if you didn't,

09:40   22   make sure he references exactly for the record, on appeal,

09:40   23   which slides he's on since he's not giving the numbers.             You

09:40   24   might want to do something to tether this part of his testimony

09:40   25   so when -- if anyone's looking at this, they know exactly which


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09:41    1   slides.

09:41    2         MR. WASHBURN:     Your Honor, I appreciate it.

09:41    3   BY MR. WASHBURN:

09:41    4         Q.    Sir, were you referring to Slide 23 just now?

09:41    5         A.    Yes.   I was referring when I mentioned the numbers

09:41    6   that I cannot say loud, they are listed on PDX-8.23.

09:41    7         Q.    And are your results relevant to other accused

09:41    8   products?

09:41    9         A.    So I have shown the results for the two core

09:41   10   products, but these are also applicable to systems that have

09:41   11   different -- potentially different number of cores.

09:41   12         Q.    Are you confident the results that you got accurately

09:41   13   measure the relevant power considerations?

09:41   14         A.    I don't have any reason to doubt it.         These are

09:41   15   fairly well-established robust tools.

09:41   16         Q.    And why do you say that your results would be

09:41   17   relevant to products with different numbers of cores?

09:41   18         A.    So the basic underlying technology is this mux, the

09:42   19   selection process that will switch between -- if I am looking

09:42   20   at '373, just focusing on that.

09:42   21         And there, it doesn't matter whether I have four of those

09:42   22   processors or two of those processors.          It's just simply the

09:42   23   ability to switch.      And, therefore, it's not as relevant to my

09:42   24   analysis to focus on four or eight, so I picked two.

09:42   25         Q.    Now, could Intel have run a power analysis like yours


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09:42    1   if it believed your results were incorrect?

09:42    2         A.     So these are Intel's tools.      So I would imagine it is

09:42    3   possible for Intel to run the same analysis that I have

09:42    4   conducted.

09:42    5         Q.     Did Intel run a power analysis like yours?

09:42    6         A.     To my understanding, they have not provided it --

09:42    7   that analysis from their end.

09:42    8         Q.     Thank you, Professor Annavaram.

09:42    9         MR. WASHBURN:     No further questions.

09:42   10         THE COURT:     Counsel?

09:42   11         MR. MUELLER:     Thank you, Your Honor.

09:42   12                              CROSS-EXAMINATION

09:42   13   BY MR. MUELLER:

09:43   14         Q.     Good morning, sir.    My name is Joe Mueller and I'd

09:44   15   like to ask you a few questions if I could.

09:44   16         A.     Please.

09:44   17         Q.     Sir, you are testifying here today on behalf of VLSI,

09:44   18   correct?

09:44   19         A.     That's my understanding.

09:44   20         Q.     Now, the first time that you had heard of VLSI was

09:44   21   this case, right?

09:44   22         A.     That's correct.

09:44   23         Q.     Now, you understand there's two folks that work at

09:44   24   VLSI, and I want to ask you about each of them.           Okay?

09:44   25         A.     Okay.


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09:44    1          Q.   The first person I want to ask you about is Cindy

09:44    2   Simpson, the chief technology officer.          You've heard of her,

09:44    3   correct?

09:44    4          A.   I have not.

09:44    5          Q.   You've not spoken with her?

09:44    6          A.   No.

09:44    7          Q.   The second person is Michael Stolarski, the CEO, who

09:44    8   was sitting in that chair right there on Monday.            Do you know

09:44    9   him?

09:44   10          A.   Not before this case, no.

09:44   11          Q.   And as of last September you were not familiar with

09:44   12   VLSI's business, correct?

09:44   13          A.   That's correct.

09:44   14          Q.   Now, the jury heard earlier this week from Mr. Spehar

09:45   15   from NXP.    Did you review that testimony?

09:45   16          A.   Only briefly, yes.

09:45   17          Q.   You have not spoken with Mr. Spehar, right?

09:45   18          A.   I have not spoken to him, no.

09:45   19          Q.   The jury also heard from Mr. Bearden from NXP.          You

09:45   20   reviewed his testimony?

09:45   21          A.   I watched parts of those, yes.

09:45   22          Q.   And, sir, you have not spoken with Mr. Bearden,

09:45   23   correct?

09:45   24          A.   I have not.

09:45   25          Q.   Now, you are not offering any opinion in this case


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09:45    1   that Intel infringes the '373 patent or the '759 patent,

09:45    2   correct?

09:45    3         A.    That's correct.    My analysis is not associated with

09:45    4   the infringement part of it.

09:45    5         Q.    And you are not offering an opinion to the jury on

09:45    6   the issue of the validity of the '759 patent, right?

09:46    7         A.    I am not offering whether the patent is valid or not,

09:46    8   correct.

09:46    9         Q.    What you're here to talk about are your opinions on

09:46   10   certain power testing issues, correct?

09:46   11         A.    That is my understanding, as I described.

09:46   12         Q.    Now, you've been retained as an expert by VLSI,

09:46   13   right?

09:46   14         A.    That's my understanding.

09:46   15         Q.    And, sir, they have paid you in connection with your

09:46   16   work against Intel hundreds of thousands of dollars, correct?

09:46   17         A.    That's correct.

09:46   18         Q.    And that's part of the normal process for an expert

09:46   19   witness like you to be compensated for your time?

09:46   20         A.    That would be correct.

09:46   21         Q.    And you, in fact, have been compensated for your time

09:46   22   in this case, correct?

09:46   23         A.    I have been compensated, correct.

09:46   24         Q.    Now, sir, you've been working in the field of

09:46   25   computer architecture for decades, right?


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09:46    1         A.     Yes.    I have been -- from '96 or so I have been in

09:46    2   the field.    1996.

09:46    3         Q.     And, sir, you've you published many papers?

09:46    4         A.     Easily, 100-plus papers.

09:47    5         Q.     You've taught courses for quite some time?

09:47    6         A.     I have been at USC for about 13 years, so I taught

09:47    7   during that time many courses.

09:47    8         Q.     And you of course have tried to stay current and

09:47    9   up-to-date on significant developments in the field of computer

09:47   10   architecture, right?

09:47   11         A.     That's a fair statement, correct.

09:47   12         Q.     It's an important part of your job as a professor,

09:47   13   correct?

09:47   14         A.     Yes.    So we usually read the latest developments as

09:47   15   part of our research progress.

09:47   16         Q.     And yet, sir, you'd never heard of the '373 patent

09:47   17   before this case?

09:47   18         A.     No.    I haven't heard of '373 before.

09:47   19         Q.     Nor, sir, had you heard of the '759 patent before

09:47   20   this case?

09:47   21         A.     No.    I have not heard of '759.

09:47   22         Q.     Now, I want to show you in an article that was shown

09:47   23   to the jury earlier this week -- actually a demonstrative that

09:48   24   has an excerpt of an article.

09:48   25         MR. MUELLER:     If we could pull up PDX-13.2, please.


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09:48    1   BY MR. MUELLER:

09:48    2         Q.    And I believe you testified, but I want to make sure

09:48    3   I have this right, that you at least reviewed a portion of

09:48    4   Mr. Spehar's testimony; is that right, sir?

09:48    5         A.    Just briefly, correct.

09:48    6         Q.    Okay.   Let me just show you what was shown to the

09:48    7   jury right here.     This is an article that Mr. Spehar authored.

09:48    8   And do you see, sir, it says "Power Challenges Caused By IOT

09:48    9   Edge Nodes Securing and Sensing Our World"?          Do you see that?

09:48   10         A.    I see that.

09:48   11         Q.    And the first paragraph, the highlighting that was

09:48   12   actually in the version that was shown to jury, I'm not going

09:48   13   to read all of it.     I really just want to just focus your

09:48   14   attention, if I could, sir, on the very next sentence.

09:48   15         Do you see it says:     There exists many approaches to

09:48   16   reduce power.     Do you see that, sir?

09:48   17         A.    That's correct.

09:48   18         Q.    And that's a true statement?

09:48   19         A.    Yeah.   I think there are many ways to reduce power

09:48   20   consumption in computer systems.

09:48   21         Q.    And, in fact, there is an almost infinite number of

09:49   22   ways to do it, correct?

09:49   23         A.    And infinite may be too much, but yes, there are many

09:49   24   methods to reduce power consumption, and some of the work that

09:49   25   we do in my lab is an example of that.


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09:49    1         Q.    You've done work yourself over the years on ways to

09:49    2   increase power consumption, correct?

09:49    3         A.    Decrease power consumption.

09:49    4         Q.    I'm sorry.    Decrease power -- I misspoke.       Decrease

09:49    5   power consumption.

09:49    6         A.    That is correct.

09:49    7         Q.    And other folks have too?

09:49    8         A.    Yeah, there is an active research group in the

09:49    9   country and around the world where people look at computer

09:49   10   powers as -- their action techniques and how to reduce the

09:49   11   power consumption of computer systems.

09:49   12         Q.    And certainly no one has a patent on all of the

09:49   13   different ways to save power, correct?

09:49   14         A.    I wouldn't know one way or the other.         I have not

09:49   15   analyzed that.

09:49   16         Q.    You're not aware of a single patent that covers every

09:49   17   possible way of saving power?

09:49   18         A.    I think it's infeasible in my opinion.

09:50   19         Q.    Infeasible?

09:50   20         A.    Everything in the world, no.

09:50   21         Q.    Okay.   Now, sir, you did some testing in this case to

09:50   22   measure various types of power use and consumption, correct?

09:50   23         A.    Yeah.   So I -- as I explained in my direct, I have

09:50   24   done some analysis.

09:50   25         Q.    And I'd like to ask you, if I could, sir, about a


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09:50    1   hypothetical to try to get at the methodology that might be

09:50    2   used in a case like this.      Okay?

09:50    3         A.     Sure.

09:50    4         Q.     So I'm going to pose a hypothetical, and if any part

09:50    5   of it is unclear, please just tell me and I'll try to clarify.

09:50    6         A.     Understood.

09:50    7         Q.     All right.    So let's assume that the Ford Motor

09:50    8   Company comes up with an invention for saving fuel consumption

09:50    9   when a gas-powered vehicle is in fifth gear.            Are you with me

09:50   10   so far?

09:50   11         A.     I'm not a big car guy, but I understand.

09:50   12         Q.     Understood.    I'll try to -- again, if I'm unclear at

09:50   13   any point, just let me know and I'll try to rephrase.

09:50   14         A.     Sure.

09:50   15         Q.     But the idea is Ford comes up with a way to save

09:51   16   gasoline use when a gas-powered vehicle is in fifth gear.

09:51   17   You're with me so far?

09:51   18         A.     Yes.    I believe I am.

09:51   19         Q.     Okay.   And Ford decides to use this across its entire

09:51   20   fleet of gas-powered vehicles.         Still with me?

09:51   21         A.     Understood.

09:51   22         Q.     And, again, this is only for fifth gear.         All right?

09:51   23         A.     Okay.

09:51   24         Q.     And let's assume other companies don't have this

09:51   25   invention.    Chevrolet, Toyota, Honda do not have this same


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09:51    1   invention.    Still with me?

09:51    2         A.     Yeah, I am.

09:51    3         Q.     Now, you would agree with me that Ford has many

09:51    4   different types of vehicles, right?

09:51    5         A.     Yeah.   I mean, I'm not a big car person so I don't

09:51    6   know all the models, but I assume they have dozens of models.

09:51    7         Q.     So in my hypothetical, if Ford wanted to figure out

09:51    8   how this much this invention saves gas use across its entire

09:51    9   fleet, it would need to look across its entire fleet, correct?

09:51   10         A.     I'm not sure how gas-powered car analysis is done,

09:52   11   but I guess so.      I'm not sure.

09:52   12         Q.     It would make sense.

09:52   13         A.     It's -- I guess depends on how the systems are --

09:52   14   engines are designed.       If there is some aspect of the fifth

09:52   15   gear is similar to multiple cars, you can do on one car and

09:52   16   apply it.    So it's -- again, I'm not an automotive person to

09:52   17   know that detail.

09:52   18         Q.     Let me ask you this.     You wouldn't test a Chevy

09:52   19   vehicle to determine how much savings could come from the Ford

09:52   20   invention, correct?

09:52   21         A.     Yeah, as long as their technologies are different, I

09:52   22   think that is possible.

09:52   23         Q.     And you wouldn't test a vehicle's gas use in first

09:52   24   gear because this is a fifth-gear invention, correct?

09:52   25         A.     Yeah.   So, I mean, some of the analogy is lost on me


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09:53    1   simply because I don't have a multigear car and so it's hard to

09:53    2   understand, but I think I understood that if it is applied to

09:53    3   first gear, maybe.

09:53    4         Q.    It wouldn't make sense to test it in first gear if

09:53    5   it's a fifth-gear invention, correct?

09:53    6         A.    Possibly.    Again, I wouldn't know.

09:53    7         Q.    So let's talk about your testing.

09:53    8         Now, just so we're clear here, what VLSI is saying

09:53    9   infringes the '373 patent are two families of Intel processors,

09:53   10   the Broadwell processors and the Haswell processors, correct?

09:53   11         A.    That's my understanding, that those are the two

09:53   12   accused products.

09:53   13         Q.    Now, for the other patent in the case, the '759

09:53   14   patent, those families of processors, Broadwell and Haswell,

09:53   15   are not accused, correct?

09:53   16         A.    That's my understanding.

09:53   17         Q.    For the '759 patent it's different families of Intel

09:54   18   processors.     They're called the Lake series because they're

09:54   19   named after lakes, right?

09:54   20         A.    Yeah, that's what I heard from Professor Conte's

09:54   21   deposition presentation yesterday.

09:54   22         Q.    And so for the '373 patent, you did an analysis of

09:54   23   Broadwell and Haswell, correct?

09:54   24         A.    I provided results for both Broadwell and Haswell for

09:54   25   the '373.


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09:54    1         Q.     And for the '759 patent, you analyzed these Lake

09:54    2   series processors, right?

09:54    3         A.     That's correct.

09:54    4         Q.     Now, let's be clear.    You didn't actually hook up any

09:54    5   of these chips to equipment to measure the electricity in them,

09:54    6   right?

09:54    7         A.     Yeah.   As I mentioned, these were done through the

09:54    8   power models, not connecting the chip to some power monitoring

09:54    9   infrastructure.

09:54   10         Q.     You took these two Intel tools, the Power Model and

09:54   11   Fox2, and used those to compute your estimates, right?

09:54   12         A.     I used them to compute the numbers I provided you.

09:55   13   Correct.

09:55   14         Q.     So let's go to PDX-8.14, and I want to start, if I

09:55   15   could, sir, with your analysis of the products accused for the

09:55   16   '373 patent.    Do you have those in mind?

09:55   17         A.     Yeah.

09:55   18         Q.     Okay.   So let's go to PDX-8.14.      This was the slide

09:55   19   you showed the ladies and gentlemen of the jury, right?

09:55   20         A.     That's correct.

09:55   21         Q.     Now, on the left-hand side here you have "373

09:55   22   solution."     Do you see that, sir?

09:55   23         A.     Yes.

09:55   24         Q.     And then below that you have the C6 SRAM.        Do you see

09:55   25   that, sir?


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09:55    1         A.     Yeah.

09:55    2         Q.     Now, let's be clear.    The C6 SRAM that you're putting

09:55    3   here, that's not actually in the '373 patent.          That's what's

09:55    4   accused?

09:55    5         A.     That's my understanding, as in I didn't do any

09:55    6   infringement analysis.

09:55    7         Q.     Right.    But this portion of your diagram right here

09:55    8   underneath the heading "'373 Solution," that's not actually in

09:55    9   the patent, correct?

09:55   10         A.     The C6 SRAM as a word I don't think appears.

09:56   11         Q.     Now, this is the portion of your analysis where you

09:56   12   use the Intel Power Model, right?

09:56   13         A.     Yeah.

09:56   14         Q.     It's a large spreadsheet with lots of complex

09:56   15   formulas in it?

09:56   16         A.     That's a fair statement.

09:56   17         Q.     It involves hundreds of thousands of inputs?

09:56   18         A.     Yeah, it has lots and lots of inputs, takes a long

09:56   19   time to run these actually on a computer system.

09:56   20         Q.     And this is a spreadsheet that was created by Intel

09:56   21   engineers?

09:56   22         A.     Yes.     Absolutely.

09:56   23         Q.     Now, you did not do a test of each of the Haswell and

09:56   24   Broadwell processors using this Power Model, correct?

09:56   25         A.     I did the two systems that I mentioned, the two-core


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09:56    1   Haswell and two-core Broadwell, 15-watt products.

09:56    2           Q.   The Broadwell and Haswell processors are each a

09:57    3   family of processors, right?

09:57    4           A.   Yeah, as I explained to the jury, gentlemen and

09:57    5   ladies, that there are different variations but the underlying

09:57    6   core technology, that's correct.

09:57    7           Q.   There's 350 different versions, correct?

09:57    8           A.   I don't recall the exact number.         Yes.

09:57    9           Q.   You do remember there's hundreds of versions of these

09:57   10   processors?

09:57   11           A.   That's possible.       That's very possible.

09:57   12           Q.   And of those you tested two, correct?

09:57   13           A.   So I tested the two-core 15-watt products, correct.

09:57   14           Q.   And what you did to test -- your testing involved the

09:57   15   use of some laptops to figure out workload, correct?

09:57   16           A.   So I used the laptop data to figure out which Power

09:57   17   Model data to use.       Correct.

09:57   18           Q.   So let's try to make sure we're on the same page

09:57   19   here.    What you did is you used some laptops to figure out what

09:57   20   inputs to put into the Power Model.          Do I have that right?

09:57   21           A.   I would revisit as to what inputs to select from the

09:58   22   Power Model.

09:58   23           Q.   Fair enough.     Select from the Power Model.

09:58   24           A.   Correct.

09:58   25           Q.   Let's take a look at PDX-8.12.        And you used the


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09:58    1   MobileMark program in conjunction with six different actual

09:58    2   computers, correct?

09:58    3         A.    That's correct.

09:58    4         Q.    And this was to help you figure out which inputs to

09:58    5   select in the Power Model?

09:58    6         A.    That's a fair statement.      Yes.

09:58    7         Q.    We can take this down.

09:58    8         Now, of the six computers that you used, it turned out

09:58    9   four of them did not actually have accused chips within them,

09:58   10   correct?

09:58   11         A.    They were Ice Lake and other Lake products in them.

09:58   12         Q.    Well, let's take a look, if we could, at your report

09:58   13   if you want to refresh your memory, and there should be a Tab 1

09:58   14   in your binder, and I'd like you to take a look at, sir, if you

09:59   15   wouldn't mind, Paragraph 49.

09:59   16         MR. MUELLER:    And I won't show it to the jury, Your Honor.

09:59   17   I'll let him review it first.

09:59   18         THE COURT:     Sure.

09:59   19   BY MR. MUELLER:

09:59   20         Q.    And, sir, just let me know when you're there.

09:59   21         A.    Yeah, I am on -- I am on my report, yes.

09:59   22         Q.    So Paragraph 49 lists the six computers you tested,

09:59   23   correct?

09:59   24         A.    That is correct.

09:59   25         Q.    And the last four on the list use Lake processors


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09:59    1   which are not accused of infringing the '373 patent, correct?

09:59    2         A.    That is correct.

09:59    3         Q.    So for your '373 testing, you used products that were

09:59    4   not actually accused of infringing the '373 patent, right?

09:59    5         A.    The -- the residency numbers across all the six were

09:59    6   quite close.

10:00    7         Q.    Sir, the Lake processors are not accused of

10:00    8   infringing the '373 patent.

10:00    9         A.    That's correct.

10:00   10         Q.    Now, there's more than 300 different Haswell

10:00   11   processors, right?

10:00   12         A.    I don't remember the exact SKU numbers available, but

10:00   13   I would take your word for it.

10:00   14         Q.    And that is a family accused of infringing the '373?

10:00   15         A.    That would be correct.

10:00   16         Q.    But you didn't use any computers at all that

10:00   17   contained a Haswell processor; isn't that true?

10:00   18         A.    I used the Broadwell but not the Haswell, correct.

10:00   19         Q.    Now, you understand that what's being accused for the

10:00   20   '373 in particular is this component called the C6 SRAM, right?

10:00   21         A.    That's my understanding.      Correct.

10:00   22         Q.    It's one of the thousands of components within these

10:00   23   chips, correct?

10:00   24         A.    Yeah, certainly there are many components in these

10:00   25   chips.


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10:00    1         Q.     And you had to figure out what the power usage was

10:00    2   associated with that C6 SRAM, fair?

10:01    3         A.     That's one of the things that I had to do.

10:01    4         Q.     Now, sir, if you go to Paragraph 59 of your report,

10:01    5   and I may ask you to refer to it, but if you just take a look

10:01    6   at it, let me know when you're there.

10:01    7         A.     Yes.    I am.

10:01    8         Q.     Now, sir, in this section of your report, it was

10:01    9   showing data that you generated from testing those six

10:01   10   computers, right?

10:01   11         A.     Yeah.   This is the spreadsheet of the data of the

10:01   12   residencies.

10:01   13         Q.     And, again, you were trying to figure out the

10:01   14   workload associated with actually using the C6 SRAM?

10:01   15         A.     I was trying to figure out which of the various power

10:01   16   models I should select based on the residency data.

10:01   17         Q.     To approximate use of the C6 SRAM?

10:02   18         A.     Yeah.   To find a close -- reasonably close match.

10:02   19         Q.     Now, the first column -- and if we could pull this

10:02   20   figure up here just to make sure we're all on the same page.

10:02   21         The first column identifies what's called the C-state

10:02   22   residency.

10:02   23         MR. MUELLER:     And, Your Honor, if we could turn off the

10:02   24   public monitors for this --

10:02   25         THE COURT:     Okay.


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10:02    1         MR. MUELLER:    -- but we don't have to seal the courtroom.

10:02    2   BY MR. MUELLER:

10:02    3         Q.    Sir, the first column here identifies the C-state

10:02    4   residency that you're measuring, right?

10:02    5         A.    It's measuring the C0 residency.        Correct.

10:02    6         Q.    And the other six columns represented each of the six

10:02    7   computers you tested, right?

10:02    8         A.    The -- these six columns represent the six computers

10:02    9   that I measured.     Correct.

10:02   10         Q.    Now, if we look down to the middle of this table, do

10:02   11   you see you put in bold a row that says system Core C7?             Do you

10:02   12   see that, sir?

10:03   13         A.    Yeah.    It says C7 residency.     Correct.

10:03   14         Q.    The values in the Core C7 state row are listed right

10:03   15   there, right?

10:03   16         A.    Yes.

10:03   17         Q.    And let's be really clear with the ladies and

10:03   18   gentlemen of the jury, this is Core C7, right?

10:03   19         A.    So this is the Core C7.

10:03   20         Q.    And that's what you put in bold, correct?

10:03   21         A.    That's correct.

10:03   22         Q.    But, sir, the truth is C6 SRAM is not actually used

10:03   23   in Core C7, is it?

10:03   24         A.    It's used in the package when the package was sent to

10:03   25   the --


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10:03    1         Q.     It's used in the package C7, right?

10:03    2         A.     It's used in the package.     Correct.    Package state.

10:03    3         Q.     It's not used in the core state?

10:03    4         A.     If only a single core is sleeping, no.

10:03    5         Q.     I'm sorry, sir?

10:03    6         A.     If there's only a single core that is sleeping, it

10:03    7   doesn't.

10:03    8         Q.     So when you bolded the Core C7, that was not right?

10:04    9         A.     But as I mentioned, this is just to get an

10:04   10   approximate match to the actual Intel data.          Correct.

10:04   11         Q.     If you'd just stay with my question:       When you bolded

10:04   12   Core C7, that was not a correct indication of when C6 SRAM is

10:04   13   used, right?

10:04   14         A.     I guess you could say that, if you -- if that makes

10:04   15   it easier.

10:04   16         Q.     Now, you took the data from your six laptops, and you

10:04   17   used that to select the inputs back in the Power Model, right?

10:04   18         A.     Yeah.   So I actually only used this data to find the

10:04   19   closest one, but I didn't use this data to actually do my

10:04   20   computations.

10:04   21         Q.     Now, again there were two of these six laptops that

10:04   22   had actual accused processor in them, right?

10:04   23         A.     Correct.

10:04   24         Q.     Then you went back --

10:04   25         A.     For the '373 patent.


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10:04    1          Q.   For the '373.     Yep.

10:04    2          A.   Just to be clear.      Yes.

10:04    3          Q.   Thank you.

10:04    4          Then when you went back to the Power Model, that had a

10:04    5   long list of SKU, which is the model number for the various

10:05    6   products, correct?

10:05    7          A.   That's correct.

10:05    8          Q.   But when you went back to the Power Model, you did

10:05    9   not use the same two SKUs that you had used in the laptops, did

10:05   10   you?

10:05   11          A.   As I explained, I picked the processors which are the

10:05   12   most volume-wise sold products.         Correct.

10:05   13          Q.   Sir, if you'd please just stay with my question.

10:05   14          You didn't use the same processors for the Power Model as

10:05   15   you used for the laptops, did you?

10:05   16          A.   They are the same family, but not the exact -- I

10:05   17   don't remember the exact SKU number.         I don't think so.

10:05   18          Q.   They were not?

10:05   19          A.   I don't recall that number, the precise SKU numbers.

10:05   20          Q.   Let's go over to the '759 patent.         Do you have that

10:05   21   in mind?

10:05   22          A.   Sure.

10:05   23          Q.   And this patent, what's being accused are these Lake

10:05   24   series processors, correct?

10:05   25          A.   That's my understanding.


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10:05    1         Q.     Now, here you use something called Fox2, right?

10:06    2         A.     That's the tool I used for analysis.

10:06    3         Q.     And this is a tool that was developed by Intel

10:06    4   engineers?

10:06    5         A.     That's my understanding.     Correct.

10:06    6         Q.     And you applied this tool to some Broadwell processor

10:06    7   technology, correct?

10:06    8         A.     Say that again?      I don't think I'm on the same page

10:06    9   with you on that.

10:06   10         Q.     Sure.   Let me try to clarify.     You adjusted the Fox2

10:06   11   tool for your work in analyzing the '759 patent issues, right?

10:06   12         A.     I selected the processor model for Fox2.        Correct.

10:06   13         Q.     And you adjusted it based on tests that you ran on a

10:06   14   Broadwell processor, correct?

10:06   15         A.     On the collection across various systems.        I don't

10:06   16   remember if it was just the Broadwell.

10:06   17         Q.     Let me try to refresh your memory.       If you could look

10:06   18   at your report, sir, at Paragraph 137, and take your time, and

10:06   19   let me know when you're there.

10:06   20         A.     Okay.   Thank you.    Yes.

10:07   21         Q.     And do you see, sir, in Paragraph 137, you

10:07   22   specifically stated that you had run tests on a Broadwell CPU

10:07   23   as a test system?

10:07   24         A.     That's correct.

10:07   25         Q.     So you adjusted the Fox2 tool using this Broadwell


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10:07    1   test?

10:07    2           A.   That's correct.     Yes.

10:07    3           Q.   But, sir, the Broadwell processors are not accused of

10:07    4   infringing the '759 patent, are they?

10:07    5           A.   Yeah.    Yeah.

10:07    6           Q.   Yes, they are not?

10:08    7           A.   Yes.    They are not.    Yes.

10:08    8           Q.   Now, there's ten processor families accused of

10:08    9   infringing the '759 patent, correct?

10:08   10           A.   I believe that's correct.       I'm not exactly sure the

10:08   11   numbers there.

10:08   12           Q.   You had access to the Fox2 tool for multiple Lake

10:08   13   series processors, correct?

10:08   14           A.   Could you please repeat the question, please?

10:08   15           Q.   Sure.    You had access to this Fox2 tool for multiple

10:08   16   Lake series processors, right?

10:08   17           A.   I believe I had only access to two of them.             The

10:08   18   Skylake and the Whiskey Lake, which is what I used in my

10:08   19   analysis.

10:08   20           Q.   Well, let's take a look at your report at

10:08   21   Paragraph 64, and if you could let me know when you're there.

10:09   22           Are you there, sir?

10:09   23           Do you see in the last sentence it says -- you said,

10:09   24   "Intel has produced nearly identical versions of Fox2 for

10:09   25   Whiskey Lake, Coffee Lake, Kaby Lake and Skylake."


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10:09    1         Do you see that, sir?

10:09    2         A.    That's correct.

10:09    3         Q.    And so you had access to those, right?

10:09    4         A.    Yeah.   That's what I was saying, that I didn't have

10:09    5   access to all the ten different versions, but the few versions

10:09    6   that are identical.

10:09    7         Q.    But you did not use the version that you had access

10:09    8   to for Coffee Lake, correct?

10:09    9         A.    Yeah.   I used two of those four.        Correct.

10:09   10         Q.    You did not use it for Coffee Lake, did you?

10:09   11         A.    I did not use it for Coffee Lake.        Correct.

10:09   12         Q.    And you did not use it for Kaby Lake, correct?

10:09   13         A.    Yeah.   I used other two.     Correct.    That's correct.

10:09   14         Q.    So you used two and you said that was enough for all

10:09   15   ten accused Lake series families, correct?

10:09   16         A.    That's correct.    Yes.

10:09   17         Q.    Now, for this '759 patent analysis, Dr. Conte, who we

10:10   18   heard from yesterday, asked you to calculate the portion of

10:10   19   processor power consumed by the ring interconnect relative to

10:10   20   some other components in Intel's processors.          Do I have that

10:10   21   right, sir?

10:10   22         A.    I believe the exact --

10:10   23         Q.    And if it helps, sir, Paragraph 122 in your report.

10:10   24         A.    Yeah.

10:10   25         Q.    Take your time.    And do you see, sir, in that second


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10:10    1   sentence, it says, "I have been asked by Professor Conte to

10:10    2   calculate the percentage of power used by the ring interconnect

10:10    3   relative to other components involved in Speed Shift's

10:11    4   operation"?    Do you see that, sir?

10:11    5         A.    That's correct.

10:11    6         Q.    And that is what Mr. Conte -- or Dr. Conte asked you

10:11    7   to do?

10:11    8         A.    That's correct.

10:11    9         Q.    Now, your Fox2 test calculated the power usage of

10:11   10   something called the "CLR domain," right?

10:11   11         A.    There's the ring domain.      Yes.    That's correct.

10:11   12         Q.    And that contains multiple components, correct?

10:11   13         A.    That's my understanding.      Correct.

10:11   14         Q.    You calculated a single power usage value for all the

10:11   15   components within that CLR domain, right?

10:11   16         A.    So I computed the fraction of the power consumed by

10:11   17   the ring bus domain, which I think you're calling a CLR domain.

10:11   18         Q.    Right.     And the CLR domain includes the ring itself,

10:11   19   correct?

10:11   20         A.    It has the ring.     Yes.

10:11   21         Q.    It also includes something called the C-B-O, right?

10:11   22         A.    The CBO.    Yeah.   That's correct.

10:11   23         Q.    And the LLC, correct?

10:11   24         A.    That's my understanding.      Correct.

10:11   25         Q.    Now, you did not isolate the ring from those other


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10:12    1   components I just named, did you?

10:12    2         A.    I measured the power consumption of the whole domain.

10:12    3   Correct.    Not the individual pieces inside.

10:12    4         Q.    Not individually the ring, correct?

10:12    5         A.    Not individually the ring.

10:12    6         Q.    Just a few final questions, sir.

10:12    7         All the work you did in this case was with respect to

10:12    8   Intel products, correct?

10:12    9         A.    That's correct.

10:12   10         Q.    Using some Intel tools, right?

10:12   11         A.    These are Intel tools.      Exactly.

10:12   12         Q.    Developed by Intel engineers?

10:12   13         A.    Absolutely.

10:12   14         Q.    You did not do any power testing analysis to show the

10:12   15   benefits of the '373 patent using NXP products, correct?

10:12   16         A.    No.   I did not use NXP tools.

10:12   17         Q.    Nor Freescale products?

10:12   18         A.    No.

10:12   19         Q.    Nor SigmaTel products?

10:12   20         A.    I did not use SigmaTel.

10:12   21         Q.    Nor did you do any testing of the '759 patent alleged

10:12   22   benefits with respect to NXP products?

10:12   23         A.    I did not do NXP products.       Correct.

10:13   24         Q.    Freescale products?

10:13   25         A.    No.   I didn't.


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10:13    1         Q.    SigmaTel products?

10:13    2         A.    I did not do SigmaTel products.

10:13    3         Q.    And in the testimony of this trial that you've

10:13    4   reviewed, no such product has been identified, correct?

10:13    5         A.    That's -- I mean, I only listened to parts of the

10:13    6   things, so I don't know exactly.        Yeah.

10:13    7         Q.    You're not aware of a single Freescale, SigmaTel, NXP

10:13    8   product that uses either the '373 or the '759 patent, correct?

10:13    9         A.    I would imagine -- I mean, I'm not sure of all the

10:13   10   details, but that's what -- if you tell me, I'll take that word

10:13   11   for you.

10:13   12         Q.    You're not here to identify any such product

10:13   13   yourself, are you?

10:13   14         A.    I am not identifying that product.

10:13   15         Q.    Okay.    Last couple of questions.

10:13   16         You understand Intel's position is that the products you

10:13   17   tested don't infringe either the '373 or the '759 patent?            Do

10:13   18   you understand that's their position?

10:13   19         A.    I'm sure that's why we are in the Court.         Yeah.

10:13   20         Q.    And you're not here to dispute that either?

10:14   21         A.    I am not speaking about infringement analysis.

10:14   22   Correct.

10:14   23         Q.    Thank you, sir.

10:14   24         MR. MUELLER:    I have no further questions.

10:14   25         THE WITNESS:    Thank you.


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10:14    1                              REDIRECT EXAMINATION

10:14    2   BY MR. WASHBURN:

10:14    3          Q.    Just a few questions, Professor.

10:14    4          All right.    To begin with, Intel's lawyer started your

10:14    5   cross-examination asking you a series of questions about

10:14    6   individuals and certain companies.         Do you recall that?

10:14    7          A.    Yeah.   The two VLSI names he spoke of.        Yes.

10:14    8          Q.    Was your --

10:14    9          A.    And some of the inventors' names, I think he

10:14   10   mentioned.    Correct.

10:14   11          Q.    Was your work in this case focused on individual

10:14   12   people and companies, or was your work in this case focused on

10:14   13   the benefits of the patented technology?

10:14   14          A.    I mean, I'm a technical guy.       So I -- my work is

10:15   15   related to the technology analysis and what the power benefits

10:15   16   are.

10:15   17          Q.    There were also some questions about whether you --

10:15   18   when you had heard of the '373 patent and the '759 patent.           Do

10:15   19   you recall that?

10:15   20          A.    Yeah.

10:15   21          Q.    All right.    In your usual work, are you focused on

10:15   22   reviewing patents or are you focused on your own research and

10:15   23   publishing?

10:15   24          A.    Yeah.   I don't need to review.      I mean, it's not

10:15   25   something that I have to do.        No.


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10:15    1           Q.   Would it be fair for someone to suggest that if you

10:15    2   haven't heard of a patent by number, that means it's not

10:15    3   important?

10:15    4           A.   Yeah.    Lots of patents are issued every day, and so

10:15    5   it's obviously not possible to track every single patent.

10:15    6           Q.   So you would agree then, sir, that there are probably

10:15    7   many important patents that you are not familiar of the numbers

10:15    8   with?

10:15    9           A.   I am sure about that.       I am not familiar with all the

10:16   10   patents that are being issued on a daily basis.

10:16   11           Q.   Now, there were some questions about -- strike that.

10:16   12           Let's go to Paragraph 59.

10:16   13           MR. WASHBURN:    Can we bring that up on the screen?

10:16   14   BY MR. WASHBURN:

10:16   15           Q.   This is Paragraph 59 of your expert report.

10:16   16           MR. WASHBURN:    And, Mr. Simmons, can we bring that up?

10:16   17           Thank you very much.

10:16   18   BY MR. WASHBURN:

10:16   19           Q.   Now, Intel's lawyers had a lot of questions about

10:16   20   what you bolded here.        Do you recall that?

10:16   21           A.   Yes.

10:16   22           Q.   And in particular was focused on the fact that you

10:16   23   had bolded some C-states.        Do you recall that?

10:16   24           A.   Yeah.    He mentioned about the Core C7 states,

10:16   25   correct.


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10:16    1         Q.    Right.    Did you also bold the package C-states in

10:16    2   this chart?

10:16    3         A.    Yeah.    In fact, if you just go down -- oh, yeah.

10:17    4   It's actually here.     Just a few rows below, I bolded the

10:17    5   package C7 states, which as I explained are also associated

10:17    6   with the ability to do the mux selection.

10:17    7         Q.    Now, given the questions about this paragraph in your

10:17    8   cross-examination, could you explain what you were doing here

10:17    9   and why?

10:17   10         A.    So I wanted to sort of bring out to your attention

10:17   11   that Intel's Power Model has many versions offered.           You can

10:17   12   think of them as -- if you think of it like a

10:17   13   three-dimensional, there is a third dimension which is

10:17   14   basically, you know, can I use a particular Input 1, Input 2,

10:17   15   Input 3.    These are the different kind of inputs that you can

10:17   16   provide.

10:17   17         And when you have those dozens or even more than dozens of

10:17   18   options, you have to pick one that is something that you can

10:18   19   confidently come out and present in front of the jury that

10:18   20   "this makes sense."

10:18   21         And so the best way to do that for me is to run on real

10:18   22   systems, real laptops and then measure the residencies, which

10:18   23   is what you see in this chart, and eventually look for a data

10:18   24   that Intel uses.     Not -- this data does not go into any

10:18   25   computation.    It's just to find, of the ten choices that I


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10:18    1   have, which one should I pick?       And I look for something that's

10:18    2   the closest match.

10:18    3         I did not directly use this data to drive my '373

10:18    4   analysis, for example.

10:18    5         Q.    Now, you mentioned residency data, and I think there

10:18    6   were some questions referring to residency data.           Have any of

10:18    7   Intel's experts identified any other residency data that you

10:18    8   should have used instead?

10:18    9         A.    Not to my recollection.      Sorry.

10:18   10         Q.    Have any of Intel's experts come forward with their

10:19   11   own residency data analysis?

10:19   12         A.    I reviewed all their reports.       To the best of my

10:19   13   recollection, I don't -- I don't recall them using their own

10:19   14   residency information.

10:19   15         Q.    Okay.

10:19   16         MR. WASHBURN:    Now, could we please go to Paragraph 137?

10:19   17   BY MR. WASHBURN:

10:19   18         Q.    Let me know when you're there.

10:19   19         There were a series of questions about this paragraph.             Do

10:19   20   you recall that?

10:19   21         A.    Yeah.   This is regarding the Fox2, correct.

10:19   22         Q.    Yeah.   Could you explain what you're describing in

10:19   23   Paragraph 137?

10:19   24         A.    So without going into the real weeds of the

10:19   25   discussion, let me sort of explain what I was trying to look


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10:20    1   for.   The Fox2 tool requires a workload, basically some sort of

10:20    2   an input that emulates how much time the CPU is busy, how much

10:20    3   time the CPU is idle.       It needs that input as part of its

10:20    4   computation.

10:20    5          And so when it needs that input, I have to provide that.

10:20    6   And so I was looking to figure out what would be a good way to

10:20    7   provide that input.      And so I picked the Broadwell, and I

10:20    8   measured the -- you can think of how fast the processor is and

10:20    9   how often the processor is really fast, how often the processor

10:20   10   is sleeping -- I picked that information, and that's what I

10:20   11   provided as input to the Fox2 tool.

10:21   12          Q.   All right.    There were some questions --

10:21   13          MR. WASHBURN:    We can take that down.

10:21   14   BY MR. WASHBURN:

10:21   15          Q.   There were some questions about your testing of Lake

10:21   16   products.    Do you recall that?

10:21   17          A.   Yes.

10:21   18          Q.   Why were you comfortable testing two Lake products in

10:21   19   reaching your conclusions in this case?

10:21   20          A.   So for the Lake products, which is the '759, the

10:21   21   analysis is really about the ring domain and whether it has a

10:21   22   Skylake core attached to it.        If you think of the ring as a

10:21   23   communication mechanism, you could have different things

10:21   24   connected to it, whether it be a Skylake or a Coffee Lake or a

10:21   25   Kaby Lake, many other options.


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10:21    1           But my goal really was how does the ring, which is what is

10:21    2   communicating between these processors -- it's not really about

10:21    3   the processor itself, it's the ring domain.

10:22    4           And so I was trying to figure out what is the ring power

10:22    5   consumption, not what particular processor is attached to it.

10:22    6           Q.    Now, you referred a moment ago to ring domain.            There

10:22    7   were some questions in your cross-examination about ring

10:22    8   domain.      Did Professor Conte have any communication with you

10:22    9   regarding tests of a ring domain?

10:22   10           A.    That's -- yeah, that's exactly right.         I followed

10:22   11   what Professor Conte asked me to conduct analysis from -- in

10:22   12   terms of analysis.

10:22   13           Q.    All right.   Now, more generally, there were a lot of

10:22   14   questions from Intel's lawyer regarding how many products you

10:22   15   tested, as discussed in your direct testimony, versus how many

10:22   16   variations on products are in the processor families.                Do you

10:22   17   recall those questions?

10:22   18           A.    Yes.

10:22   19           Q.    Did you think it was necessary to test every variant

10:22   20   of every processor accused of infringing the patents in this

10:23   21   case?

10:23   22           A.    So I think I went -- briefly touched upon it in my

10:23   23   direct -- in my presentation in my slides, that the core

10:23   24   underlying technology here, which is whether or not I can

10:23   25   switch or toggle with this mux, is not that directly related to


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10:23    1   whether it is two cores or four cores.         And so my analysis is,

10:23    2   as a result, focused on those two, but it is applicable to

10:23    3   broader range of systems.

10:23    4         Q.    All right.   And can you explain why you believe it's

10:23    5   applicable to a broader range of systems?

10:23    6         A.    Because the -- if you again look at, for instance --

10:23    7   let me give you a little bit more concrete example.

10:23    8         Imagine that the ring for the '759, I tested with two

10:23    9   cores attached to that ring.       What is the purpose of ring?        It

10:23   10   is to allow you to communicate with each other, right?              I mean,

10:24   11   it's a mechanism for us to talk to each other, basically.

10:24   12   That's what the ring does.

10:24   13         When two people are talking, there is some amount of data

10:24   14   that needs to be sent.

10:24   15         Now, imagine I put four instead of two.         What happens to

10:24   16   the communication?     More communication occurs.       Because more

10:24   17   people need to talk to each other.

10:24   18         What happens if I put eight?       Even more communication

10:24   19   occurs.

10:24   20         And what does communication transform into?          More power

10:24   21   for the ring, because the ring is going to consume more and

10:24   22   more power as more and more people need to talk on that ring.

10:24   23         And so I picked the most conservative option, which is

10:24   24   when only two people talk, it's the least power-consuming

10:24   25   system.    When there are eight people talking, it'll be noisy,


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10:24    1   loud.    And that's equal then to power, a lot more power.

10:24    2           Q.   Now, there were some questions from Intel's lawyer

10:24    3   about whether your testing work was modeling-based or whether

10:25    4   you directly tested products.         Do you recall that?

10:25    5           A.   Yes.

10:25    6           Q.   Would it be realistic to imply that you should have

10:25    7   directly measured the power consumed by an individual circuit

10:25    8   in a consumer product?

10:25    9           A.   Not if you have a billion transistors.          I mean, it's

10:25   10   difficult to imagine the chip where you're trying to find the

10:25   11   power consumption in some small portion of the chip.                 It would

10:25   12   be not practical.

10:25   13           Q.   Would it be possible with commercially-available

10:25   14   tools to directly measure the power?

10:25   15           A.   I've been in the field for many years, and I don't

10:25   16   think there is a way for anybody to measure that level of

10:25   17   breakdown, like this piece within this multibillion transistor

10:25   18   chip.    It's not practical.

10:25   19           Q.   Did any of Intel's experts do such an analysis?

10:25   20           A.   Not that I could recall.

10:25   21           Q.   All right.    Now, there were some questions suggesting

10:25   22   that results between different processor families could be far

10:25   23   off.    Do you recall those questions?

10:26   24           A.   Approximately, yes.

10:26   25           Q.   All right.


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10:26    1         MR. WASHBURN:    Could we pull up Slide 28 of Professor

10:26    2   Annavaram's?

10:26    3   BY MR. WASHBURN:

10:26    4         Q.    You still have your clicker?

10:26    5         A.    Yes.

10:26    6         Q.    All right.   Could we proceed to the results of your

10:26    7   '759 analysis?

10:26    8         MR. WASHBURN:    Sir, could we pull up Professor Annavaram's

10:26    9   slides?

10:26   10   BY MR. WASHBURN:

10:26   11         Q.    And I'm going to ask you to navigate to the results

10:26   12   of your '759 analysis.

10:26   13         A.    It's not showing.

10:26   14         MR. WASHBURN:    Mr. Simmons?

10:26   15   BY MR. WASHBURN:

10:26   16         Q.    All right.   Well, we can do without slides.

10:26   17         Do you recall the -- well, we're not supposed to say it

10:26   18   out loud, so we actually are going to have to wait for the

10:26   19   slide, unless we can seal the courtroom.

10:26   20         A.    I think it's coming up.

10:26   21         Q.    Thank you very much, sir.

10:26   22         A.    Let me -- no, this is --

10:27   23         Q.    All right.   Now, sorry for that delay, sir.

10:27   24         Again, there were some questions suggesting that results

10:27   25   from different processor families could diverge greatly.            Do


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10:27    1   you recall that?

10:27    2         All right.    What was the results from your '759 testing in

10:27    3   the Skylake family?

10:27    4         A.    Yes.   I couldn't say this loud because the numbers

10:27    5   were not allowed to be spoken loud.        But I think it's obvious

10:27    6   if you see, this is Skylake number which is the ring bus

10:27    7   domain.    And this is Whiskey Lake and the ring bus domain.        And

10:27    8   I just want the members of the jury to take a look at those two

10:28    9   numbers.    It's hard to tell the difference.        They're

10:28   10   essentially identical.

10:28   11         Q.    All right.   Just a moment, please, sir.

10:28   12         (Conference between counsel.)

10:28   13   BY MR. WASHBURN:

10:28   14         Q.    Now, there were some questions about different Lake

10:28   15   products and how many of them you tested.         Do you recall that?

10:28   16         A.    Yes.

10:28   17         Q.    Why did you test two of ten Lake products?

10:28   18         A.    Because, again, as I was explaining earlier, for the

10:28   19   '759 I'm interested in the ring bus domain.          And if you look at

10:28   20   the two Lake products that I tested, it's 18.8 -- I'm sorry.

10:28   21   The numbers are very close.

10:28   22         And, too, whether I attach a Skylake or I attach a Kaby

10:28   23   Lake or attach a Coffee Lake, some other Lake processor, the

10:29   24   communication is what is causing those systems to burn power.

10:29   25   So I thought it would be appropriate to use two instead of all


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10:29    1   the ten.

10:29    2         Q.    All right.    Thank you very much, Professor.

10:29    3                             RECROSS-EXAMINATION

10:29    4   BY MR. MUELLER:

10:29    5         Q.    Sir, just a few more questions, if I could.

10:29    6         A.    Yes.

10:29    7         Q.    Mr. Washburn directed your attention to your report,

10:29    8   Paragraph 59.      I'm going to ask you to bring it up again,

10:29    9   Paragraph 59 of your report.

10:29   10         Are you there?

10:30   11         A.    I'm there.

10:30   12         Q.    So let's just level-set.      This is a section of your

10:30   13   report where you were conducting your '373 testing analysis,

10:30   14   correct?

10:30   15         A.    That's, I think, a fair statement.

10:30   16         Q.    And you understand that what Dr. Conte is alleging as

10:30   17   infringing for that patent is something called the C6 SRAM,

10:30   18   correct?

10:30   19         A.    That's my understanding.

10:30   20         Q.    And that is one component of many components in the

10:30   21   Haswell and Broadwell family of chips, correct?

10:30   22         A.    Again, that is my understanding.

10:30   23         Q.    Now, I asked you on my first set of questions to

10:30   24   focus on the column that you bolded that says, "Core C-states."

10:30   25   Do you see that, sir?


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10:30    1           A.   Yeah.    The row that you asked me, yeah, right.

10:31    2           Q.   And we can agree that in that particular condition,

10:31    3   the Core C-state condition, C6 SRAM is not being used.               We can

10:31    4   agree on that?

10:31    5           A.   I agree on that, correct.

10:31    6           Q.   Now, Mr. Washburn, on his questions to you just a few

10:31    7   moments ago, scrolled down a little further.            Let's do the

10:31    8   same.    And he noted that there are also some other rows that

10:31    9   are in bold that say "package C-states."           Do you see that, sir?

10:31   10           A.   Correct.

10:31   11           Q.   But, sir, the row that you used to select the inputs

10:31   12   in the Power Model was the one at the top, right?

10:31   13           A.   I don't recall exactly which, because there are a lot

10:31   14   of numbers, but I might have to look at the specific paragraph

10:31   15   or something.

10:31   16           Q.   Well, let's just make sure we're on the same page.

10:31   17   Do you see what we've highlighted in yellow --

10:31   18           A.   Correct.

10:31   19           Q.   -- the Core C7 row, Professor?

10:31   20           A.   Correct.

10:31   21           Q.   That's the one you used to select the residency

10:31   22   model, correct?

10:31   23           A.   My recollection of exact usage, I don't remember, but

10:32   24   maybe that's what I used.        Correct.

10:32   25           Q.   Well, if it would refresh your memory, you can take a


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10:32    1   look at your deposition.

10:32    2           A.   Yeah.

10:32    3           Q.   It should be Tab 3 in your binder.         And take your

10:32    4   time.    Why don't you flip to Tab 3?

10:32    5           And I'd like to direct your attention, if I could, sir, to

10:32    6   Page 201, Line 24 to Page 202, Line 12.

10:32    7           And I won't show it to the jury, Your Honor, but just to

10:32    8   refresh the witness' memory?

10:32    9           A.   Could you please repeat that page number and the

10:32   10   line?

10:32   11           Q.   Yes.    It's Page 201, starting at Line 24, carrying

10:32   12   you over to the next page 202, Line 12.

10:33   13           A.   Yeah.    I reviewed it.

10:33   14           Q.   And that refreshes your memory that the line that

10:33   15   we've highlighted in yellow there, the Core C-states, was the

10:33   16   one that you used to select the residency and workload settings

10:33   17   in the Intel Power Model?

10:33   18           A.   That's correct.     Yes.

10:33   19           Q.   And we can agree that the one you used does not

10:33   20   reflect use of C6 SRAM, correct?

10:33   21           A.   If it is a Core C7, it doesn't use the C6 SRAM.

10:33   22           Q.   Again, sir, the one that's highlighted in yellow,

10:33   23   Core C-states does not use C6 SRAM?

10:33   24           A.   That's correct.

10:33   25           Q.   And that's the one you used?


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10:33    1         A.    That's the one I used to match, not to compute.

10:33    2         Q.    Now, a few final questions.       Mr. Washburn asked you

10:33    3   about your selection of certain models for both your '373

10:33    4   testing and your '759 testing, right?

10:34    5         A.    Yeah.   I'm not sure which particular question, but he

10:34    6   did ask me.

10:34    7         Q.    Now, again you weren't using power testing equipment

10:34    8   on individual chips, right?

10:34    9         A.    I mentioned that clearly.      No.

10:34   10         Q.    And I'm not criticizing you.         I'm just trying to make

10:34   11   sure we're on the same page.

10:34   12         A.    Okay.

10:34   13         Q.    You were using spreadsheets, right?

10:34   14         A.    I was using the Power Model and the Fox2, correct.

10:34   15         Q.    Now, you used the Power Model for the '373 patent

10:34   16   analysis you did, correct?

10:34   17         A.    That is correct.

10:34   18         Q.    That's a spreadsheet?

10:34   19         A.    It's a spreadsheet with, as you said, hundreds of

10:34   20   thousands of inputs.

10:34   21         Q.    And then you used Fox2 for your '759 analysis, right?

10:34   22         A.    That is correct.

10:34   23         Q.    That's another tool or spreadsheet?

10:34   24         A.    It's actually not a spreadsheet.        It's more of a

10:34   25   software that actually tracks the PCM usage.


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10:34    1         Q.    Fair enough.    It's a piece of software?

10:34    2         A.    Yeah.

10:34    3         Q.    And for each of these, you made certain selections

10:34    4   and saw what the results were?

10:34    5         A.    Yeah.   I think you can say that fairly.

10:34    6         Q.    And, sir, the bottom line is for the '373, you only

10:35    7   performed this analysis with respect to two out of hundreds of

10:35    8   processors that are accused, correct?

10:35    9         A.    The analysis, as I said, is done on the two parts.

10:35   10         Q.    Now, you had the spreadsheet and could have done

10:35   11   more, right?

10:35   12         A.    I don't remember all the various queues available in

10:35   13   the spreadsheet.

10:35   14         Q.    You could have selected more than two model numbers,

10:35   15   right?

10:35   16         A.    I believe it is possible there are more SKUs.

10:35   17   Correct.

10:35   18         Q.    And you didn't?

10:35   19         A.    Yeah, because the numbers were pretty consistent.

10:35   20         Q.    For the '759 patent, you chose two of the ten Lake

10:35   21   series families, correct?

10:35   22         A.    That is correct.

10:35   23         Q.    You could have done more, right?

10:35   24         A.    I mean, they're so close, the 18 point -- I can't --

10:35   25   sorry, I keep messing up the numbers.         I shouldn't say the


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10:35    1   numbers, but they are pretty close and so I just took those

10:35    2   two.   Correct.

10:35    3          Q.   You could have done more than two, correct?

10:35    4          A.   I could have done more than two, but the numbers were

10:35    5   so close.

10:35    6          Q.   But you didn't?

10:35    7          A.   No.    I didn't.

10:36    8          Q.   Thank you, sir.

10:36    9          MR. MUELLER:    I have no further questions.

10:36   10          THE WITNESS:    Thank you.

10:36   11                         FURTHER REDIRECT EXAMINATION

10:36   12   BY MR. WASHBURN:

10:36   13          Q.   Professor Annavaram, there were, again, some

10:36   14   questions about Paragraph 59 of your expert report.            Do you

10:36   15   recall that?

10:36   16          A.   Yes.

10:36   17          Q.   All right.    I don't know that we need to go through

10:36   18   it again, but just to be completely clear, did any of that data

10:36   19   in that model -- did any of the data on that -- in that

10:36   20   paragraph go into your calculations that led to the results

10:36   21   that you are reporting in this case?

10:36   22          A.   So the only reason that that data exists is that you

10:36   23   can pick, of the ten choices that are there, dozens of

10:36   24   choices -- I don't remember, many, many choices -- which of the

10:36   25   choices should I select?       And, therefore, it is not used.      That


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10:36    1   number did not go into my computation.         It is just simply, here

10:37    2   are the ten things.      Which ones should I pick?

10:37    3         Q.    And you were just trying to select the most

10:37    4   representative of Intel's models, right?

10:37    5         A.    Closest match.    It's not -- it's never going to be --

10:37    6   I had no illusion they would have an exact match, but it would

10:37    7   be the closest to that match because, you know, if you're

10:37    8   running the test and you move your mouse, it has a slightly

10:37    9   different numbers versus if you did not move the mouse.             And so

10:37   10   it's not an exact match but possible.         So you find the closest

10:37   11   match.

10:37   12         Q.    And the -- when you say you found the closest match,

10:37   13   were you looking overall at the different data?

10:37   14         A.    Yeah.   So, in fact, I have looked at not just one

10:37   15   number to match.     I was looking across this whole spectrum of

10:37   16   numbers to find -- looking for something like a correlation

10:37   17   across multiple numbers.

10:37   18         Q.    All right.    Now, there were some questions about

10:37   19   whether you tested a few, the variants in the processor family

10:37   20   or whether you tested all 300.       Do you recall that?

10:37   21         A.    Yeah.   Various SKUs that was mentioned.

10:38   22         Q.    Do you know how much it would have cost to test -- to

10:38   23   do all 300 tests, how much time it would have taken?

10:38   24         A.    I can't hazard a guess.      It took, as they -- it was

10:38   25   brought up it was already many hundreds of hours to do this


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10:38    1   analysis.

10:38    2         Q.     All right.   Now, were there other considerations in

10:38    3   selecting the Power Model that you used in your testing?

10:38    4         A.     So these are tools provided and used by Intel, and

10:38    5   they are tools doubled up with thousands hours of immense

10:39    6   research and engineering effort from Intel.           And if there's any

10:39    7   one reason, that's a strong reason from my viewpoint, from a

10:39    8   scientifically, technically solid viewpoint.           It's been

10:39    9   validated, tested, doubled up, so I would want to use them.

10:39   10         Q.     Based upon on your experience with academic research,

10:39   11   do you believe that the tests you did were representative of

10:39   12   the accused products as a whole?

10:39   13         A.     So since the basic underlying technology -- and I

10:39   14   think I mentioned this already if you're not bored by it -- is

10:39   15   the same concept, whether it is a ring, whether it's a

10:39   16   different processor attached to it, or whether it's the ring

10:39   17   that's doing the communication, I think it's fair to say that

10:39   18   what I have done is a good representation of the various

10:39   19   products.

10:39   20         Q.     All right.   Thank you, sir.      No further questions.

10:40   21         MR. MUELLER:     I have no further questions, Your Honor.

10:40   22   Thank you.

10:40   23         THE COURT:     May this witness be excused?

10:40   24         MR. MUELLER:     Yes, Your Honor.

10:40   25         THE COURT:     You may step down.     Thank you, sir.


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10:40    1           Ladies and gentlemen of the jury, I think this is a good

10:40    2   time for us to take our break.        It is 10:40.     Why don't we

10:40    3   gather back together at five minutes before 11:00?

10:40    4           Remembering my instructions not to discuss the case

10:40    5   amongst yourselves.       We'll be back in a few minutes.

10:40    6           THE BAILIFF:    All rise.

10:40    7           (Jury exited the courtroom at 10:40.)

10:40    8           THE COURT:     You may be seated.

10:40    9           Who is your next witness?      Dr. Sullivan?    Is your next

10:41   10   witness Dr. Sullivan?

10:41   11           MS. PROCTOR:    Yes, Your Honor.    He's our next live

10:41   12   witness.

10:41   13           THE COURT:     Okay.   Is there anything we need to take up

10:41   14   before we take a break?

10:41   15           MR. LEE:     Just one thing, Your Honor.     There was a mention

10:41   16   today of offering some written discovery.          We haven't had

10:41   17   notice that anything was going to be offered.           If they could

10:41   18   just tell us what they're going to offer so that if we have any

10:41   19   issues to raise with Your Honor, we can raise them without the

10:41   20   jury.

10:41   21           THE COURT:     For sure.

10:41   22           Mr. Chu or whomever, if you are going to offer -- I mean,

10:41   23   you certainly are entitled to do it, but if you're going to put

10:41   24   into evidence responses to -- if either side is going to put in

10:41   25   responses to discovery, please let the other side know in


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10:41    1   advance so they can have any counter-answers that they want to

10:41    2   make sure are put in.

10:41    3         Does that make sense?

10:41    4         MR. CHU:     Of course we'll let them know in advance, and

10:41    5   then whether it's proper to have a counter or not is an open

10:42    6   question.    So I don't know what they --

10:42    7         THE COURT:     Well, you get to put in what you want, and

10:42    8   they get to put in what they want.

10:42    9         MR. CHU:     Absolutely.

10:42   10         THE COURT:     Anything else, Mr. Chu?

10:42   11         MR. CHU:     No.

10:42   12         THE COURT:     Mr. Lee?

10:42   13         MR. LEE:     No, Your Honor.

10:42   14         THE COURT:     Okay.    We'll be back in a few minutes.

10:42   15         THE BAILIFF:       All rise.

10:42   16         (Recess taken from 10:42 to 10:57.)

10:57   17         THE BAILIFF:       All rise.

10:57   18         THE COURT:     Please remain standing.

10:57   19         (The jury entered the courtroom at 10:57.)

10:58   20         THE COURT:     Thank you.      You may be seated.

10:58   21         Counsel, you may call your next witness.

10:58   22         MS. PROCTOR:       Thank you, Your Honor.    We'd like to call

10:58   23   Dr. Ryan Sullivan.

10:58   24         (The witness was sworn.)

10:58   25         THE COURT:     Counsel, I'm going to be relying on you all to


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10:58    1   let me know when we need to shift to the nonpublic forum.

10:58    2         MS. PROCTOR:    And, Your Honor, we're going to try to just

10:58    3   have the slides up and to not say confidential numbers out loud

10:58    4   so that we can maintain public access to as much of this

10:58    5   proceeding as possible.

10:58    6         THE COURT:     Perfect.

10:59    7         MS. PROCTOR:    And Intel's welcome to object at any time if

10:59    8   they have any concerns about that.

10:59    9         MR. LEE:     Your Honor, just a few things.      There's actually

10:59   10   confidential information both ways, but we'll address it with

10:59   11   Your Honor, and I think when the slide is up for the jurors, we

10:59   12   just need to turn the public monitor off.

10:59   13         THE COURT:     We'll do that.

10:59   14                             DIRECT EXAMINATION

10:59   15   BY MS. PROCTOR:

10:59   16         Q.    So good morning, Dr. Sullivan.

10:59   17         A.    Good morning.

10:59   18         MS. PROCTOR:    And good morning, everyone on the jury.

10:59   19   BY MS. PROCTOR:

10:59   20         Q.    My name is Amy Proctor, and I'm part of the team with

10:59   21   Mr. Chu and Mr. Washburn representing VLSI in this proceeding.

10:59   22   So now that I've introduced myself, Dr. Sullivan, can you

10:59   23   please introduce yourself to the jury?

10:59   24         A.    Yes.    Good morning.     My name is Ryan Sullivan.     I

10:59   25   serve as president of a company that is known as Intensity, and


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10:59    1   I work as an economist.       So that means that I use data and

10:59    2   market information to evaluate and analyze revenue costs and

11:00    3   profitability.

11:00    4         Q.     And why are you here today, Dr. Sullivan?

11:00    5         A.     I am here to provide my -- describe my expert

11:00    6   analysis and provide my expert opinions regarding the economic

11:00    7   damages that were incurred by VLSI as a result of the alleged

11:00    8   infringement by Intel.

11:00    9         Q.     And have you prepared anything to assist with your

11:00   10   testimony?

11:00   11         A.     Yes.   I have a set of demonstratives that I have

11:00   12   created.

11:00   13         Q.     Can we pull those up, please?

11:00   14   BY MS. PROCTOR:

11:00   15         Q.     Would you please describe your educational

11:00   16   background?

11:00   17         A.     Yes.   I have a bachelor's degree, a masters degree

11:00   18   and a Ph.D.    They are all in economics and all from the

11:00   19   University of California in San Diego.

11:00   20         Q.     Have you published any work, Dr. Sullivan?

11:00   21         A.     Yes.   I have.   I have published several articles in

11:00   22   what are considered top-tier, peer-reviewed academic journals.

11:01   23   I've also published a paper in the Licensing Executive

11:01   24   Society's Journal as well as other articles on intellectual

11:01   25   property and the economics thereof.


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11:01    1         Q.     And what type of work do you do?

11:01    2         A.     I have been providing professional economic services

11:01    3   for over 28 years now.        This comes into really three categories

11:01    4   for me currently.

11:01    5         So I work with companies to help with what is referred to

11:01    6   as strategic decision making, and this is where I do work such

11:01    7   as valuation, licensing and building statistical models to help

11:01    8   companies as they're competing in the marketplace.

11:01    9         I also serve providing expert analysis and testimony in

11:01   10   cases such as this one.        And I also provide strategic guidance

11:01   11   to the firm that I work with.

11:02   12         Although it varies from time to time, currently I spend

11:02   13   about 50 percent of my time working on cases on litigation

11:02   14   matters.

11:02   15         Q.     What types of companies have you worked with?

11:02   16         A.     Oh, I have worked with all kinds of companies, large

11:02   17   and small.    In the technology arena, I have worked on behalf of

11:02   18   IBM, Microsoft, Apple and Adobe as a few examples.

11:02   19         Q.     Have you worked for any not-for-profit organizations?

11:02   20         A.     Yes.   I have.    I have had the -- the honor, really,

11:02   21   to serve as treasurer and an officer on the board of trustees

11:02   22   for San Diego Zoo Global, which is oftentimes thought of as one

11:02   23   of the world's premier wildlife organizations.

11:02   24         Q.     Have you worked with my law firm in other cases?

11:02   25         A.     Yes.   I have, on a number of occasions.


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11:02    1           Q.   And have you been qualified to testify in any trials?

11:03    2           A.   Yes.     I have provided testimony in more than 25

11:03    3   trials at this point.

11:03    4           Q.   Have you testified on behalf of both plaintiffs and

11:03    5   defendants?

11:03    6           A.   I have.     Approximately half of my work is on behalf

11:03    7   of plaintiffs or patent holders and the other half on behalf of

11:03    8   defendants or alleged infringers.

11:03    9           Q.   Is your firm, Intensity, being compensated for your

11:03   10   time in this matter?

11:03   11           A.   Yes.     Intensity is compensated at a rate of $1,150

11:03   12   per hour for my time.

11:03   13           Q.   Now, does that compensation depend on the outcome of

11:03   14   this case?

11:03   15           A.   No.     Not at all.

11:03   16           MS. PROCTOR:    Your Honor, I would like to offer Dr. Ryan

11:03   17   Sullivan as an expert on economics, finance, statistics and

11:03   18   patent damages.

11:03   19           MR. LEE:     No objection, Your Honor.

11:03   20           THE COURT:     He'll be admitted as an expert.

11:03   21           MS. PROCTOR:    Thank you.

11:03   22   BY MS. PROCTOR:

11:03   23           Q.   So, Dr. Sullivan, what were you asked to do in this

11:04   24   case?

11:04   25           A.   As I mentioned a few moments ago, I was asked to


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11:04    1   evaluate the damages incurred by VLSI as a result of the

11:04    2   alleged infringement by Intel.

11:04    3           And more specifically, I was asked to calculate a specific

11:04    4   form of damages that are known as reasonable royalties for each

11:04    5   of the two patents at issue here, the '373 patent and the '759

11:04    6   patent.

11:04    7           Q.   What did you consider in forming your opinions?

11:04    8           A.   I reviewed and considered and evaluated a great deal

11:04    9   of information in my work.         Of course I considered the patents

11:04   10   at issue themselves, but I also examined financial data, market

11:04   11   research and company documents.

11:04   12           I've also evaluated testimony of other witnesses and

11:04   13   reviewed expert reports.        So there's been a great deal of

11:04   14   information that I have considered.

11:04   15           Q.   And can you describe the work that you did in this

11:05   16   case?

11:05   17           A.   Yes.   So it would have been in the summer of last

11:05   18   year, of 2020, that I submitted a report.           And this consisted

11:05   19   of about 128 pages of written description of the work that I

11:05   20   did, along with over 400 footnote citations to underlying and

11:05   21   supporting evidence and information.

11:05   22           My report also consisted of over 1200 pages of data,

11:05   23   tables and charts, along with computer code that I used in

11:05   24   performing my analysis.        And the purpose of my report is to

11:05   25   provide full transparency of the work that I did, both to Intel


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11:05    1   and its experts, as well as to the Court, for review and

11:05    2   consideration.

11:05    3         Q.    So what products are accused of infringement here?

11:05    4         A.    For the '373 patent, it is the Broadwell and Haswell

11:06    5   products.    And for the '759 patent, there are ten different

11:06    6   product families, and those are all in the Lake families, such

11:06    7   as Skylake, Cannon Lake and Ice Lake.

11:06    8         Q.    Are any of these products accused under both patents?

11:06    9         A.    No.   They are not.     It is two separate sets of

11:06   10   products that are accused of infringement under each of the

11:06   11   different patents, and this reflects the different

11:06   12   contributions that those patents can make.           And in part, that

11:06   13   can be seen because there are different numbers of units that

11:06   14   have been sold that are accused of infringement.

11:06   15         For example, for the '373 patent, here on Slide 7.5,

11:07   16   you'll see that there are approximately 384 million units

11:07   17   accused of infringing the '373 patent.

11:07   18         And for the '759 patent, there are approximately 603

11:07   19   million units that have been accused of infringement.

11:07   20         Q.    So what is the total number of units that are accused

11:07   21   of infringing in this case?

11:07   22         A.    Approximately 987 million units that Intel has sold

11:07   23   of the allegedly infringing units.

11:07   24         Q.    And have you personally analyzed whether those

11:07   25   987 million units actually infringe the two patents?


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11:07    1         A.    No.   I have no opinion on whether the products

11:07    2   actually infringe or not.      As an economist who is providing

11:07    3   expertise on the calculation of damages, it is my role to

11:07    4   simply assume that the products do infringe for purposes of my

11:08    5   analysis, and thus I refer to the products as either "accused

11:08    6   products" or "infringing products" for that reason.

11:08    7         Q.    Now, I believe you mentioned earlier a reasonable

11:08    8   royalty.    What is a reasonable royalty?

11:08    9         A.    A reasonable royalty is the form of damages that

11:08   10   apply in this particular case.

11:08   11         So in looking at the legal statute, it states that

11:08   12   "damages should be adequate to compensate for the infringement,

11:08   13   but in no event less than a reasonable royalty for the use made

11:08   14   of the invention by the infringer."

11:08   15         So there are two key points here.        The first is that the

11:08   16   reasonable royalty is the minimum amount of damages, and the

11:08   17   second key point is that it is based upon the use of the

11:08   18   technology by the infringer.

11:08   19         Q.    Now, Dr. Sullivan, how did you determine a reasonable

11:08   20   royalty in this case?

11:08   21         A.    The most typical and appropriate way to calculate

11:09   22   damages in a reasonable royalty is through what is known as a

11:09   23   hypothetical negotiation.      So this is a negotiation that would

11:09   24   have occurred right at the eve of infringement back in time.

11:09   25         And it's hypothetical because it did not actually happen,


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11:09    1   otherwise, we all would not be sitting here today.

11:09    2         And it's kind of an interesting framework work for us to

11:09    3   work within, because it's a situation where the parties

11:09    4   understand that they have to come to an agreement based upon

11:09    5   certain requirements of that negotiation.

11:09    6         And more specifically, at this negotiation, the parties

11:09    7   would recognize that the patent is valid, and they would agree

11:09    8   to that.    They would recognize that the patent is infringed,

11:10    9   and they would agree to that, which would, of course, include

11:10   10   consideration for the unit sales that would be forthcoming that

11:10   11   would be sold under those infringing technologies, and also

11:10   12   that it includes a willing licensor and a willing licensee.

11:10   13         Now, the licensor, that's the patent holder.          And the

11:10   14   licensee is the alleged infringer.        That's the entity that

11:10   15   would be seeking a license.       They'd be looking to pay a

11:10   16   particular amount to the patent holder in order to have rights

11:10   17   to use that technology.

11:10   18         And because of the construct of this hypothetical

11:10   19   negotiation, neither party can simply walk away from this

11:10   20   negotiation, but rather they have to be willing to enter into

11:10   21   that agreement.     And that's part of the fundamental nature of

11:10   22   this negotiation.

11:10   23         Q.    Who would have participated in the hypothetical

11:10   24   negotiation in this case?

11:11   25         A.    Here, the patent holder, the licensor would be


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11:11    1   Freescale, and the licensee that would be looking to obtain

11:11    2   rights to the patents is Intel.

11:11    3         And these hypothetical negotiations for the '373 patent

11:11    4   would occur around October 2011 and for the '759 patent around

11:11    5   June 2013.    And this is the time period right when Intel began

11:11    6   its infringement through the testing of the technologies.

11:11    7         Q.     And what information should be used to determine a

11:11    8   reasonable royalty?

11:11    9         A.     Well, really it's all relevant information.           Even

11:11   10   though it's called a hypothetical negotiation, it really is

11:11   11   grounded in real-world facts.

11:11   12         What's interesting about a hypothetical negotiation is

11:12   13   unlike -- it's kind of like playing a card game where all the

11:12   14   cards are out on the table for both sides to see.

11:12   15         So, you know, when we're typically playing a card game, we

11:12   16   think of, oh, we've got to, you know, hold our cards close to

11:12   17   our chest so nobody can see.

11:12   18         But this is very different.       This is -- this construct,

11:12   19   this legal framework for calculating damages puts all of the

11:12   20   cards out on the table so that both sides can see.           That means

11:12   21   that the confidential and top secret information of Intel in

11:12   22   terms of sales, in terms of financials, in terms of the way

11:12   23   their products work and the testing, that's available out on

11:12   24   the table for both parties to see.

11:12   25         And that's a fundamental aspect of this negotiation, which


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11:12    1   makes it a little bit different than as you might think of as

11:12    2   just a standard real-world negotiation.

11:12    3         Q.    And why is Freescale, the patent holder, at the

11:13    4   hypothetical negotiation?

11:13    5         A.    So at the time of these negotiations in 2011 and

11:13    6   2013, that's at the time of Freescale owning the patents.           And

11:13    7   because Freescale owned the patents, they are the entity, the

11:13    8   licensor at the hypothetical negotiation that owns those

11:13    9   patents.    Because, you know, before that time -- this is the

11:13   10   time period after the acquisition of SigmaTel, but it's before

11:13   11   NXP acquired Freescale.      And so it's Freescale who is at the

11:13   12   hypothetical negotiation.

11:13   13         Q.    And what is Freescale's position in the hypothetical

11:13   14   negotiation?

11:13   15         A.    Well, Freescale as the patent holder would be the one

11:13   16   that would be granting rights to the technology.           You know,

11:13   17   they started off as the chip division of Motorola.           And then in

11:14   18   2004, they became their own independent company.

11:14   19         They developed into a global leader in microcontrollers,

11:14   20   employing over 20,000 individuals headquartered in Austin with

11:14   21   a focus on innovation.      Freescale was investing approximately

11:14   22   $1 billion each year in research and development.

11:14   23         Q.    And what is Intel's position in the hypothetical

11:14   24   negotiation?

11:14   25         A.    Intel is the entity that would be requiring a license


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11:14    1   in order to be able to use the patented technology.           And Intel

11:14    2   is the world's dominant manufacturer of processors, and they

11:14    3   would be seeking a license to the technology to help them

11:14    4   maintain their position in the competitive marketplace.

11:14    5         Q.    Dr. Sullivan, are you familiar with the

11:15    6   Georgia-Pacific factors?

11:15    7         A.    Yes.   I am.    They are a set of 15 factors that were

11:15    8   set forth by a court back in 1970, and some of these factors

11:15    9   can be useful in providing guidance for determining a

11:15   10   reasonable royalty.     So I reviewed, considered and analyzed all

11:15   11   15 of these factors as part of my analysis.

11:15   12         Q.    Did you find any of those 15 Georgia-Pacific factors

11:15   13   to be particularly relevant to your work?

11:15   14         A.    Yes.   Factor 5 relates to the commercial relationship

11:15   15   between the parties.       And because Freescale and Intel had a

11:15   16   competitive relationship, this highlights the importance of the

11:15   17   competitive nature of the marketplace.

11:15   18         Factors 9, 10 and 14 relate to the importance of the

11:15   19   patents.

11:15   20         Whereas Factors 8, 11 and 12 relate to the value of the

11:16   21   technology to Intel.       In particular, Factor 11 relates to the

11:16   22   extent of use of the patented technology by Intel.

11:16   23         And Factor 13 relates to the relative contributions that

11:16   24   both Freescale and Intel made to the additional revenues and

11:16   25   profitability that were provided by the patented technology.


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11:16    1         Q.    So with that context, what is the proper approach to

11:16    2   determining damages here?

11:16    3         A.    Well, first off, the proper analysis should reflect

11:16    4   the infringing product sales, the amount of those sales and

11:16    5   thus the extent of use.

11:16    6         Second, it should -- the proper analysis should reflect

11:16    7   the actual benefits of the technology.          And this can be

11:16    8   determined through the testing that has been performed on the

11:17    9   accused products.

11:17   10         And this is important because it allows the damages and

11:17   11   the royalty to be apportioned to the specific contributions of

11:17   12   the patented technology separate and apart from all the other

11:17   13   features, functionalities and contributions to Intel's

11:17   14   products.

11:17   15         And, third, it should be based upon the value of the use

11:17   16   of the technology by Intel.

11:17   17         Q.    Now, Dr. Sullivan, in your opinion, do Intel's

11:17   18   damages experts apply a proper damages analysis here?

11:17   19         A.    In my view, no.     And I'll explain that as we go.

11:17   20         Q.    So let's turn now to the first key topic you

11:17   21   identified, the competitive marketplace.

11:17   22         How would you describe the marketplace in which Intel

11:17   23   competes?

11:17   24         A.    Based upon all the research I've done, the statements

11:18   25   and documents from Intel, it is clear that this is a highly


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11:18    1   competitive marketplace where innovation improvements are

11:18    2   required in order to maintain one's competitive position.

11:18    3           Q.   Can we pull up your slide on Plaintiff's Exhibit

11:18    4   2617?    What is this exhibit?

11:18    5           A.   This is what is known as a 10-K filing.          It's an

11:18    6   annual report that is prepared by Intel and submitted to the

11:18    7   United States Securities and Exchange Commission.

11:18    8           This is a particular 10-K for the year 2013, and this

11:18    9   information is provided by Intel with a fiduciary

11:18   10   responsibility to be truthful.

11:18   11           Here you can see, at Page 8 of PTX-2617, that Intel is

11:19   12   explaining that the computer industry continuously evolves and

11:19   13   that Intel faces significant competition.

11:19   14           Q.   And would you please turn to your slide on

11:19   15   Plaintiff's Exhibit 2618?        What is this document?

11:19   16           A.   This is another 10-K report that was filed by Intel.

11:19   17   This one is for the year 2019.         So here on PTX-2618 at Page 33,

11:19   18   you can see that they state that they are expecting "an

11:19   19   increasingly competitive environment in 2020."

11:19   20           And this is demonstrating that not only was the industry

11:19   21   competitive, but it has continued to be competitive and is

11:19   22   expected to continue to be competitive.           Just by way of one

11:19   23   example, recently Apple, who had been purchasing their chips

11:20   24   from Intel for their Mac computers, recently decided to stop

11:20   25   having Intel supply chips for the Macs.


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11:20    1         Q.    So let's turn now to the second key topic you

11:20    2   identified, and that was the importance of the patents.             Can

11:20    3   you describe the benefits provided by these two VLSI

11:20    4   patents-in-suit?

11:20    5         A.    Yes.   My understanding, based upon the work that was

11:20    6   performed by Professor Conte and Professor Annavaram, is that

11:20    7   the '373 patent provides power savings and that the '759

11:20    8   patent, through its role with Speed Shift technology, provides

11:20    9   performance improvements.

11:20   10         Q.    And in thinking about the benefits of these patents,

11:20   11   is it relevant whether Freescale or NXP or SigmaTel ever

11:20   12   incorporated the asserted patents into specific products?

11:21   13         A.    No, it is not.     That particular issue is not relevant

11:21   14   and typically would be considered a red herring issue.              That

11:21   15   means that it's a distraction from that which is actually

11:21   16   relevant.

11:21   17         And you can see that because the value of the technology

11:21   18   as it relates to calculating damages for determining a

11:21   19   reasonable royalty, that is to be based upon the use and value

11:21   20   to Intel, not the use or potential use or value at NXP, at

11:21   21   Freescale or at SigmaTel.

11:21   22         It's also what I would consider to be a misleading issue,

11:21   23   because large technology companies such as Freescale, NXP, they

11:21   24   do not have a practice of determining which products of theirs

11:22   25   use which patents.


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11:22    1         It's actually -- to be able to do that is a very expensive

11:22    2   and resource-intensive endeavor, to be able to do that for all

11:22    3   of their patents and all of their products.

11:22    4         And yet, even though it is very expensive to do, it

11:22    5   doesn't yield them value, right?         They don't gain any

11:22    6   additional innovation as a result of that, right?            They want to

11:22    7   be able to have the innovation and the benefits of that

11:22    8   innovation.

11:22    9         So even though you might see in certain products -- I

11:22   10   remember this particularly for my children's toys.            Some of

11:22   11   them would be marked with, you know, a patent on it, and that

11:22   12   makes sense, right?      Because there's maybe a very clear patent

11:22   13   on that particular product.        Sometimes you'll see it on

11:22   14   beverages, on particular cans or tops that open, things of that

11:23   15   nature.

11:23   16         But what we're talking about here are computer chips.             And

11:23   17   as you have observed, they are complex.          They're not simple.

11:23   18   And as a result, companies such as Intel, NXP, they do not mark

11:23   19   their products with patents as a simple matter of industry

11:23   20   practice.

11:23   21         Q.    So rather than focusing on NXP's products or

11:23   22   Freescale's products, you focused on Intel's products, right?

11:23   23         A.    Exactly.

11:23   24         Q.    Now, are these power savings and performance

11:23   25   improvements to Intel's products, are they important to Intel


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11:23    1   and to Intel's customers?

11:23    2         A.     Yes, they are.   So here on Slide 7.20, I have here a

11:23    3   quote from PTX-4112 at Page 27.        And this is in relation to a

11:24    4   presentation that Intel put together where they state that

11:24    5   "it's the biggest Gen-Over-Gen improvement in battery life in

11:24    6   Intel's history."

11:24    7         Gen-Over-Gen means generation-over-generation.          And this

11:24    8   is exemplifying the importance of the '373 patent to Intel.

11:24    9         Here I also have listed a quote from PTX-4032 at Page 19,

11:24   10   and this is a 2016 presentation that Intel created.           And they

11:24   11   state that "a new revolutionary approach to power performance

11:24   12   management."     And this is explaining and demonstrating the

11:24   13   importance of the benefits of the '759 patent to Intel.

11:24   14         Q.     Have you seen any --

11:24   15         MR. LEE:     Your Honor, just for the record, PTX-4112 is one

11:25   16   of these documents that has numbers in it.          I have no objection

11:25   17   to the portion coming in that's on the slide.          It would be

11:25   18   anything else that would follow that would be subject to the

11:25   19   objection.

11:25   20         THE COURT:     Okay.

11:25   21         MS. PROCTOR:    We'll take that up with them after.

11:25   22         THE COURT:     Yes, ma'am.

11:25   23   BY MS. PROCTOR:

11:25   24         Q.     Have you seen any other evidence that these

11:25   25   performance benefits and power savings are important to Intel


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11:25    1    and to its customers?

11:25    2         A.    Yes.    In my report I list out many, many, many

11:25    3    documents in this regard.      What I have here on Slide 7.21 is

11:25    4    just a handful of these documents.       It includes competitive

11:25    5    analyses prepared by Intel, pricing strategies prepared by

11:25    6    Intel, additional 10-K filings from Intel, their website, press

11:25    7    releases, news items.

11:25    8         So there's a great deal of information demonstrating that

11:26    9    the patented benefits are important.       And it also demonstrates

11:26   10    that these benefits help Intel improve their pricing.

11:26   11         MR. LEE:     Your Honor, same objection as to anything else

11:26   12    that would follow.     No objection at all to what's being shown

11:26   13    to the jury.

11:26   14         THE COURT:    Okay.

11:26   15    BY MS. PROCTOR:

11:26   16         Q.    Now, you mentioned pricing.       Does Intel price its

11:26   17    products based at least in part on performance?

11:26   18         A.    Yes, they do.    And here is an excerpt from PTX-4125

11:26   19    at Page 20.    And this is a price strategy document for

11:26   20    Broadwell that was prepared by Intel in 2015.

11:26   21         And you can see down here at the bottom, which I have

11:26   22    expanded up here at the top, that Intel states "Continued

11:26   23    strong demand for performance.      There is still room to test

11:27   24    elasticity of demand on top of the stack."

11:27   25         And elasticity of demand, this is an economic principle.


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11:27    1    And what this is saying is that because of the demand for

11:27    2    performance, Intel is able to continue to increase their prices

11:27    3    without that causing them to lose so many sales that their

11:27    4    revenue would go down.

11:27    5         So in other words, they have the ability because of higher

11:27    6    performance to increase their prices and increase revenue, and

11:27    7    of course then profitability.

11:27    8         Q.    Have you seen any testimony supporting this

11:27    9    relationship between price and performance?

11:27   10         A.    Yes, I have.    There are several Intel witnesses on

11:27   11    pricing that have testified that pricing is based, in part, on

11:27   12    the performance of the products.

11:27   13         Q.    Now, what is your primary takeaway from reviewing all

11:27   14    of these materials in your work on this case?

11:27   15         A.    Well, I think it's clear that Intel operates in a

11:28   16    competitive marketplace where power savings and performance

11:28   17    improvements are necessary for them to maintain their

11:28   18    competitive position.

11:28   19         Q.    Thank you, Dr. Sullivan.

11:28   20         So let's turn now to the third key topic that you

11:28   21    identified, and that was the value of the patents to Intel.

11:28   22    How did you go about determining this value?

11:28   23         A.    I developed and used a quantitative mathematical

11:28   24    analysis -- it's known as a regression analysis -- that

11:28   25    measures and quantifies the price effects or price benefits


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11:28    1    that are attributable to the patented benefits separate and

11:28    2    apart from other features and functionalities that contribute

11:28    3    to Intel's prices.

11:28    4         Q.    And what are the inputs to your analysis?

11:28    5         A.    Well, there's a couple of them to start with, which

11:29    6    are the patented benefits that were determined based upon the

11:29    7    work of Professor Annavaram and Professor Conte.

11:29    8         For the '373 patent you may recall that they determined

11:29    9    that the patented technology provides power savings of

11:29   10    5.45 percent.

11:29   11         For the '759 patent they determined that the technology

11:29   12    provides a performance improvement of 1.11 percent.          And I used

11:29   13    these as inputs to my analysis.

11:29   14         Q.    And how are these inputs used in your analysis?          Do

11:29   15    they allow you to focus just on the benefits that VLSI's

11:29   16    patents provide?

11:29   17         A.    They do.    And that, in my view, is part of why using

11:30   18    the actual tested benefits is so important in calculating a

11:30   19    reasonable royalty.     Because it identifies the specific

11:30   20    benefits of the patented technologies, which is what the

11:30   21    royalty is intended to do.      And that way it's separate from any

11:30   22    other factors and functionalities.       It allows this

11:30   23    apportionment to the technology specifically.

11:30   24         Q.    So how do you actually use these inputs provided by

11:30   25    Professors Conte and Annavaram in your analysis?


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11:30    1            A.     Well, first off, I understand from Professor Conte

11:30    2    that a 1 percent power savings or a 1 percent improvement in

11:30    3    performance can be valued as a 1 percent improvement in clock

11:30    4    speed.

11:30    5            And as a matter of economics, this makes really good

11:30    6    sense.       Because if Intel has opportunity to improve performance

11:31    7    or reduce power, there's multiple things that they can do with

11:31    8    that.    They can increase clock speed with that.            They could

11:31    9    reduce power or they could improve other aspects of

11:31   10    performance.

11:31   11            And because they can choose how best to use these

11:31   12    benefits, they can choose the most valuable one.              And thus, if

11:31   13    they choose to increase clock speed, that might be the best

11:31   14    opportunity for them, but they might have something that's even

11:31   15    better.

11:31   16            So what I look at is the improvement in clock speed,

11:31   17    because we know that the benefits of the technology are at

11:31   18    least as valuable as an improvement in clock speed, because

11:31   19    Intel has these other options.

11:31   20            Q.     So what benefit does Intel actually get from an

11:31   21    increase in clock speed?

11:31   22            A.     Higher prices.    If the technology provides the

11:32   23    opportunity for power savings and performance improvements, and

11:32   24    we know that can be valued as an increase in clock speed, this

11:32   25    results in higher prices.


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11:32    1         Customers like higher clock speed, and thus, they are

11:32    2    willing to pay for it.

11:32    3         Q.    So how do you actually quantify the effect of clock

11:32    4    speed on Intel's pricing?

11:32    5         A.    Well, as I mentioned earlier, I create a quantitative

11:32    6    analysis to be able to do this.

11:32    7         To start off with, it's probably easiest to think about a

11:32    8    simple analogy.    Earlier we were hearing about some Ford

11:32    9    vehicles, and maybe that was recognizing that I was going to be

11:32   10    wanting to talk about some Ford Explorers.

11:32   11         So suppose we have two types of vehicles, two Ford

11:32   12    Explorers, okay?    On the left is our standard Ford Explorer,

11:33   13    and then on the right we have another one.         Except this one's a

11:33   14    little different, because it has what I'm going to call a

11:33   15    lightning bolt technology.

11:33   16         Think about this as something -- the technology that

11:33   17    allows the fuel efficiency to increase from 25 miles per gallon

11:33   18    to 30 miles per gallon.     And as a result, the price of the

11:33   19    vehicle increases from $32,000 to $35,000.

11:33   20         So the difference between the 32,000 and the 35,000, you

11:33   21    know, that's our $3,000.

11:33   22         So in this simple example, one can see that if one's

11:33   23    focused on the lightning bolt technology and you have these two

11:33   24    products, you can observe that the price effect is $3,000 for a

11:33   25    lightning bolt.


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11:33    1         Q.    So in your work here, did you find identical Intel

11:33    2    products that allowed you to do that type of direct comparison?

11:33    3         A.    No.   Intel does not have two sets of products where

11:34    4    one set has the technology and the other set does not but is

11:34    5    otherwise identical.

11:34    6         Q.    So how do you quantify the price effects when the

11:34    7    products are not otherwise identical?

11:34    8         A.    Well, it's a bit more complicated.

11:34    9         So going back to this car analogy, now, instead of our

11:34   10    having a Ford Explorer, suppose we have a Ford Escape.            Similar

11:34   11    but different.    It's a smaller vehicle; it costs less.          It does

11:34   12    not carry as many passengers, has lower horsepower.

11:34   13         So it makes it a bit more complicated because now we're

11:34   14    not just trying to control for the lightning bolt technology in

11:34   15    this comparison, we also have to control for these other

11:34   16    differences between the vehicles.

11:35   17         Q.    So in this type of a more complicated situation, how

11:35   18    do you isolate the value of a single factor on price?

11:35   19         A.    There is a tool that is specifically designed for

11:35   20    this purpose, and it's referred to as regression analysis.           And

11:35   21    I mentioned that term earlier.      This is a mathematical or a

11:35   22    statistical tool, framework, method that allows one to examine

11:35   23    the effects of clock speed on price while accounting for the

11:35   24    other differences among the products.

11:35   25         Q.    And how are regression models typically used?


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11:35    1            A.   Well, regression analysis has been around for a long

11:35    2    time.    It was first created over 200 years ago.           And it is now

11:35    3    very widely used throughout companies, universities.                 It is

11:36    4    taught in basic courses in statistics, basic economics courses,

11:36    5    econometrics describe regression analysis.

11:36    6            It is the subject of thousands of academic journal

11:36    7    articles.     It is in many different textbooks.         It's -- certain

11:36    8    types of regression analysis have been the focus of the Nobel

11:36    9    Prize in economics.

11:36   10            I was fortunate to study and have one of my dissertation

11:36   11    advisors, he earned his Nobel Prize for a particular type of

11:36   12    regression analysis called Arch.          And so this is a very widely

11:36   13    used, widely studied methodology.

11:36   14            Q.   And is regression analysis used in the context of

11:36   15    litigation for determining damages?

11:36   16            A.   Yes.     It is very common for regression analysis to be

11:37   17    used in litigation.       One example of this is that the Federal

11:37   18    Judicial Center, which is the educational organization for the

11:37   19    federal courts, they have manuscripts that describe how to use

11:37   20    regression in litigation.        It is very commonly used.

11:37   21            Q.   So what about outside of litigation?         Is regression

11:37   22    ever used in negotiations that are separate, not involving any

11:37   23    litigation?

11:37   24            A.   It is.    For negotiations for a patent license, it

11:37   25    does get used, but it's less common.          Because there are certain


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11:37    1    data requirements, and it also takes resources, time to put

11:37    2    towards it.     It's not an inexpensive endeavor, and so it's used

11:38    3    sometimes but not overly frequently.

11:38    4         Q.      Now, does Intel dispute that regression is a widely

11:38    5    used tool in economics?

11:38    6         A.      No.   They do not.    You know, in fact, one of their

11:38    7    experts uses regression analysis in his own academic work to

11:38    8    evaluate the effect of features on prices.

11:38    9         Q.      So for your work in this case, did you build a custom

11:38   10    regression model?

11:38   11         A.      I did.   I used, you know, standard methods, standard

11:38   12    techniques that are, you know, used by the government to

11:38   13    determine inflation indices.        When you hear about the CPI, the

11:38   14    Consumer Price Index, well, that's the type of model that I

11:38   15    used here.    So it's widely used.

11:38   16         But of course my goal here is to calculate and determine

11:38   17    the benefits of these particular technologies for Intel's

11:39   18    products.    And that's based upon, you know, the confidential

11:39   19    information of Intel's financials and based upon their specific

11:39   20    products.    And thus I tailored the regression analysis that I

11:39   21    did specific for this case.

11:39   22         Q.      So what type of data do you use in your regression

11:39   23    model for this case?

11:39   24         A.      So what I want to do is I want to be able to compare

11:39   25    prices on the one hand to the features and characteristics of


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11:39    1    the products on the other hand, so I used two sets of data.

11:39    2         On the left-hand side here, on Slide 30, you'll see that I

11:39    3    used sales data from Intel that includes six and a half million

11:39    4    transactions, sales transactions.       These are the actual sales

11:39    5    made for actual products and the actual prices that were paid

11:40    6    for those products where each transaction sometimes has several

11:40    7    thousand units that are sold within an individual transaction,

11:40    8    and I compared those to the features and characteristics of the

11:40    9    products that are sold.

11:40   10         There's a particular website database that Intel maintains

11:40   11    for the public called ARK, A-R-K.       And this lists out the

11:40   12    different features and characteristics of each of the products

11:40   13    that they are advertising and promoting to the public.            And so

11:40   14    I used those features and characteristics, and I compared them

11:40   15    to the prices using a regression analysis.

11:40   16         Q.    And how do you go about determining which features or

11:40   17    factors to include in your regression model?

11:40   18         A.    Well, I start with all of the available features and

11:40   19    characteristics that are available on Intel's database, and

11:41   20    then I remove those that have too much missing data.

11:41   21         I remove the factors that are already accounted for by

11:41   22    other factors, that there's, you know, so much overlap that

11:41   23    they aren't adding anything.

11:41   24         And then there's certain variables that just simply are

11:41   25    not relevant or informative, such as whether that product is


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11:41    1    still being sold today.     Well, that of course doesn't matter

11:41    2    for when it actually had been sold.       So that doesn't add any

11:41    3    information for us.

11:41    4         Q.    So after going through this detailed analysis to

11:41    5    analyze the features that Intel advertises, what features or

11:41    6    factors did you ultimately include in your model?

11:41    7         A.    I have those listed here on Slide 7.32.         There, you

11:41    8    know, of course I have clock speed, which is reflected in

11:41    9    Base/Turbo frequency and Max Turbo frequency, but there's over

11:42   10    35 other features that -- and characteristics that I use as

11:42   11    control factors.

11:42   12         I also look at the year in which the product was launched.

11:42   13    I looked at the calendar quarter in which the transaction takes

11:42   14    place, because of course the marketplace evolves and changes

11:42   15    over time and I account for that.

11:42   16         And I also look at different customer categories because

11:42   17    different customers and different sizes and types might get

11:42   18    different types of pricing than others, and so I take that into

11:42   19    account as well.

11:42   20         Q.    So, Dr. Sullivan, what are the results of your

11:42   21    regression analysis?

11:42   22         A.    Well, associated with each factor is what's called a

11:42   23    coefficient.    And here on Slide 7.33 I've listed out all of the

11:42   24    coefficients for all of the different factors.

11:42   25         Now, here there's over 150 different factors and that's


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11:43    1    because some of the features actually have multiple factors

11:43    2    associated with them.     So it's actually up to 150 factors.

11:43    3         Q.    And so what is the coefficient on clock speed?

11:43    4         A.    Well, you can see that up here at the top left.             I'll

11:43    5    blow that up.    So here on Slide 7.34 you can see that the

11:43    6    coefficient for clock speed is 0.764.

11:43    7         This is the key result of the regression, okay?              So 0.764,

11:43    8    you know, that's a bit less than one, just a little bit more

11:43    9    than three-fourths.     And this is providing the mathematical

11:43   10    relationship between price and clock speed separate and apart

11:43   11    from all of the other features and factors.

11:43   12         Q.    So, Dr. Sullivan, what does this result mean?

11:43   13         A.    Well, what it means is that if there's a 1 percent

11:44   14    improvement in speed, that that results in a price that is

11:44   15    .764 percent greater.     There's a price benefit of .764 percent

11:44   16    for every 1 percent improvement in speed.

11:44   17         So if we had a 2 percent speed improvement, then we would

11:44   18    take two times the .764 percent and that would equal, you know,

11:44   19    about 1.5 percent, 1.53 percent.

11:44   20         Q.    And does this price benefit include any other

11:44   21    features that would appear in Intel's products?

11:44   22         A.    No.   This is specific and unique to clock speed

11:44   23    separate and apart from everything else.

11:44   24         Q.    So, Dr. Sullivan, did you perform any analyses to

11:45   25    determine whether your model was actually reliable?


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11:45    1          A.    Yes.   I did.    I performed a full collection of

11:45    2    standard tests to determine whether the model is reliable.           And

11:45    3    here on Slide 7, I'm just listing a few of those.

11:45    4          So up top you can see that for clock speed the p-value --

11:45    5    and p-value's a probability value on whether or not a factor is

11:45    6    not relevant, and you want it to be as close to zero as

11:45    7    possible.    Here it's 0.0000.      It's effectively zero, you know,

11:45    8    numerically speaking.       And so that means it's highly

11:45    9    significant.

11:45   10          I also have listed out the p-values for all of the control

11:45   11    factor groups, and you can see those are either effectively

11:45   12    zero or very close to zero.

11:46   13          And then I also have listed down here at the bottom the

11:46   14    R².   The R² range is between zero and one, closer to one is

11:46   15    better.    And here the R² of the model is 0.9391.          And so that's

11:46   16    very good for this model.

11:46   17          And taken in -- all total, what this means is that there's

11:46   18    very high statistical confidence that the estimate on the

11:46   19    coefficient for clock speed, that 0.764, that that is

11:46   20    statistically significant with a high degree of confidence.

11:46   21    And ultimately that just means that as an economist, it's

11:46   22    appropriate to rely upon that.

11:46   23          Q.    So based on all of your work building the regression

11:46   24    and all of your analysis that you've explained here, are you

11:46   25    confident in the results you obtained for clock speed?


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11:46    1         A.    Yes.

11:46    2         Q.    Now, have Intel's experts made any arguments about

11:46    3    your regression analysis?

11:47    4         A.    Yes.    They have set forth a number of different

11:47    5    critiques relating to what they refer to as "unexpected

11:47    6    coefficients."    There's a Speed Shift, omitted variable bias

11:47    7    and binning.

11:47    8         Q.    So let's start with that first argument, the

11:47    9    unexpected coefficients.      Should the coefficients on the

11:47   10    control factors be interpreted as direct effects on price?

11:47   11         A.    Not necessarily.

11:47   12         So let's go back and take a look at the full collection of

11:47   13    coefficients.     Keep in mind that it's this clock speed that I

11:47   14    focused on, right?     That's the important piece.       And I made

11:47   15    sure to not include other variables that overlap with that

11:47   16    clock speed that could muddy that estimate.

11:47   17         So let me just give you a couple of examples.          So the next

11:47   18    one down here, cores.     So I'll blow that up.      And you can see

11:48   19    that as the number of cores increases, that the coefficient

11:48   20    increases, and that makes perfect sense.        That's great.

11:48   21         However, it's not always that way.        So you can see here on

11:48   22    the next slide, I've got the coefficients for product family,

11:48   23    and I've highlighted here the Westmere coefficient of 2.29.

11:48   24    Well, you'll notice that's the largest coefficient among the

11:48   25    different product families, and Westmere's one of the oldest


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11:48    1    product families so that might almost seem odd or unexpected.

11:48    2            But keep in mind I also have a factor for launch year,

11:48    3    when this product is launching.          And so there's overlap between

11:48    4    those two.

11:48    5            So if you were to only look at the coefficient on Westmere

11:48    6    without thinking about that overlap, you might think that's

11:48    7    unexpected.      But irrespective of the overlap on the control

11:49    8    factors, it doesn't affect the clock speed estimate that I have

11:49    9    here.

11:49   10            Q.    So the clock speed result has been isolated from all

11:49   11    of these other factors?

11:49   12            A.    Exactly.   Even though there can be overlap in the

11:49   13    control factors.

11:49   14            Q.    So let's turn to that second argument that Intel

11:49   15    raised.      Is the Speed Shift feature included in your regression

11:49   16    model?

11:49   17            A.    I include Speed Shift through the benefits that Speed

11:49   18    Shift has on clock speed.        I do not include a separate factor

11:49   19    for Speed Shift itself, the feature itself.            And there's very

11:49   20    good reason for that.

11:49   21            And so I'd like to go back to our car example.          Unlike

11:49   22    Dr. Annavaram, I actually enjoy Fords.           So here you can think

11:50   23    about, you know, the lightning bolt technology, that improves

11:50   24    fuel efficiency, the miles per gallon, and that affects the

11:50   25    price.


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11:50    1         So the proper way to value or evaluate this lightning bolt

11:50    2    technology is through the benefits of that technology, which is

11:50    3    through a fuel efficiency.       It would not be appropriate to

11:50    4    include the lightning bolt technology as a separate factor

11:50    5    because of the overlap, right?       Because otherwise then some of

11:50    6    the effects are going to go to miles per gallon and some of the

11:50    7    effect is going to go to this feature, and so you're diluting

11:50    8    that effect.

11:50    9         And even worse is that customers care about the benefits

11:50   10    of the feature, not the feature itself.         You know, thinking

11:50   11    about the Ford Explorer, it's not just the lightning bolt

11:50   12    technology itself, you know, that has maybe a little lightning

11:51   13    bolt emblem, the feature.      It's the benefit, right?       It's the

11:51   14    fuel efficiency and thus the savings in fuel costs.           It's that

11:51   15    benefit.

11:51   16         And so the same is true here in our case.          Because the

11:51   17    patents provide a benefit for clock speed and that clock speed

11:51   18    has an effect on the higher prices.        And that's the way the

11:51   19    benefits observe.     And if we were to include just Speed Shift

11:51   20    technology as a feature, you know, those words aren't the

11:51   21    benefit and instead that would just dilute the effects.

11:51   22         Q.    So in your view it was appropriate to not include

11:51   23    Speed Shift directly as a separate factor in the model?

11:51   24         A.    Correct.

11:51   25         Q.    So let's turn to Intel's third argument, omitted


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11:51    1    variable bias.    Did you consider whether you included enough

11:51    2    control factors?

11:51    3         A.    Yes.    So, you know, there's kind of two issues in

11:51    4    building a regression.     One is, you know, do you have too many

11:52    5    factors, and then the other is, you know, do you have enough?

11:52    6         And I already talked about the too many and the overlap

11:52    7    and what is referred to as multicollinearity, but there's

11:52    8    another issue that economists consider, which is omitted

11:52    9    variable bias.

11:52   10         This just means that there's a bias that can occur.            And

11:52   11    what's referred to as bias, it's a statistical term for just

11:52   12    saying that the number might not be fully accurate.          And if

11:52   13    there's not a sufficient collection of features or factors,

11:52   14    that could create a bias.

11:52   15         Here we know that's not an issue.        And that's because the

11:52   16    model reliability results that I showed you earlier, the

11:52   17    p-values, the R² and the performance of the model, we know that

11:52   18    omitted variable bias is not an issue.

11:52   19         Q.    Now, are you familiar with Intel's damages expert

11:52   20    Dr. Lorin Hitt?

11:53   21         A.    Yes.

11:53   22         Q.    And have you reviewed Dr. Hitt's work in this case?

11:53   23         A.    Yes.    I reviewed his report.     I also read through the

11:53   24    transcript of his deposition.

11:53   25         Q.    And what is your opinion of Dr. Hitt's regression


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11:53    1    analyses?

11:53    2         A.     Well, a key piece of his work in this case is running

11:53    3    what would be referred to as mini regressions.           These are

11:53    4    regressions that are run on just individual products, so small

11:53    5    samples of the data.      And there's some problems with this.

11:53    6         First off is that it ends up removing, you know, most of

11:53    7    the data each of these mini regressions moves anywhere between

11:53    8    59.4 percent and 99.8 percent of the data.           So we're losing a

11:53    9    lot of data when we do that, we're losing information, we're

11:53   10    reducing reliability of the calculations.

11:53   11         But there's another more fundamental issue here, which is

11:54   12    the importance of including both accused infringing products as

11:54   13    well as non-accused, non-infringing products for the regression

11:54   14    analysis.    Because one -- in order to figure out the value of

11:54   15    the technology, one has to be able to draw a comparison between

11:54   16    the products that have it versus those that don't.

11:54   17         Let's go back to the car example and think about the two

11:54   18    Ford Explorers.     And if all the Ford Explorers had the

11:54   19    lightning bolt technology, it wouldn't be possible then to

11:54   20    measure the price effects of the technology.

11:54   21         And so, not surprisingly, when Dr. Hitt is performing mini

11:54   22    regressions, he's not able to come up with the appropriate

11:54   23    estimate of what the effect is of having improved clock speed.

11:55   24         Q.     So the fourth argument you mentioned was binning.

11:55   25    Dr. Sullivan, what is binning as it relates to Intel's pricing?


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11:55    1         A.     Binning is a pricing process that Intel uses to put

11:55    2    products into different bins -- think of a bucket -- based upon

11:55    3    the characteristics of that product, and in particular the

11:55    4    performance of that product.

11:55    5         So products with higher performance and better

11:55    6    characteristics are placed into a higher bin, and those bins

11:55    7    then result in higher prices.

11:55    8         And, you know, this is -- you know, this process is one of

11:55    9    the things that demonstrates the relationship, that there is a

11:55   10    relationship between performance and price and improvements in

11:55   11    clock speed and price.

11:55   12         Q.     So does your analysis account for binning?

11:55   13         A.     Yes.    Directly.   All of the six and a half million

11:56   14    transactions that I use as part of the regression analysis,

11:56   15    those are all sales that were made after those products had

11:56   16    been put through the binning process.

11:56   17         And so they -- by their very nature, by definition they

11:56   18    include the effects of the binning.         They reflect Intel's

11:56   19    actual pricing processes because they are the actual prices.

11:56   20         Q.     Now, are you familiar with Dr. Hitt's binning

11:56   21    analysis?

11:56   22         A.     I am.

11:56   23         Q.     And what is your opinion of Dr. Hitt's binning

11:56   24    analysis?

11:56   25         A.     Well, in my view, it is not correct.         And in


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11:56    1    particular, Dr. Hitt creates his own binning process.                It's not

11:56    2    based upon the pricing process that Intel uses.             Instead, he

11:56    3    uses his own optimization algorithm which then makes up prices

11:57    4    that aren't the ones that Intel actually received, and thus it

11:57    5    does not reflect the benefits to Intel that they actually

11:57    6    receive from the technology because of those actual prices.

11:57    7            There's also the other issue that it's -- his analysis is

11:57    8    based upon, you know, limited data.          It's really for overall

11:57    9    only a couple of years' period of time and so it doesn't

11:57   10    reflect what has happened across time.           But the fundamental

11:57   11    issue is it's not the actual data.

11:57   12            You know, and as I've described and the method that I've

11:57   13    employed is using the actual prices.          So I can look at the

11:57   14    actual benefits that Intel received.

11:57   15            Q.   Thank you, Dr. Sullivan.

11:57   16            And the next area I want to discuss is to go back to your

11:58   17    regression model and talk about how you actually used it to

11:58   18    calculate damages here.        But before we do that, I'm hoping that

11:58   19    we can take a break.       If that works for everyone.

11:58   20            THE COURT:   It does.    Ladies and gentlemen, it is right at

11:58   21    noon.    If you'll be back by 1:15 and resume -- I'll get started

11:58   22    as close as possible, but it may not be till 1:30 that we

11:58   23    actually resume trial.        But if you'll be back at 1:15, that'd

11:58   24    be great.     Remembering my instructions not to discuss the case

11:58   25    amongst yourselves, you are dismissed.


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11:58    1         THE BAILIFF:    All rise.

11:58    2         (Jury exited the courtroom at 11:58.)

11:58    3         THE COURT:     Dr. Sullivan, you may step down.

11:58    4         Is this the point you break because you're about to -- I'm

11:59    5    going to suggest that we go to lunch and we meet back here at

11:59    6    1:00 and we'll take up the issues that Mr. Lee raised.

11:59    7         Does that work for you, Mr. Lee?

11:59    8         MR. LEE:     It does, Your Honor.

11:59    9         THE COURT:     And counsel?

11:59   10         MS. PROCTOR:    Yes.    Thank you, Your Honor.

11:59   11         THE COURT:     We'll see you in about an hour.

12:05   12         (Recess taken from 11:59 to 1:17.)

01:17   13         THE BAILIFF:    All rise.

01:17   14         THE COURT:     Thank you.     You may be seated.

01:17   15         I think Mr. Chu is sending me a subliminal message here.

01:17   16         MR. CHU:     No, no.   Not at all, Your Honor.      We're very

01:17   17    well protected by the Court from COVID but not the common cold

01:17   18    this morning.

01:17   19         THE COURT:     If Dr. Sullivan would take the stand, and if

01:17   20    you would tell me the questions that you're seeking to get from

01:17   21    him, and also where in his report that information is shown,

01:17   22    that would be great.

01:17   23         And, Mr. Lee, then I'll give you an opportunity.

01:17   24         MS. PROCTOR:    Absolutely, Your Honor.

01:18   25         So if we could pull up the slides.        And I'll just show you


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01:18    1    the slides we have, Your Honor.        And I actually just sent a

01:18    2    couple of revised slides to Intel, so they have them, a couple

01:18    3    of updated ones that we may add based on your guidance.

01:18    4         THE COURT:     Okay.

01:18    5         MS. PROCTOR:     So if we can look at the next slide.          This

01:18    6    is the -- we want to show basically two per-unit calculations.

01:18    7    And let me take a step back.       What we really want to do is we

01:18    8    want to show this calculation two ways.

01:18    9         So if you'll go ahead to Slide 49.

01:18   10         So this is the calculation that is in his report exactly

01:18   11    like this in one of the attachments.        We can look at if you'd

01:18   12    like -- it's D -- let's see.       It's -- well, it's Plaintiff's

01:19   13    Exhibit 3910.

01:19   14         So this is the calculation that's in the report.              He walks

01:19   15    through these numbers, he does this math, and he actually has

01:19   16    an attachment that just shows exactly these numbers and this

01:19   17    result.

01:19   18         Now, what we also want to show is the per-unit

01:19   19    calculation.

01:19   20         And if we can go back two slides.

01:19   21         I want to ask him to walk through this at a per-unit

01:19   22    level.    And, Your Honor, these are the exact same numbers, so

01:19   23    this infringing revenue per unit is literally just the accused

01:19   24    revenues which are in the report in multiple places.

01:19   25         I can give you a pincite if you'd like.


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01:19    1         They are in his attachments.         He has an attachment that

01:19    2    just calculates accused revenues per patent.           We just take the

01:19    3    accused revenues and divide by number of units.            So this is

01:19    4    total revenue per unit.       It is one calculation just doing that

01:19    5    division.    And we're doing the exact same math that he shows in

01:19    6    his report but showing it at a per-unit level.

01:20    7         And so this is -- these are all numbers that were

01:20    8    disclosed to them.      It is absolutely material that they had

01:20    9    available to them and that they understood.

01:20   10         And I want to address Mr. Lee's point about how this

01:20   11    supposedly prejudiced Intel, that this is somehow a surprise.

01:20   12    So this just simply is not a surprise.          They've had all of

01:20   13    these numbers.

01:20   14         They actually objected, Your Honor, to a couple of other

01:20   15    calculations we did where we took two numbers, one for each

01:20   16    patent, and added them.       And they said that was unfair because

01:20   17    it wasn't in the report.       And they've since withdrawn those

01:20   18    objections, because we all agree either party here can add two

01:20   19    numbers together.      That's what we need to do to explain our

01:20   20    case to the jury.

01:20   21         And here we have the exact same situation.            In order to

01:20   22    explain our case to the jury and show how this works, and to

01:20   23    avoid actually Intel's objection that showing the total accused

01:20   24    revenues somehow creates an appeal issue, to avoid that issue,

01:20   25    this is what we would do --


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01:20    1         THE COURT:     And that appeal issue being the stacking

01:21    2    issue?

01:21    3         MS. PROCTOR:     No.   I'm sorry.   They have an objection

01:21    4    under the entire market value rule.

01:21    5         THE COURT:     Okay.

01:21    6         MS. PROCTOR:     And they say that showing that $50 billion

01:21    7    total accused revenue or $123 billion total accused revenue

01:21    8    will somehow skew the damages horizon for the jury in a way

01:21    9    that will prejudice them.      And so they're preserving that

01:21   10    argument for appeal.

01:21   11         So we want to, in response to that, to basically

01:21   12    accommodate their request, let's take that big number they

01:21   13    don't like.     Let's divide it by the number of units, and let's

01:21   14    explain it to the jury that way.

01:21   15         So it's the exact same calculation.        The 5.45 is there,

01:21   16    the .764 is there.     We've just divided revenues by units and

01:21   17    that gets you this additional revenue per unit.

01:21   18         The report is very clear that Dr. Sullivan is seeking a

01:21   19    running royalty and that that royalty should reflect the extent

01:21   20    of use, and it should reflect the number of units.

01:21   21         And they deposed Dr. Sullivan about this.         He was clear in

01:21   22    his deposition that the -- his damages number would be higher

01:22   23    if there were more units that infringe and lower if there were

01:22   24    fewer, right?    We all agree his damages have always been

01:22   25    proportional to the number of units.       There's a direct


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01:22    1    connection there.

01:22    2         And so, again, I just don't understand how this is a

01:22    3    surprise.    We actually deposed their witnesses on this royalty

01:22    4    stacking issue.     And their 30(b)(6) witnesses on licensing said

01:22    5    simply:   We do not track royalties on a per-unit basis.            We do

01:22    6    not have any data on any royalty burden on our products.

01:22    7         So, Your Honor, if they thought it would help them to do

01:22    8    this division and make a royalty stacking argument, you would

01:22    9    have already heard about it.        This is really just a very

01:22   10    straightforward way to demonstrate, to explain, to show the

01:22   11    jury what we've done in a way that tries to avoid one of their

01:22   12    concerns and tries to at least mitigate this potential appeal

01:23   13    issue by spending less time.

01:23   14         Our goal is to spend less time showing, looking at,

01:23   15    talking about the big numbers.

01:23   16         THE COURT:     Okay.

01:23   17         MS. PROCTOR:      And just one other small point.

01:23   18         If we can go ahead I think three slides.           Let's see if

01:23   19    that gets us there.

01:23   20         So I've added now after we do the calculation at the total

01:23   21    revenue level that was in his report that they object to only

01:23   22    because the numbers are too big, Your Honor mentioned that

01:23   23    perhaps we could, after we show the calculation of something

01:23   24    like the 2.1 billion, which is all apportioned, we could maybe

01:23   25    then just say, Dr. Sullivan, if you divide that by number of


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01:23    1    units, what would you get?

01:23    2         So this is another slide that we just added.            We've sent

01:23    3    it to the other side.       And it's another option where we can

01:23    4    show it.

01:23    5         But our view is that we need to be able to show these

01:23    6    numbers to prove up our case.        These are how we -- this is how

01:23    7    we calculated damages.       We've just done nothing but this small

01:23    8    tweak to address, actually, one of Intel's concerns about the

01:24    9    magnitude of the numbers.

01:24   10         THE COURT:     Got it.

01:24   11         Mr. Lee?

01:24   12         MR. LEE:     Your Honor, this is not a small tweak.

01:24   13         If I could have the slide that -- it's PDX-7.49.               Let me

01:24   14    make sure we've got the right one.         Let's use PDX-7.52.

01:24   15         I think this is one she said was the way it was presented

01:24   16    in his report.     And he did present an analysis that was based

01:24   17    upon his analysis times infringing revenues for the units.

01:25   18         But in his report, Your Honor, and in his deposition, he

01:25   19    said he could present his analysis and ultimate opinion without

01:25   20    having to disclose the total number of all the accused

01:25   21    products.

01:25   22         And if I could hand up to you Page 143 of his deposition

01:25   23    transcript and Page 123 of his opening report.           I'll give

01:25   24    copies to Ms. Proctor.

01:25   25         So, Your Honor, the lay of the land until this morning, or


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01:25    1    until last night, was they were presenting his analysis.            It

01:25    2    was based upon the total infringing revenues, which as

01:25    3    Ms. Proctor says was the analysis he presented in his report.

01:25    4    And he said he could present that analysis without disclosing

01:26    5    the total infringing revenues.

01:26    6            That is fine with us because, well, we disagree with it,

01:26    7    but it's fine with us for him to present it, because that's

01:26    8    what's in his report.       That's the analysis in his report.      And

01:26    9    you'll see in the footnote in his report he himself says he can

01:26   10    present it without disclosing the total revenues.            And then we

01:26   11    asked him that question and he said it would be reasonable to

01:26   12    do so.

01:26   13            So all we're asking is that he do what he said in his

01:26   14    report and his deposition.

01:26   15            You will not find in the report anywhere this per-unit

01:26   16    calculation.     And it's not just a tweak, Your Honor, and it's

01:26   17    not just math.     Because if I go to their later slides --

01:26   18            If I could -- just give me a second, Your Honor.

01:26   19            They translate this into a per-unit royalty later in their

01:27   20    slides.    This is a different type of royalty.         It's not just

01:27   21    math.    It would have different implications for the case.         We

01:27   22    would have responded to it differently, and so it's just a new

01:27   23    theory.

01:27   24            And we have no objection to him pursuing the theory that

01:27   25    he pursued before.


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01:27    1         Yes, Your Honor.       If I could ask Mr. Lee to bring up, for

01:27    2    instance, Slide No. 7.47, where he computes an additional

01:27    3    revenue per unit.      Then they take that additional revenue per

01:27    4    unit, they reduce it, and they come up with what they call a

01:27    5    per-unit royalty.      A per-unit royalty is different.        We would

01:28    6    have responded to it differently.         It's not in the expert

01:28    7    report.

01:28    8         So all we're asking is that they be held to what they

01:28    9    represented before.      He has an analysis that is power savings

01:28   10    times price benefit times total revenues of the accused

01:28   11    products.    He said he could present that, as Your Honor sees,

01:28   12    without disclosing the total accused revenues.           And we think

01:28   13    that that is the way to go.

01:28   14         Now, that would require some adjustments to these charts,

01:28   15    because there's like -- there's three different ways of

01:28   16    presenting it in these charts.        Half of them should go out

01:28   17    because they're on a per-unit basis, which was never the basis

01:28   18    for what he disclosed.       And it would be prejudicial and unfair,

01:28   19    and honestly, Your Honor, we would have responded to it had we

01:28   20    had the chance.

01:28   21         On the others, he can present it, but he doesn't need

01:28   22    the -- if we hold him to his word, he doesn't need the total

01:28   23    revenues in the record or to say them.          He can just describe

01:28   24    what he does, and he can come up with the number that is his

01:29   25    number.


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01:29    1          THE COURT:     Okay.   Yes, ma'am.

01:29    2          MS. PROCTOR:    So, Your Honor, turning to the deposition

01:29    3    excerpt that Mr. Lee just provided to you and the portion of

01:29    4    his report, what Dr. Sullivan was saying that it -- was that if

01:29    5    Intel had won its motion in limine where they asked you to

01:29    6    exclude the accused revenues, would it be possible for him to

01:29    7    do the same calculation with a black box there instead of a

01:29    8    number?   Sure.    We could present it that way, but this is --

01:29    9    that is highly confusing to the jury, and there's no basis for

01:29   10    Intel's trial team here to dictate how Dr. Sullivan presents

01:29   11    his analysis.

01:29   12          So I'm not sure how the bit that you just got from Mr. Lee

01:29   13    really relates to this dispute, because what Dr. Sullivan was

01:29   14    saying is that, yes.     He could basically not show the math.

01:30   15          THE COURT:     Mr. Lee, I'll tell you that's the way I read

01:30   16    this as well.     The prior -- the -- I mean, I only have this

01:30   17    page, but it reads now -- the answer was, "Now, it could be

01:30   18    that the Court deems it appropriate to disclose that data

01:30   19    information to the jury and perhaps not."

01:30   20          And Mr. Hirsch says, "I think I understand."

01:30   21          Then he asks this question and he says, "In my view,

01:30   22    that's reasonable."

01:30   23          But I don't see that as him saying he's not going to do

01:30   24    it.   I see it as kind of an alternative statement.

01:30   25          With respect to his report, I'm looking at the footnotes


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01:30    1    and especially the ones you've highlighted.         One says, "The

01:30    2    determination for the reasonable royalties herein does not

01:30    3    require disclosure of accused sales or the effective percentage

01:30    4    royalty rate as the determination of reasonable royalties as

01:31    5    based upon a portion of revenue that's specifically attributed

01:31    6    to the patented technology."

01:31    7         And it sounds to me like that's what he's about to do

01:31    8    and -- which I'm okay with.

01:31    9         And then he says, "The determination of reasonable

01:31   10    royalties herein does not require disclosure of accused sales

01:31   11    or the effective percentage royalty rate as the determination

01:31   12    of reasonable royalties based upon a portion of revenues that

01:31   13    is specifically attributable," but it sounds to me like that's

01:31   14    what he's going to be asked to do here as well.

01:31   15         Power savings times the price benefit times the infringing

01:31   16    revenue per unit is what he is doing in terms of apportioning

01:31   17    the revenue specifically attributable to the patented

01:31   18    technology.    What am I missing?

01:31   19         MS. PROCTOR:    That's exactly right, Your Honor.            One

01:31   20    moment.

01:31   21         MR. LEE:     So, Your Honor, there are two separate issues.

01:32   22         THE COURT:     Okay.

01:32   23         MR. LEE:     Okay.     The first is one you just identified.

01:32   24    And, you know, all I can say is we would disagree.          I think

01:32   25    that Uniloc would say, no.       He shouldn't be able to do that,


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01:32    1    and Ericsson would also say that.       But we've made our position

01:32    2    clear to Your Honor.     If that's your ruling, we understand it.

01:32    3         If I could have on the screen though PDX-7.63.          And

01:32    4    then -- and maybe the next.       This is different.     This is --

01:32    5         THE COURT:     Just to protect your record, if you can make

01:32    6    sure you state on the record what it is I'm looking at.

01:32    7         MR. LEE:     Yes.   It's PDX-7.64, and I think I have the

01:32    8    numbers right because we don't have the newest set.          But for

01:32    9    the set I have right now it's PDX-7.64, Your Honor.

01:32   10         This reasonable royalty per unit number is a new number.

01:32   11    It's not in the reports anywhere.

01:33   12         THE COURT:     Okay.

01:33   13         MR. LEE:     How does that come in?

01:33   14         MS. PROCTOR:    So, Your Honor, this is exactly what you

01:33   15    contemplated when Mr. Lee first raised this this morning.

01:33   16         This is our total damages award.        If you divide it by the

01:33   17    number of units, this is what you get.        And we're just showing

01:33   18    that you can also calculate it at a per-unit level, just like

01:33   19    we just showed.    This is just the next step.

01:33   20         So Your Honor just described his analysis quite well,

01:33   21    saying that we start by apportioning the revenue down to just

01:33   22    the patented benefit.       Then there's another step where we look

01:33   23    at each party's contribution and award the royalty just based

01:33   24    on Freescale's contribution.

01:33   25         And so that's what we're doing here.        We're starting with


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01:33    1    that incremental -- just the additional revenue attributable to

01:33    2    the patent multiplying it by the contribution that Freescale

01:33    3    made and that's how we get to the reasonable royalty.

01:33    4         The report has this exact calculation except instead of

01:33    5    dividing the first number and the last number by the units, we

01:33    6    have the undivided numbers that Intel objects to as being too

01:34    7    large.

01:34    8         THE COURT:     Mr. Lee, I am concerned that you're trying to

01:34    9    have it both ways.     If -- you're making the one objection that

01:34   10    you're making, and they are trying to address this, and as long

01:34   11    as those -- and let me make sure I'm clear, where it says

01:34   12    "additional revenue per unit of 5.50," was that in his report?

01:34   13         MS. PROCTOR:    The additional revenue attributable to all

01:34   14    the accused products in his report divided by the number --

01:34   15         THE COURT:     -- by the number of units.

01:34   16         MS. PROCTOR:    -- which is also in his report.

01:34   17         THE COURT:     So really what you -- all this has done is

01:34   18    taken the math of the additional revenue against the number of

01:34   19    units, which I assume was in the report as well?

01:34   20         MS. PROCTOR:    Absolutely.

01:34   21         THE COURT:     And so it's taken that, and it's -- and by

01:34   22    doing that, it said it's additional revenue per unit -- that

01:35   23    math equals $5.50.

01:35   24         MS. PROCTOR:    Exactly.

01:35   25         THE COURT:     And then with respect to the Freescale


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01:35    1    contribution, is that number in his report as well?

01:35    2         MS. PROCTOR:    Yes.    That exact calculation with that

01:35    3    percentage just without the division by the number of units

01:35    4    that you just described.

01:35    5         THE COURT:     Mr. Lee, anything else?

01:35    6         MR. LEE:     Your Honor, everything captured in Ms. Proctor's

01:35    7    statement is they just go on in the next step, and there are

01:35    8    two separate issues without a doubt.

01:35    9         We understand that if Your Honor's ruling, that the total

01:35   10    revenues can come in, then that set of slides is his analysis.

01:35   11    That's in his report.     And subject to what we've said about

01:35   12    Uniloc, that should come in because that's in his report.

01:35   13         A -- doing the next step and restating the damages number

01:35   14    as a per-unit royalty is a different damages analysis.            We

01:35   15    would have responded to it differently.        We would have had a

01:36   16    royalty stacking argument at a minimum.        Our experts would have

01:36   17    computed reasonable royalties per unit on comparable licenses.

01:36   18    It would have been a different defense.

01:36   19         So you are right.      It's -- we're not -- I don't think

01:36   20    we're trying to have it both ways.       We understand that if Your

01:36   21    Honor rules total revenues are on the slide because that's what

01:36   22    he's done, that's where we are and we'll deal with it.

01:36   23         This is a different damages presentation, and I think the

01:36   24    one thing we both agree upon is this 4.19 per unit for the '373

01:36   25    patent is nowhere in his report.


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01:36    1           THE COURT:     You faded out.   I just couldn't hear you.

01:36    2           MR. LEE:     I'm sorry.   The $4.19 per unit is nowhere in his

01:36    3    report.

01:36    4           THE COURT:     So as I understand it -- and jump in here if I

01:36    5    don't, I'm doing my best -- the additional revenues per unit

01:36    6    number of $5.50 comes from his methodology, breaking it down by

01:37    7    the number of units that are accused in this case, correct?

01:37    8           MS. PROCTOR:    Yes.

01:37    9           MR. LEE:     That's what we understand.    This is, as I said,

01:37   10    new.   So we had to confirm it.

01:37   11           THE COURT:     The $5.50 is new?

01:37   12           MR. LEE:     The math to get there, but I don't have any

01:37   13    reason to believe that that's not an accurate -- it's not an

01:37   14    accurate mathematical calculation.

01:37   15           THE COURT:     It's not an inaccurate?

01:37   16           MR. LEE:     Yeah.   I have no reason to believe it's

01:37   17    inaccurate.

01:37   18           THE COURT:     And so I must be having a hard day of hearing

01:37   19    you.   I'm sorry.

01:37   20           And -- but the number of units is in his report or a

01:37   21    number that maybe it had gotten -- made more current, but what

01:37   22    he did in his report was said, there's a number of units, and

01:37   23    in his report there is the whole number that, if divided by the

01:37   24    number of units, would have $5.50, correct?          That is in his

01:38   25    report.


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01:38    1            MR. LEE:     Yes.

01:38    2            THE COURT:     Okay.   And then the Freescale -- the concept

01:38    3    of a Freescale contribution of 76.2 percent is in his report,

01:38    4    correct?

01:38    5            MR. LEE:     Yes.

01:38    6            THE COURT:     Okay.   So as odd as this may seem, I

01:38    7    understand Intel's concern with saying what a reasonable

01:38    8    royalty is per unit, and I'm not going to allow VLSI to do that

01:38    9    math.    But I am okay with the slide other than the equals part.

01:38   10            In other words, if Dr. Sullivan wants to say the total

01:38   11    number and explain that math, that is a way.           There's an

01:38   12    additional revenue per unit times Freescale contribution winds

01:38   13    up for the total number of units with the total number, I would

01:39   14    be okay with that.

01:39   15            MR. LEE:     Your Honor, one other thing for Dr. Sullivan.

01:39   16    Could I have the slide --

01:39   17            MS. PROCTOR:    So before we move on.

01:39   18            MR. LEE:     Oh, go ahead.   I'm sorry.   I apologize.

01:39   19            MS. PROCTOR:    So, Your Honor, I think the concern you may

01:39   20    have is what Mr. Lee voiced at the very end there about calling

01:39   21    this is a "royalty per unit."

01:39   22            THE COURT:     Correct.

01:39   23            MS. PROCTOR:    What if we just call it "effective rate per

01:39   24    unit" or something else because the math is very clear.             The

01:39   25    jury can do this.       If that's the concern, we can reframe it


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01:39    1    slightly so that we're not saying it's a per-unit royalty.

01:39    2    We're just saying, here's the math, here's the calculation at a

01:39    3    per-unit level.

01:39    4         THE COURT:     Mr. Lee?

01:39    5         MR. LEE:     We would object.    There's -- there's a reason

01:39    6    that the damages claim was not stated on a royalty per-unit

01:39    7    basis.   We responded to the damages claim knowing that it

01:39    8    wasn't offered on that basis.      And halfway through the trial,

01:40    9    it would be very prejudicial to have the playing field shift.

01:40   10         I think he should give the opinion -- the number

01:40   11    ultimately.    The large number isn't the same, but how he gets

01:40   12    there is important.     And I think trying to backdoor in an

01:40   13    effective royalty rate/effective unit rate is -- we would have

01:40   14    responded differently, Your Honor.

01:40   15         MS. PROCTOR:     Your Honor, they have very --

01:40   16         THE COURT:     Well, Mr. Lee, didn't he get to his whole

01:40   17    number by doing the reverse math, which is whatever his number

01:40   18    is was gotten to by the revenue per unit times the number of

01:40   19    units, so the big number he's going to start from in terms of

01:40   20    the additional revenue that he's going to argue was generated

01:40   21    is in his report, right?

01:40   22         MR. LEE:     Your Honor, without a doubt there is -- the

01:40   23    numbers that he's using to make these computations were in his

01:41   24    report in some form.

01:41   25         My concern -- setting aside the first concern, which I


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01:41    1    understand Your Honor has ruled on and we'll address in

01:41    2    cross -- we don't want a per-unit royalty, which is a different

01:41    3    analysis that he undertook, to come in the back door.

01:41    4            And I think he can present what he's going to present in

01:41    5    exactly the way he presented in his report.           But there

01:41    6    shouldn't be even an effective royalty rate or an effective

01:41    7    rate.    That's just another way to get the different -- it's --

01:41    8    it gets to the same ultimate number, as Your Honor has

01:41    9    suggested, but it is analytically different and would have had

01:41   10    a different response from us.

01:41   11            THE COURT:     Counsel, anything else?

01:41   12            MS. PROCTOR:    So I just don't agree that it's analytically

01:41   13    different.    These are the numbers.       These are the calculations

01:41   14    we did.    We're just dividing by the number of units.              Like I

01:41   15    said, I think a very slight tweak to the wording here would

01:42   16    address Mr. Lee's concern.

01:42   17            Also Your Honor suggested that perhaps after he does the

01:42   18    calculation, he could go back and we could just say, now, if

01:42   19    you divide by the number of units, what would you get as just

01:42   20    on a per-unit basis?       And so we've added a slide showing

01:42   21    that -- if we can advance one, let's try one forward.               One

01:42   22    more.    One more.     There we go.

01:42   23            Sorry, this is the new slide.

01:42   24            But where we just show, here's the royalty he calculated,

01:42   25    divide by the number of units.        These are both very clearly


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01:42    1    numbers in his report, and we could call it an "effective rate

01:42    2    per unit" or something like that.

01:42    3         There's really no dispute that this is his methodology.

01:42    4    These are the numbers he used.      He described it as a running

01:42    5    royalty tied to the extent of use in his report.          This is --

01:42    6         THE COURT:     I guess, here's the question:      Is -- in his

01:42    7    report anywhere, did he suggest that the way he got to the

01:42    8    reasonable royalty of 1,611,000,000 -- actually, yes,

01:43    9    1,611,609,964, is there anywhere in his report that indicates

01:43   10    that that was gotten to by the use of multiplying the number of

01:43   11    units times some other number?

01:43   12         MS. PROCTOR:    So the way he did it in his report was by

01:43   13    looking at the overall effect across the units.          So calculating

01:43   14    it at the level of total revenues, total additional revenues.

01:43   15    So he did not do the per-unit calculation in his report, but I

01:43   16    think it is important.     This is just a presentation issue, and

01:43   17    it is important for us to be able to present our case to the

01:43   18    jury in a way they can understand.

01:43   19         THE COURT:     Well, no.   I mean, I think if he did not

01:43   20    involve the infringing units to get to the reasonable

01:43   21    royalties, that's my concern.

01:43   22         MS. PROCTOR:    Yeah.    So let me clarify.     He absolutely

01:43   23    did, and the calculations are absolutely tied to the number of

01:43   24    units in the sense that if you add one unit, the number would

01:44   25    go up, the total number.      If you take one away -- these are


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01:44    1    very clearly proportional.

01:44    2         And it goes back to what Your Honor was saying a moment

01:44    3    ago, this whole analysis is tied to the idea that in every

01:44    4    single infringing chip, it's getting that extra power savings

01:44    5    or that extra speed increase.      So it's a per-chip benefit.

01:44    6         THE COURT:     I just want to know if there's anything in his

01:44    7    report that gave Intel notice that they might be facing

01:44    8    testimony here today that the effective royalty rate is $4.19.

01:44    9         MS. PROCTOR:    Yeah.    So these numbers are there.         The

01:44   10    reasonable royalty's there, the infringing units are there.

01:44   11    The $4.19, we didn't calculate that exact number in the report,

01:44   12    but these inputs are there.      This is just the same as adding

01:44   13    two numbers together.     We're just showing it to the jury on a

01:44   14    per-unit basis.

01:44   15         And I think his running royalty section is quite clear.

01:44   16    He says over and over again, "This royalty has to be tied to

01:44   17    number of units Intel is selling.       It has to be tied to the

01:44   18    extent of use.    It has to be directly linked to the actual

01:45   19    sales Intel is making, both on a revenue basis and on a

01:45   20    per-unit basis."

01:45   21         So if you're asking what --

01:45   22         (Conference between the Court and law clerk.)

01:46   23         THE COURT:     Anything else you'd like to add?

01:46   24         MS. PROCTOR:    Your Honor, were you looking at the royalty

01:46   25    structure section of the report?       Or would you like to?        That's


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01:46    1    the part I was referring to.      It's Section 9.1.

01:46    2         MR. CHU:     If I may, Your Honor.

01:46    3         THE COURT:     I don't know that I have Section -- I don't

01:46    4    know if I do or don't have it.      I've got Pages 123 and 124 of

01:46    5    his report.

01:46    6         MS. PROCTOR:    So, okay.    So can we pull up Page 52 of

01:46    7    Dr. Sullivan's report in this case?

01:47    8         MR. CHU:     While we're doing that, Your Honor, the word

01:47    9    "math" has been used.     It's not that fancy.      This is

01:47   10    arithmetic.

01:47   11         Mr. Lee argues, oh, they're terribly surprised.              They

01:47   12    would have prepared their case differently.         They would have

01:47   13    done arithmetic for the lump sum royalties that they want to

01:47   14    rely upon.

01:47   15         So let's say there's an agreement that's 2 million,

01:47   16    3 million, 4 million.     They take the same number of units, do

01:47   17    the calculation -- or we could do the calculation and say it's

01:47   18    $0.02 per unit.    It makes it understandable for a jury.

01:47   19         THE COURT:     Well, I have --

01:47   20         MR. CHU:     It's just arithmetic.

01:47   21         THE COURT:     I have to tell you I could see an argument

01:47   22    from Intel where they would come in and say, ladies and

01:47   23    gentlemen, this number that Sullivan is giving you is

01:47   24    ridiculous.    That works out to be -- if you do the math, works

01:47   25    out to be X, you know, number of dollars per unit by just doing


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01:48    1    the math, so I understand your point.

01:48    2            MR. CHU:     Right.    But if we had just done it on a per-unit

01:48    3    and didn't have the total, they would have done the

01:48    4    multiplication.       This is just doing the division.       Everyone

01:48    5    here passed arithmetic.

01:48    6            MS. PROCTOR:    So there's just one point I want to -- one

01:48    7    little part I want to point to in here.

01:48    8            THE COURT:     Okay.

01:48    9            MS. PROCTOR:    All right.    Can I just read you one

01:48   10    sentence, Your Honor?

01:48   11            THE COURT:     Yes, ma'am.

01:48   12            MS. PROCTOR:    Probably easiest at this point.

01:48   13            "The benefits, i.e., revenues and profits that Intel

01:48   14    receives from using the technology increase as sales of the

01:48   15    accused products increase.         Thus a royalty" -- two sentences --

01:49   16    "Thus a royalty that is directly related to sales measures the

01:49   17    actual value gained by Intel through its use of the

01:49   18    technology."

01:49   19            This is not a new theory.      Our theory was very clear.       Our

01:49   20    royalty is tied to Intel's actual sales in terms of revenue and

01:49   21    units.    And this simple calculation, simple arithmetic is just

01:49   22    a presentation issue to help the jury understand our damages

01:49   23    case.

01:49   24            THE COURT:     Mr. Lee?

01:49   25            MR. LEE:     Two things, Your Honor.    One is that number,


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01:49    1    that reasonable royalty number is not in the reports anywhere.

01:49    2    I think we both agree upon that now.

01:49    3          The second is, it's not simple arithmetic, at least not to

01:49    4    me.   In order to respond, as Mr. Chu said, we would have to

01:49    5    take these comparable licenses that we have identified, both

01:49    6    for these patents and other patents.

01:50    7          We would then have had to identify the number of units

01:50    8    that were covered by those licenses.       And it's going to vary

01:50    9    and different, something that we didn't do, and then we'd have

01:50   10    to compute this effective reasonable royalty rate which we

01:50   11    haven't done.

01:50   12          There are purchases of these patents.        There are licenses

01:50   13    between Intel and Freescale.      There are other Intel licenses.

01:50   14    And some of them cover the same universe of products; some of

01:50   15    them don't.     And so the idea that you can just do math to

01:50   16    figure out the effective royalty rate of these license

01:50   17    agreements is simply not true.

01:50   18          And the best indication, Your Honor, that we didn't think

01:50   19    this was coming is what Mr. Chu suggested that we do, we

01:50   20    haven't done.    And I'm not sure for some of the agreements that

01:50   21    we have enough information to do it.

01:50   22          MR. CHU:     They use lump sums either --

01:51   23          THE COURT:    If you'll take your mask off, I can hear you

01:51   24    better.   Thank you.

01:51   25          MR. CHU:     Oh.   Thank you, Your Honor.


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01:51    1         They use lump sums, either a purchase price or lump sum

01:51    2    licenses.    They don't want to do a per-unit royalty because it

01:51    3    will seem infinitesimally small.         And, therefore, they make it

01:51    4    extremely difficult.

01:51    5         They knew by having two numbers which were always in

01:51    6    Dr. Sullivan's report, the total number of units and the total

01:51    7    amount of damages.      That was very clear.      They always had those

01:51    8    numbers.

01:51    9         The fact that Dr. Sullivan didn't expressly say, I take

01:51   10    one number, I divide by the number of units, here's what it is

01:51   11    per unit.

01:51   12         What they're trying to do is not only dictate what

01:51   13    Dr. Sullivan says, they're trying to dictate what I can say in

01:52   14    closing argument.

01:52   15         How could it be that I couldn't get up and say:                Here's

01:52   16    the total amount of damages.        Here's what it ends up being on a

01:52   17    per-unit basis?     I can't imagine that that would be supported

01:52   18    in law, that one would be barred from doing that simple

01:52   19    arithmetic.

01:52   20         They make arguments with respect to their license

01:52   21    agreements that have to do with, well, there were more patents

01:52   22    that were licensed or more patents that were sold and things

01:52   23    like that.    That's fair game.      They're entitled to put forward

01:52   24    their case on damages.       I think we are as well.

01:52   25         They had notice of the basic numbers and the basic


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01:52    1    theories, as well as the way in which there were allocations

01:52    2    down, the percentages and the like.

01:52    3            But the final number that they're complaining about is

01:52    4    just the total which was there, the total number of units which

01:52    5    was there which came from them, and that's it.           And it's a

01:53    6    much -- there's obviously much more detailed analysis in

01:53    7    Dr. Sullivan's report.       And they can cross-examine him about

01:53    8    it.

01:53    9            THE COURT:    Mr. Lee, anything else?

01:53   10            MR. LEE:     Your Honor, the comparable license agreement

01:53   11    offer involved different patents, different number of patents,

01:53   12    different products, different periods of time.           If we had been

01:53   13    asked to respond to a reasonable royalty rate on a per-unit

01:53   14    basis, there would have been a different analysis.            We can't do

01:53   15    that now.

01:53   16            What they're asking you to do in the guise of a tweak is

01:53   17    to allow them to present an additional theory that we won't

01:53   18    have a chance to respond to.        We couldn't even respond to it by

01:53   19    the time our damages person testifies, because I couldn't

01:53   20    generate the information.       This is not just two plus two equals

01:53   21    four.    It's a much more complicated analysis.

01:54   22            We don't disagree for a second, given Your Honor's ruling

01:54   23    on the total revenues of the accused products.           He should be

01:54   24    able to present what's in his 123-page report, and we'll

01:54   25    cross-examine on it.


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01:54    1         But numbers that are not in the report, it should not be

01:54    2    presented.    And particularly if those numbers embody a new

01:54    3    theory, and a per-unit royalty is a new theory.

01:54    4         THE COURT:       Well, here's where I see it headed.

01:54    5         Mr. Lee, your concern is -- in part, your concern is that

01:54    6    Dr. Sullivan indicates that he came up with a per-unit royalty,

01:54    7    which I think we've established he did not.

01:54    8         I mean, that wasn't his methodology.        He didn't come up

01:54    9    and say, I'm going to have a per-unit royalty.         It's X number

01:54   10    of dollars -- X number of units were sold so the total is X

01:54   11    times Y equals Z.      It's Z.

01:55   12         What I'm having a much harder time preventing Dr. Sullivan

01:55   13    from doing is, if he were to be asked, you've given the jury

01:55   14    the number of 1 point whatever.       And the number of units that

01:55   15    were sold, as it turns out, was this.

01:55   16         What does that wind up being per unit?         To me, that is

01:55   17    just math.    That is not -- he didn't use it as a methodology.

01:55   18    It just -- it is doing the math for the jury so they

01:55   19    understand.

01:55   20         And I don't -- and part of me says if I were Intel, I

01:55   21    might want them to hear that and say that's too much per unit.

01:55   22         MR. LEE:     Your Honor, I'm not sure I have anything to add

01:55   23    that I haven't said before, and I don't want to be redundant.

01:55   24    I guess if that's Your Honor's ruling, you'll preserve our

01:55   25    objection.    If --


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01:56    1            THE COURT:    Well, I'm just saying that I get that -- and I

01:56    2    would not permit Dr. Sullivan to say, I used a methodology of a

01:56    3    per-unit royalty to get to a total amount.           He didn't do that.

01:56    4            But I don't understand -- I'm just -- I can't get my arms

01:56    5    around how he can't just perform the role of a human calculator

01:56    6    to say:    I've given you the total number.        I've given you what

01:56    7    I think the total -- I came up with a total number.            And here's

01:56    8    how I did it.      And that's within the boundaries of his report.

01:56    9            MR. LEE:     Right.

01:56   10            THE COURT:    And it turns out Intel sold X number of units.

01:56   11    And so that winds up being, if you divide those two things, Z.

01:56   12    That is just what is.         I mean, any juror could do that.

01:57   13            MR. LEE:     I don't disagree.   The slide I'm objecting to is

01:57   14    the one where he characterized it as a reasonable royalty per

01:57   15    unit.

01:57   16            THE COURT:    No, they're not going to use that.       And I

01:57   17    think I've made clear -- and again, will say it for the

01:57   18    seventieth time, you're preserving your error, that you don't

01:57   19    think I'm doing the right thing to begin with, so --

01:57   20            MR. LEE:     No, no, no.   There are many right things, I just

01:57   21    disagree with a few.

01:57   22            THE COURT:    That's fine.    But so I'm not tampering with

01:57   23    that.

01:57   24            MR. LEE:     Sure.

01:57   25            THE COURT:    But what I will allow the plaintiff to do is


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01:57    1    to be what I would call a human calculator.

01:57    2            MR. LEE:     Fine.

01:57    3            THE COURT:    If he does his entire methodology and has a

01:57    4    number, and he has -- and it gets into evidence, which it will,

01:57    5    whatever the most accurate -- whatever number -- I know there

01:57    6    may be some slippage between numbers of sales, you know,

01:57    7    between report and whatever the trial is.          But whatever you all

01:57    8    have agreed is the number of units that's involved, if he says

01:58    9    that.    And if the plaintiff wants to turn him into a human

01:58   10    calculator to say, that winds up being whatever the number is

01:58   11    per -- you know, per unit, that's okay.

01:58   12            MR. LEE:     All right.

01:58   13            THE COURT:    He cannot intimate that he used a per-unit

01:58   14    royalty as a coefficient to get the correct number.

01:58   15            MR. LEE:     Fair enough.   Could I -- I know the jury's

01:58   16    waiting.    Could I raise one more point --

01:58   17            THE COURT:    Of course.

01:58   18            MR. LEE:     -- where I may have misspoke this morning?     I

01:58   19    said that I didn't think the Fortress issue would come up until

01:58   20    Mr. Stolarski's designations.        I didn't realize that there was

01:58   21    a Slide 7.71 in Dr. Sullivan's direct.

01:58   22            If I could just bring that up for you really quick, Your

01:58   23    Honor.

01:58   24            THE COURT:    Sure.   Yes, sir.

01:59   25            MR. LEE:     This is just one slide, but it says,


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01:59    1    "NXP's interest actual value includes significant share of

01:59    2    royalties."     That would be from us.

01:59    3         It would be almost impossible to cross-examine without

01:59    4    going into Fortress, which holds a carried interest --

01:59    5         THE COURT:     Help me out here.      Is this Intel's slide?

01:59    6         MR. LEE:     That's their slide.      It would require me to go

01:59    7    into Fortress.

01:59    8         THE COURT:     Well, let me just say were I VLSI, I would be

01:59    9    cautious about using that slide while the Fortress issue is

01:59   10    still before me.

01:59   11         MR. CHU:     Understood, Your Honor.

01:59   12         Did you hear me?

01:59   13         THE COURT:     Yes, sir.     I did, and Kristie did too.

01:59   14         Anything else?

01:59   15         MR. LEE:     Nothing, Your Honor.

01:59   16         THE COURT:     And thank you for bringing -- Mr. Lee, thank

01:59   17    you for bringing that to our attention before the jury got in.

01:59   18    That's --

01:59   19         MR. LEE:     No.     I didn't know when I was supposed to.     I'm

02:00   20    sorry.

02:00   21         THE COURT:     No.    No.   Anything else?

02:00   22         MS. PROCTOR:       Yes, Your Honor.

02:00   23         THE COURT:     Yes, ma'am.     Yes, there is?

02:00   24         MS. PROCTOR:       Really quickly.    There are a couple of

02:00   25    summaries of voluminous evidence that show the accused revenues


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02:00    1    per -- sorry, that show the accused revenues, the total accused

02:00    2    revenues and the total number of units.

02:00    3         And those are things that they've objected to, but they've

02:00    4    also objected to our bringing in all the supporting financial

02:00    5    documents that they produced because they say those include

02:00    6    additional company-wide revenues that are not accused --

02:00    7         THE COURT:     I'm going to allow in summaries.

02:00    8         MS. PROCTOR:    Thank you, Your Honor.

02:00    9         THE COURT:     Anything else?

02:00   10         MS. PROCTOR:    That's it for me for now.

02:00   11         THE COURT:     Okay.

02:00   12         THE BAILIFF:    All rise.

02:00   13         (Recess taken from 2:00 to 2:03.)

02:04   14         THE BAILIFF:    All rise.

02:04   15         THE COURT:     Please remain standing for the jury.

02:04   16         (The jury entered the courtroom at 2:04.)

02:04   17         THE COURT:     You may be seated.

02:04   18         You may begin your -- you may resume your direct.

02:04   19         MS. PROCTOR:    Thank you, Your Honor.

02:04   20    BY MS. PROCTOR:

02:04   21         Q.    So welcome back, Dr. Sullivan.

02:04   22         A.    Thank you.

02:04   23         Q.    Before we jump into your slides and the calculation,

02:04   24    did you prepare some attachments that show the accused revenues

02:04   25    and the accused number of units in this case?


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02:04    1         A.      Yes.   So those are part of the 1200 pages I referred

02:04    2    to earlier, the tables and charts and data.

02:04    3         THE COURT:     I apologize.    Where are we at in terms of who

02:04    4    can see what that he's discussing?        Is -- should this be only

02:04    5    on monitors that the jury can see?

02:05    6         MS. PROCTOR:     Let's keep everything on private monitors

02:05    7    for now so that it's confidential.

02:05    8    BY MS. PROCTOR:

02:05    9         Q.      So can we turn to Plaintiff's Exhibit 3903?           It

02:05   10    should be in the big binder you have there.

02:05   11         What -- it's also on the screen if that's easier,

02:05   12    Dr. Sullivan.

02:05   13         A.      I see it on both places.     This is a summary of United

02:05   14    States revenue for the products that are specifically accused

02:05   15    of infringing upon each of the patents.

02:06   16         So over here at the far right, you'll see the total

02:06   17    revenue associated with the '373 patent.         And over here also

02:06   18    right below that is a number, which is the total U.S. revenue

02:06   19    associated with the products infringing under the '759 patent.

02:06   20         I'm not allowed to say those here in open court.              Clearly

02:06   21    those are numbers that feed into the calculations.

02:06   22         MS. PROCTOR:     And so I'm not sure the jury is seeing

02:06   23    those.    Can we make sure that it's being published to the jury?

02:06   24         Okay.    Well, we can come back to this.        Although, I guess

02:07   25    they won't be able to see your slides either.


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02:07    1         All right.       We're back in business.

02:07    2    BY MS. PROCTOR:

02:07    3         Q.      So, Dr. Sullivan, thank you for describing this

02:07    4    Exhibit 3903.       Can -- and do you want to just -- now that the

02:07    5    jury can see it, just give another quick description for us?

02:07    6         A.      Yes.    So this is a recap.    So these are the United

02:07    7    States revenues for the products that are accused of infringing

02:07    8    each of the two patents at issue here.

02:07    9         So the top line has the revenue for the products accused

02:07   10    of infringing the '373 patent listed out on an annual basis for

02:08   11    each year, and then the total is highlighted in yellow over to

02:08   12    the right in U.S. dollars.

02:08   13         And then the second row is revenue for products that are

02:08   14    infringing upon the '759 patent and -- again on an annual

02:08   15    basis.     And the number at the very far right in yellow is the

02:08   16    total revenue for this time period.

02:08   17         And these are the revenues that are specific to these

02:08   18    products, and it's after what are considered discounts and

02:08   19    rebates.    So it's kind of that -- think of that as that net

02:08   20    final amount of revenue that Intel receives.

02:08   21         Q.      Thank you so much, Dr. Sullivan.

02:08   22         MS. PROCTOR:       And, Mr. Simmons, can we pull up Plaintiff's

02:08   23    Exhibit 3904?

02:08   24    BY MS. PROCTOR:

02:08   25         Q.      And, Dr. Sullivan, what is this exhibit?


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02:08    1         A.    This is a parallel set of data.        But rather than

02:09    2    revenue, these are the unit sales.       And so here, for the '373

02:09    3    patent, that's the data that are in the top row, again these

02:09    4    are unit sales by year.

02:09    5         And in the far right you can see in the total column,

02:09    6    those are the total number of unit sales across this time

02:09    7    period for the products accused of infringing the '373.

02:09    8         And then in the second row are the unit sales in the

02:09    9    United States.    All of this here is for United States sales.

02:09   10    And the second row is for the products accused of infringing

02:09   11    the '759 patent, so these are the Lake family of products.                And

02:09   12    the total number of unit sales is in the far right column

02:09   13    across those years.

02:09   14         Q.    And if you add those two numbers up, that's how you

02:09   15    got your 987 million units; is that right?

02:09   16         A.    That's exactly right.

02:09   17         Q.    Great.   Thank you.

02:09   18         So if we can go back to the slides, we can show the jury

02:09   19    how you use those numbers.

02:10   20         So we talked a lot about your regression model.              What do

02:10   21    you do with the results of your regression model, Dr. Sullivan?

02:10   22         A.    The regression model, as you recall, provides an

02:10   23    estimate, the relationship between clock speed and price.             I

02:10   24    combine that with the testing information that was provided by

02:10   25    Dr. Conte and Dr. Annavaram regarding the benefits of the


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02:10    1    patented technology.     So in effect I combined those.           It's --

02:10    2    mathematically, it's a multiplication, as I'll show you.             And

02:10    3    what that does is it then provides the price benefit specific

02:10    4    to the patented technology.

02:10    5         Q.    So can you show us the calculation you did for the

02:10    6    '373 patent?

02:10    7         A.    Yes.    So on the next slide here, I have this -- it's

02:10    8    intended to look like a chalkboard.       Maybe this takes me back

02:11    9    to my teaching days.

02:11   10         Do we want --

02:11   11         Q.    Want the total -- sorry.       One second.    Make sure we

02:11   12    get the right slide for you guys.

02:11   13         MS. PROCTOR:    We want to see those accused revenues

02:11   14    multiplied by the rates Dr. Sullivan just talked about.

02:11   15         (Off-the-record discussion.)

02:11   16         THE WITNESS:    Yep.   Here we go.

02:11   17    BY MS. PROCTOR:

02:11   18         Q.    Yeah.    I'm sorry.   Can you explain your calculation

02:11   19    on Slide 49, please?

02:11   20         A.    Sure.    So this is for the '373 patent.       And as you'll

02:11   21    recall, based upon the work of Professor Conte, Professor

02:12   22    Annavaram, the power savings associated with the '373 patent is

02:12   23    5.45 percent.

02:12   24         You'll also recall from the regression that the price

02:12   25    benefit associated with this improvement is 0.64, and as we


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02:12    1    just described on one of the attachments that I was showing,

02:12    2    that the total infringing revenues is this number here.              And

02:12    3    this is -- we're -- right now we're looking at Slide 7.49.

02:12    4         And so just performing this multiplication provides

02:12    5    additional revenues.      That is this number here.        And these are

02:13    6    the additional revenues that were received by Intel as a result

02:13    7    of using the technology from the '373 patent.           Thus it is a

02:13    8    fraction -- think of it in a small piece, a sliver, if you

02:13    9    will, of the overall revenues.        It's just the piece that is

02:13   10    attributable to the patented technology separate and apart from

02:13   11    the other factors and features and functionalities of the

02:13   12    products.

02:13   13         Q.     And just to clarify for the record, it's the

02:13   14    5.45 percent times .764, right?

02:13   15         A.     Correct.

02:13   16         Q.     Now, if you look at those additional revenues across

02:13   17    the number of units, what is the additional revenue on a

02:13   18    per-unit basis?

02:13   19         A.     Do we have a slide on this or -- okay.          We do.    All

02:13   20    right.

02:14   21         So taking that additional revenue from the prior slide and

02:14   22    dividing that by the number of units, which I was showing you

02:14   23    earlier, that comes straight from Intel's financial data, that

02:14   24    results in additional revenues per unit of this amount here

02:14   25    that is listed on the bottom right of Slide 7.50.


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02:14    1         Q.      Thank you.

02:14    2         Now, did you perform a similar calculation for the '759

02:14    3    patent?

02:14    4         A.      Yes.   The calculations are parallel.

02:14    5         Q.      Can you show us that calculation?

02:14    6         A.      So here on Slide 7.53, you'll recall that the

02:14    7    performance improvement provided by the technology in the '759

02:14    8    patent, that was provided by the work of Professor Conte and

02:15    9    Professor Annavaram, is this amount here.

02:15   10         I multiply that by the price benefit of this number here,

02:15   11    the 0.764 that comes from the regression analysis that I

02:15   12    performed.    And the revenue associated with the infringing

02:15   13    products I showed you just a couple of minutes ago, based upon

02:15   14    Intel's financial data, is this third number on the slide.

02:15   15         When I perform that multiplication, that results in

02:15   16    additional revenues that are resulting from the use of the

02:15   17    technology in the '759 patent.      That is at the bottom right of

02:15   18    this slide.

02:15   19         Q.      Now, what is that in terms of the number of units

02:15   20    that you also showed us for the '759 patent?

02:16   21         A.      So expressing this just in terms of number of units,

02:16   22    here on Slide 7.54, here are those very same additional

02:16   23    revenues that I just calculated.       And just dividing that by the

02:16   24    number of units sold that are allegedly infringing the '759

02:16   25    patent, which I showed you a few minutes ago, that results in


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02:16    1    additional revenues on a per-unit basis of this amount here

02:16    2    that is listed at the bottom right of this slide.

02:16    3         Q.     Thank you.

02:16    4         So does Intel dispute any of your math or any of these

02:16    5    calculations?

02:16    6         A.     No.   You know, there's no dispute over whether the

02:16    7    arithmetic or the calculations are performed correctly.             No

02:16    8    dispute over whether the regression calculations have been

02:16    9    performed correctly.     They have disputes over the regression

02:16   10    overall, but not, you know, just in terms of how the

02:17   11    calculations are performed.

02:17   12         Q.     And now that you've calculated these additional

02:17   13    revenues, what's the next step in your analysis?

02:17   14         A.     What I just described for you are revenues, the

02:17   15    additional revenues from using the patented technology.             So the

02:17   16    next step is to look at what the costs are associated with

02:17   17    implementing the technology, and then subtracting off costs

02:17   18    would provide profit.

02:17   19         And I just want to highlight one thing here, which is the

02:17   20    word in the top row, across all of this, is "additional,"

02:17   21    right?    Because when we're looking at the revenues, we're

02:17   22    looking at just the additional revenues, not the whole revenues

02:17   23    for the product.     We're not looking at whole company revenue.

02:17   24    We're just looking at that increment of additional revenue.

02:17   25         That means when we're looking at the costs, we want to


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02:17    1    look at the costs associated with that increment so we can

02:18    2    think about the additional profitability associated with this

02:18    3    incremental revenue.

02:18    4         Q.     So what additional costs did Intel have as a result

02:18    5    of using the infringing technology?

02:18    6         A.     There's two categories of costs here that might be

02:18    7    relevant.

02:18    8         So the first is, this one here that I'm listing up here on

02:18    9    Slide 56 is manufacturing costs.         And the question is whether

02:18   10    implementing the technology caused Intel to incur additional

02:18   11    manufacturing costs.

02:18   12         And based upon the work of Professor Conte, the

02:18   13    determination is that there is not any additional or meaningful

02:18   14    manufacturing costs.      Even though the technologies have

02:18   15    significant customer benefits, they do not require additional

02:18   16    costs in order to implement them.

02:18   17         The second category of potential sales -- excuse me --

02:19   18    potential costs are sales and marketing costs.           So the idea

02:19   19    here is that as prices are higher as a result of using the

02:19   20    technology, that can cause some increase in selling costs or

02:19   21    marketing costs.

02:19   22         You know, there's some indication that for some sales that

02:19   23    Intel makes that they pay a commission to their sales personnel

02:19   24    associated with those sales.        And if the prices go up, then the

02:19   25    commissions on some of the sales would go up.           So I account for


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02:19    1    those additional costs.

02:19    2         Q.    So what is the overall relationship here between the

02:19    3    additional revenues you calculated and some additional profit?

02:19    4         A.    The additional sales costs that I just referred to

02:19    5    are quite small, and I'll describe it in more detail in just a

02:20    6    moment or two.    But because they are small, what this means is

02:20    7    that the additional revenue that we calculated earlier, that

02:20    8    most of it, not all of it, most of it would be considered

02:20    9    additional profit.

02:20   10         Q.    So let's turn now to the fourth key topic you

02:20   11    identified, which was the relative contributions of the

02:20   12    parties.

02:20   13         Do any of the Georgia-Pacific factors relate specifically

02:20   14    to those relative contributions?

02:20   15         A.    Yes.   So Georgia-Pacific Factor 13 states:             The

02:20   16    portion of the realizable profit that should be credited to the

02:20   17    invention as distinguished from non-patented elements.

02:20   18         And what this is recognizing is that when there are

02:20   19    additional revenues or additional profits that are generated by

02:20   20    using the patented technology, that it takes two to tango, so

02:21   21    to speak, to bring that realization, and thus we want to give

02:21   22    credit to both Freescale and Intel for their contributions.

02:21   23         Q.    So based on your analysis here, how did Intel and

02:21   24    Freescale each contribute to realizing these additional

02:21   25    profits?


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02:21    1         A.     Freescale as the patent holder is contributing its

02:21    2    patented inventions.     That's how it is contributing to the --

02:21    3    you know, to causing these additional revenues and profits to

02:21    4    occur.

02:21    5         On the other hand is Intel, and they are the ones that are

02:21    6    implementing this technology, and they have the additional

02:21    7    sales, potential sales commissions that, you know, their

02:21    8    contributions are being able to get these products to what is

02:21    9    called commercialized and in particular commercializing this

02:21   10    particular technology.

02:22   11         Q.     So how did you determine what share of the additional

02:22   12    profit goes specifically to Freescale?

02:22   13         A.     This is based directly upon the financial data of

02:22   14    Intel.    They have in their financial data for each of their

02:22   15    products -- so I do this specific to each of the accused

02:22   16    products -- what they call total spending, and this total

02:22   17    spending is comprised or consists of these three items that I

02:22   18    have listed here.     The sales and marketing, research and

02:22   19    development and general and administrative.

02:22   20         So you'll recall a moment ago we were just talking about

02:22   21    sales and marketing as potentially being an increased cost or

02:22   22    an additional cost.     So I account for that here.        However,

02:22   23    there are other activities that Intel undertakes to bring this

02:23   24    technology and the benefits of it into its products in the

02:23   25    marketplace.    This is reflected in its research and development


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02:23    1    in general and administrative expenditures, those activities.

02:23    2         And so I compare this total spending to the revenues

02:23    3    associated with these products, and it's the ratio, the

02:23    4    spending divided by the revenues, that provides a factor for

02:23    5    Intel's contributions here.

02:23    6         Now, to be clear, when Intel produced the data, they

02:23    7    provided all three of these items together.         And they did not

02:23    8    split them out.    So that means that the factor that I apply,

02:23    9    and you'll see this ratio factor in just a second on the next

02:23   10    slide, incorporates both the cost effects of sales and

02:23   11    marketing and separately the R&D and G&A contribution pieces.

02:24   12         So in other words, I'm doing two apportionments, one for

02:24   13    costs and one for Intel's contributions.        But I do it in one

02:24   14    mathematical calculation.      Well, it's just a multiplication.

02:24   15    It's just in one step that I do the actual calculation.

02:24   16         Q.    So what are the actual numbers that you use in that

02:24   17    calculation?

02:24   18         A.    So here they are on Slide 7.62.        And it's separate

02:24   19    for each patent because the data are different for each patent.

02:24   20    This says the cost data are specific to the products accused

02:24   21    under each patent, so for the '373 patent the contribution for

02:24   22    Intel is 23.8 percent and the contribution of Freescale is

02:24   23    76.2 percent.

02:25   24         For the '759 patent, the contribution of Intel is

02:25   25    20.7 percent and the contribution for Freescale is


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02:25    1    79.3 percent.     And, again, this reflects both those -- that

02:25    2    cost apportionment and the contribution apportionment in one

02:25    3    calculation.

02:25    4         Q.    So how do these relative contributions impact the

02:25    5    reasonable royalties you calculated?

02:25    6         A.    So I take the additional revenues that I calculated

02:25    7    earlier and I showed you earlier on similar chalkboard slide, I

02:25    8    multiply it by Freescale's contribution here that we just

02:25    9    looked at, and when I perform that multiplication, that

02:25   10    provides the apportionment that gives us a reasonable royalty.

02:25   11         Q.    And would you please show us your reasonable royalty

02:25   12    calculation for the '373 patent?

02:25   13         A.    Yes.    So for the '373 patent here on Slide 7.64, I

02:26   14    take the additional revenues that I showed you earlier.             I

02:26   15    multiply that by Freescale's contribution of 76.2 percent that

02:26   16    I just showed you, and when I perform that multiplication,

02:26   17    that's what provides the reasonable royalty that is here at the

02:26   18    bottom right of Slide 7.64.

02:26   19         Q.    And if we were to look at that royalty across the

02:26   20    number of units you showed us, what would that be?

02:26   21         MR. LEE:     I object to the form of the question as asking

02:26   22    for the royalty across the units.

02:26   23         THE COURT:     Mr. Lee, I still couldn't hear you again.

02:26   24         MR. LEE:     It was a form of the question, Your Honor.            It

02:26   25    was asking what the effective royalty rate was across units.


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02:26    1         THE COURT:     Would you restate the question?

02:26    2         MS. PROCTOR:     Sure.

02:26    3    BY MS. PROCTOR:

02:26    4         Q.    If we look at that amount you just calculated, how

02:27    5    does that relate to number of units?

02:27    6         A.    Here on Slide 7.65 I take that reasonable royalty

02:27    7    that I just calculated and showed you, and here is the number

02:27    8    of units that are accused of infringing the '373 patent, and

02:27    9    we've already seen that a couple of times now.

02:27   10         So just performing that math, this amount here at the

02:27   11    bottom right is the reasonable royalty expressed just relative

02:27   12    to the number of units.

02:27   13         Q.    And did you do any calculations for the '759 patent?

02:27   14         A.    I did.    And those calculations are in parallel.

02:27   15         Here on Slide 7.66, and this is for the '759 patent,

02:28   16    you'll see I have the additional revenues that I had described

02:28   17    to you earlier.     I multiply that by Freescale's contribution of

02:28   18    79.3 percent that is calculated from the financial data of

02:28   19    Intel, and that provides a reasonable royalty here at the

02:28   20    bottom right when I performed that multiplication.

02:28   21         Q.    And how does that relate to the number of units?

02:28   22         A.    Here, when I take that reasonable royalty from the

02:28   23    prior slide, I'm now on Slide 7.67, and if I divide it by the

02:28   24    number of units, sales of Intel's Lake products that are

02:28   25    accused of infringing the '759 patent, which we have talked


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02:28    1    about before, which is roughly 603 million units, that means

02:28    2    that the royalty on a per-unit basis is this amount here at the

02:29    3    bottom right of this slide.

02:29    4            Q.   So I'll definitely give you a chance to summarize the

02:29    5    numbers you've calculated for us, but before we do that, I want

02:29    6    to talk a little bit about Intel's damages approach.                 At a high

02:29    7    level how did Intel's experts calculate damages in this case?

02:29    8            A.   At a very high level, they use certain data points.

02:29    9    They look at certain prior transactions.           They selected some

02:29   10    agreements that Intel has entered into and some other

02:29   11    agreements.      And they looked at some items that they believe

02:29   12    are offers.

02:29   13            They consolidate these down into both a range of royalties

02:29   14    and focus on what they have referred to as a simple average of

02:30   15    those data points.

02:30   16            Q.   And are any of the -- are any of those data points

02:30   17    considered by Intel's experts useful in determining a

02:30   18    reasonable royalty for Intel's use of the invention?

02:30   19            A.   In my view, they are not.       These are all historical

02:30   20    types of agreements or transactions that do not reflect Intel's

02:30   21    use of the patented technologies or the benefits that Intel

02:30   22    actually received from the use of the technologies.

02:30   23            There's a -- I think it's a fun example to help illustrate

02:30   24    this.    So recently in the Super Bowl, we had Tom Brady and

02:30   25    Patrick Mahomes.       Tom Brady, when he was a rookie, was drafted


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02:30    1    as the 199th pick as a rookie, and then, of course, he goes on

02:30    2    over time and becomes one of the most storied quarterbacks of

02:31    3    all time, going to ten Super Bowls and winning seven of them.

02:31    4         Somewhat similarly for Patrick Mahomes, when he was a

02:31    5    rookie, he got a very healthy package of $10 million, give or

02:31    6    take, but over time as his true value became realized, his

02:31    7    performance became known, he then received an enormous

02:31    8    compensation package of roughly $500 million.

02:31    9         The point is that as information becomes known and the

02:31   10    uncertainties become resolved, then the numbers can change,

02:31   11    just like we wouldn't think that Tom Brady as the 199th pick is

02:31   12    the answer to his current contributions to the Buccaneers.

02:31   13         Q.    So I want to take one more little detour relating to

02:31   14    this slide while we're on this example.        Do the rates people

02:31   15    charge in your industry vary significantly, like what you just

02:32   16    talked about?

02:32   17         A.    They do.    Now, they range anywhere from around 300 to

02:32   18    $500 to more than $2,000 per hour.

02:32   19         Q.    And you mentioned that only around 50 percent of your

02:32   20    work is for litigation; is that right?

02:32   21         A.    Roughly speaking.

02:32   22         Q.    Do you charge different rates for the 50 percent of

02:32   23    work you do on other matters, other -- for the companies?

02:32   24         A.    My firm receives the same rates regardless of whether

02:32   25    it's litigation-related work or non-litigation.


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02:32    1         Q.    So are there -- what other projects have you worked

02:32    2    on outside of litigation?

02:32    3         A.    Well, I've brought up this example with the NFL.

02:32    4    There's a few others that I've worked on that I find to be

02:32    5    really fun ones.

02:32    6         One was working with the Players Association for the NBA.

02:32    7    They went through a negotiation in 2016 over the collective

02:33    8    bargaining agreement, and I worked performing economic analysis

02:33    9    on behalf of the Players Association for the NBA so that they

02:33   10    could come to an agreement with the League.         And that was one

02:33   11    of the more enjoyable projects I've done.

02:33   12         Also in sports, you know, I did work for the Boston Red

02:33   13    Sox to help them develop algorithms for pricing of tickets.

02:33   14    Now, granted this was preCOVID, but the idea was that we could

02:33   15    better have prices in different parts of the stadium at

02:33   16    different times to be able to get more people to the games, and

02:33   17    so we helped set up what those algorithms are.

02:33   18         A couple of other examples, I worked with an online

02:33   19    retailer known as wine.com.      And they provide and sell many

02:33   20    bottles and different types of wine throughout the United

02:34   21    States.

02:34   22         So we developed pricing algorithms based upon each of

02:34   23    their bottles relative to other online retailers as well as

02:34   24    brick and mortar, and so we would do this on a -- what's called

02:34   25    a SKU basis, each and every bottle.


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02:34    1         We set up statistical algorithms that would see, okay,

02:34    2    what's really the right price for that day for that bottle?

02:34    3    And some prices would change, and some would stay the same.

02:34    4         The last one I'll share with you is one I also really

02:34    5    enjoyed.   So you may recall there was a movie about five or six

02:34    6    years ago called Joy.      And it was about Joy Mangano, who had

02:34    7    been on Home Shopping Network selling the Miracle Mop, and it's

02:34    8    the story of her and her development as a person and a

02:34    9    professional.    She was played by Jennifer Lawrence and the

02:35   10    movie had Robert DeNiro and Bradley Cooper.

02:35   11         So right around the time of this movie, Home Shopping

02:35   12    Network was looking to bring more of Joy's products, not just

02:35   13    to be on HSN but also to be in brick and mortar stores, such as

02:35   14    Target and Bed Bath and Beyond, so I worked with them to

02:35   15    develop the business plan, the business strategy and the

02:35   16    logistics and the pricing to establish the right way to do that

02:35   17    launch associated right around the time of the movie.

02:35   18         So those are a few of the examples that I've really

02:35   19    enjoyed.

02:35   20         Q.    Thanks, Dr. Sullivan.

02:35   21         So if we go back to your example with Patrick Mahomes and

02:35   22    Tom Brady, how does that relate to Intel's approach here?

02:35   23         A.    In my view, based upon the statute, the right way to

02:35   24    calculate a reasonable royalty is by looking at the technical

02:35   25    benefits that are provided by these particular patents, by


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02:36    1    utilizing Intel's data, the financial data, the feature data

02:36    2    and thus determine what the extent of use is and the value is

02:36    3    associated with that use.

02:36    4         By the very nature of the historical data points that

02:36    5    Intel uses for their analysis, it does not use any of those.

02:36    6    It's not related to these specific patents.          It's not related

02:36    7    to the benefits that Intel has actually received, and in my

02:36    8    view, that results in their damages analysis not being correct.

02:36    9         Q.     And I just want to clarify one point my colleague

02:36   10    pointed out.      Going back to the work you just described, how

02:36   11    sometimes in litigation, sometimes outside of litigation on

02:36   12    those cool projects you were telling us about, in both cases

02:36   13    would you consider the rate you're being paid to be a customary

02:37   14    rate in the industry?

02:37   15         A.     Oh, yes.    Definitely.

02:37   16         Q.     And you charge the same rates in both circumstances?

02:37   17         A.     I do.    Granted, I'm very fortunate.      I have worked

02:37   18    super hard throughout my entire life to get to where I'm at.

02:37   19    Sorry.    So yes.    It is customary in my field, and I recognize

02:37   20    it is very substantial.      I think I've earned it.

02:37   21         Q.     Thank you, Doctor.

02:37   22         So do Intel's experts in doing this analysis, do they

02:37   23    account for Intel's use of the patents?

02:37   24         A.     No.     They don't.   So if -- so this is kind of

02:37   25    interesting to me.


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02:37    1            You know, as I mentioned earlier, the statute provides

02:37    2    that, you know, the royalty, the reasonable royalty should be

02:38    3    for the use made of the invention by the infringer.             When we

02:38    4    look at the real-world data, there's two types of real-world

02:38    5    data that you can consider about use.

02:38    6            There's data over here.      This is intended to be a bar here

02:38    7    to show Intel's proposed royalty.          It's not very much.       And

02:38    8    it -- it's based upon real-world agreements perhaps, but

02:38    9    they're not reflecting the use of this technology and Intel's

02:38   10    benefit of this technology.

02:38   11            The analysis that I performed uses Intel's real-world data

02:38   12    to look at their actual sales, to look at the actual benefits

02:39   13    that they received.       And here on Slide 73, you can see that

02:39   14    when we add up, you know, for both patents the additional

02:39   15    revenue that I've already shown you, it's the number up here at

02:39   16    the top, and that's based upon Intel's real-world data and the

02:39   17    real world benefits.

02:39   18            Q.   And in calculating its proposed royalty here, that

02:39   19    red bar, did Intel's experts rely on all of the licenses that

02:39   20    were produced in this case?

02:39   21            A.   Oh, no.    There's several hundred license agreements

02:39   22    that Intel produced, and Intel's experts rely upon a relatively

02:39   23    small set of those.       You know, they are all lower dollar amount

02:39   24    ones.    Yet there are a number of other agreements that they

02:39   25    decided not to use that have much, much higher dollar amounts.


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02:40    1         Q.    And do any of those licenses, the executed license

02:40    2    agreements that Intel's damages experts looked at, do any of

02:40    3    them involve the patents-in-suit here?

02:40    4         A.    No.

02:40    5         Q.    So let's go back to the law, and you described that

02:40    6    as requiring a hypothetical negotiation.         So at that

02:40    7    hypothetical negotiation, what are some of the key

02:40    8    considerations?     Taking into account all of the analysis you've

02:40    9    done, what do you think those key considerations are for the

02:40   10    parties?

02:40   11         A.    In my view -- I've put them here on Slide 74, and

02:40   12    we've talked about these already.        There's the power savings of

02:40   13    5.45 percent associated and attributable to the '373 patented

02:40   14    technology.

02:40   15         There's the performance improvement of 1.11 percent

02:40   16    that's attributable to the '759 patent.         This results in

02:40   17    additional revenue that I have calculated specific to these

02:41   18    patented technologies and a number of unit sales of -- for both

02:41   19    patents combined of 987 million units.         And this is something

02:41   20    where all of these items can be considered in determining a

02:41   21    reasonable royalty.

02:41   22         And here again, the magnitudes are significant.               They're

02:41   23    substantial.     And I had been trying to think of a way to, you

02:41   24    know, how do I convey this in a way that makes sense and

02:41   25    provide that context?      And what I came up with, this is one


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02:41    1    example, is that for the 987 million products, each one of

02:41    2    these is pretty small.      I know that you've, you know, kind of

02:41    3    seen some of these from a distance.        They're typically less

02:42    4    than two inches wide.

02:42    5          If you were to line them all up next to each other, they

02:42    6    would be about 25,000 miles long.        It would go all the way

02:42    7    around Earth.     That's a lot of product, a lot of product.

02:42    8          Q.   Thank you, Dr. Sullivan.

02:42    9          So can you summarize your reasonable royalty findings for

02:42   10    us?

02:42   11          A.   Yes.     Based upon --

02:42   12          MR. LEE:     Your Honor, I object.     If you look at the --

02:42   13    before the jurors see this slide.        If you look at the fourth

02:42   14    column over.

02:42   15          THE COURT:     I can't see the slide unless...

02:42   16          MS. PROCTOR:    I think they're going to make a quick change

02:42   17    to it, Your Honor.     I apologize for that.

02:42   18          THE COURT:     No problem.

02:42   19    BY MS. PROCTOR:

02:43   20          Q.   So let's try that again.        Dr. Sullivan, can you

02:43   21    summarize your reasonable royalty findings for us?

02:43   22          A.   Yes.     So here on Slide 7.76 are the numbers.         Just a

02:43   23    quick recap.     In the analysis I performed, I looked at the

02:43   24    nature of competition in the marketplace, the need for Intel to

02:43   25    continue to innovate, the importance of these particular


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02:43    1    patents in terms of power savings and performance improvement.

02:43    2         I looked at that relative to clock speed, used financial

02:43    3    data and feature data to be able to determine what the price

02:43    4    effects are and then directly attributable to the patented

02:44    5    technologies, calculated additional revenues that are

02:44    6    attributable to the patents specifically, and then accounted

02:44    7    for both additional costs and the commercialization

02:44    8    contributions of Intel relative to the patented contributions

02:44    9    of Freescale.

02:44   10         That results, for the '373 patent, additional revenues

02:44   11    relative to a reasonable royalty.       You'll see -- I suppose I

02:44   12    can't say what the difference is roughly, but you can probably

02:44   13    calculate that fairly easily.      Recognizing that not all but

02:44   14    most of that difference is profit, that then is maintained by

02:44   15    Intel.

02:44   16         That's the incentive for them to enter into this agreement

02:44   17    because it is not only profit enhancing for them but also

02:45   18    allows them to maintain their position in the marketplace.

02:45   19         We discussed the number of units that are infringing, thus

02:45   20    taking the royalty, dividing by the number of units.              It's that

02:45   21    amount per unit.    And the same is true for the '759 patent.

02:45   22    You can look at the additional revenues and compare those to

02:45   23    the reasonable royalty.     Most of that difference is profit that

02:45   24    would be retained by Intel.

02:45   25         Here again is the number of infringing units.          That means


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02:45    1    that on a per-unit basis, this is the royalty for the '759

02:45    2    patent.

02:45    3         Q.    And so based on your analysis, Intel is getting the

02:45    4    benefit of hundreds of millions of dollars in profit from these

02:45    5    patents?

02:45    6         A.    Correct.

02:45    7         Q.    And Intel's actually keeping hundreds of millions of

02:45    8    dollars in profit on these patents even after paying the

02:46    9    royalties that you proposed?

02:46   10         A.    That's right.     So it's profit -- it's profit

02:46   11    enhancing for Intel to pay these royalties in two ways.

02:46   12         One, the direct benefits, as we were just describing, of

02:46   13    having those additional profits, but also because of their

02:46   14    ability to maintain sales in the competitive marketplace to

02:46   15    maintain their position.

02:46   16         Q.    So, Dr. Sullivan, in your opinion, are these

02:46   17    royalties reasonable?

02:46   18         A.    Yes.   In my view they are.       They are very

02:46   19    substantial.    I recognize that.      However, they do reflect the

02:46   20    actual benefits that Intel has received, reflects the

02:46   21    substantial use by Intel, and it reflects that the profits are

02:46   22    shared between the parties, and it is a profit-enhancing

02:46   23    proposition for Intel.

02:46   24         Q.    Thank you very much, Dr. Sullivan.

02:46   25         MS. PROCTOR:     That's all for now.


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02:47    1            THE COURT:     Mr. Lee, will you be doing the cross?

02:47    2            MR. LEE:     Yes, Your Honor.

02:47    3            THE COURT:     Do you need a moment to -- would it help you

02:47    4    if we took a break or...

02:47    5            MR. LEE:     Yeah.    Then we can get the binders around and

02:47    6    get set up.

02:47    7            THE COURT:     Let's do that.   We'll take literally just a

02:47    8    five- or ten-minute recess and we'll be right back.

02:47    9    Remembering my instructions not to discuss the case.

02:47   10            (Jury exited the courtroom at 2:47.)

02:47   11            THE COURT:     Mr. Lee?   There you are.   Is there anything we

02:47   12    need to take up before I come back in?

02:48   13            MR. LEE:     No.

02:48   14            THE COURT:     Mr. Chu?

02:48   15            MR. CHU:     No, Your Honor.

02:48   16            THE COURT:     We'll be back in just a couple of minutes.

02:54   17            (Recess taken from 2:48 to 2:57.)

02:57   18            THE BAILIFF:       All rise.

02:57   19            THE COURT:     Please remain standing for the jury.

02:57   20            (Jury entered the courtroom at 2:57.)

02:57   21            THE COURT:     Ladies and gentlemen, thank you for coming

02:57   22    back.    You may be seated.

02:57   23            Mr. Lee?

02:57   24            MR. LEE:     Thank you, Your Honor.

02:57   25                                   CROSS-EXAMINATION


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02:57    1    BY MR. LEE:

02:57    2         Q.    Good afternoon, Dr. Sullivan.

02:57    3         A.    Good afternoon.

02:57    4         Q.    Dr. Sullivan, you told the ladies and gentlemen of

02:57    5    the jury earlier today that you've worked both for plaintiffs

02:57    6    and defendants, correct?

02:57    7         A.    That's right.

02:57    8         Q.    And you understand having worked for defendants in

02:57    9    patent cases that it's important for the jurors to hear the

02:57   10    full story on all issues, correct?

02:57   11         A.    I do believe that it's important to listen, hear and

02:58   12    think through all the issues.      Yes.

02:58   13         Q.    And it's important to hear the defendant's case on

02:58   14    damages in order to -- before you determine the issue of

02:58   15    damages, correct?

02:58   16         A.    I would agree.

02:58   17         Q.    Now, you know that Intel has a damages expert named

02:58   18    Hance Huston, correct?

02:58   19         A.    That's right.

02:58   20         Q.    You didn't mention him by name today, correct?

02:58   21         A.    That's right.

02:58   22         Q.    But you have read his reports, correct?

02:58   23         A.    Yes.   I have.

02:58   24         Q.    Now, I want to ask you about some testimony you gave

02:58   25    about whether SigmaTel, Freescale or NXP made use of the


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02:58    1    patents.   Do you recall that testimony?

02:58    2         A.    Yes.     I do.

02:58    3         Q.    And you said that you thought it was a red herring

02:58    4    and misleading to talk about that issue.         Do you remember that?

02:58    5         A.    Not to talk about the issue yet my perception of the

02:58    6    arguments that Intel and, with all due respect, you, Mr. Lee,

02:59    7    have been making.     I do believe those issues are, as I would

02:59    8    describe them, a red herring and misleading.

02:59    9         Q.    Yeah.    That's what you said.      You said they were a

02:59   10    red herring and misleading, correct?

02:59   11         A.    Yes.

02:59   12         Q.    Now, Hance Huston has given the opinion that what

02:59   13    SigmaTel and Freescale and NXP did with the patents tells you a

02:59   14    lot about the value of the patents, hasn't he?

02:59   15         A.    He has said something along those lines.

02:59   16         Q.    Right.    And he --

02:59   17         A.    I disagree, but yes.

02:59   18         Q.    My question was focused on him.         Has he given the

02:59   19    opinion in his reports that what SigmaTel, Freescale and NXP

02:59   20    did with the patents is important in determining the value?           He

02:59   21    did that, didn't he?

02:59   22         A.    That is my recollection.

02:59   23         Q.    Now, when he did that, he specifically referred to

02:59   24    the Georgia-Pacific factors, correct?

03:00   25         A.    He may have.     I don't have that level of specificity


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03:00    1    in mind.

03:00    2         Q.    But you referred to the Georgia-Pacific factors this

03:00    3    morning, correct?

03:00    4         A.    Yes.    I did.

03:00    5         Q.    And you put on the screen PDX-7.124 a little bit.              Do

03:00    6    you recall this?

03:00    7         A.    I do.    I even made the slide.      So yes.

03:00    8         Q.    Now, these are the factors from this case called

03:00    9    Georgia-Pacific, correct?

03:00   10         A.    That's right.

03:00   11         Q.    And these are the factors that you examined, correct?

03:00   12         A.    Yes.    Amongst others, but yes.      I did examine these.

03:00   13         Q.    And you expect that His Honor will instruct the jury

03:00   14    that they should apply these factors in determining the issue

03:00   15    of a reasonable royalty, correct?

03:00   16         A.    I will defer to Your Honor in terms of what it is

03:00   17    that the jury is instructed.       I would imagine that part of

03:00   18    those instructions will be to consider the Georgia-Pacific

03:01   19    factors.

03:01   20         Q.    So the answer's yes?

03:01   21         A.    The one distinction there -- two distinctions.           One

03:01   22    is I cannot speak on behalf of the Court.         The other

03:01   23    distinction is that the Georgia-Pacific factors, albeit as

03:01   24    something that provides a guidepost, is not typically --

03:01   25    damages are not constrained to those factors only.


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03:01    1            Q.   I'm sorry if my question wasn't clear.          I didn't ask

03:01    2    if damages were constrained.          I just asked whether you

03:01    3    understood that His Honor would instruct on the factors.               Just

03:01    4    yes or no.

03:01    5            A.   I would imagine that His Honor will instruct on the

03:01    6    factors in some way, shape or form.

03:01    7            Q.   Okay.     So, now we know that -- I want to focus a

03:01    8    little bit on your slide.          You know that Mr. Huston actually is

03:01    9    someone who has an electrical engineering degree, correct?

03:01   10            A.   I do not recall his degree.

03:01   11            Q.   Well, we'll wait till he testifies before the jury.

03:02   12            But he did say that Factors 8, 9 and 10 of the

03:02   13    Georgia-Pacific factors specifically implicate whether the

03:02   14    licensor has made use of the patent, correct?            Isn't that what

03:02   15    he said?

03:02   16            A.   I cannot speak to what Mr. Huston has said.             I can

03:02   17    provide you with my opinions in these regards --

03:02   18            MR. LEE:     Your Honor?

03:02   19            THE WITNESS:    -- but I cannot speak for Mr. Huston.

03:02   20            THE COURT:     Dr. Sullivan, just yes or no.      That'd be fine.

03:02   21            MR. LEE:     Your Honor, if we --

03:02   22            THE COURT:     If you could just repeat the question.         He'll

03:02   23    answer it directly.       And I'm sure he will going forward as

03:02   24    well.

03:02   25    BY MR. LEE:


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03:02    1         Q.    Dr. Sullivan, Mr. Huston specifically relied upon

03:02    2    Factors 8, 9 and 10 as related to the question of whether

03:02    3    SigmaTel, Freescale and NXP made use of the patent, didn't he?

03:02    4         A.    I recall something along those lines from Mr. Huston.

03:03    5         Q.    So let's look at Factor No. 10.         Now, this is not one

03:03    6    of the factors that you focused upon or highlighted, correct?

03:03    7         A.    I disagree.

03:03    8         Q.    Well, let's focus on it together.         It is "the nature

03:03    9    of the patented invention, the character of the commercial

03:03   10    embodiment of it as owned and produced by the licensor and the

03:03   11    benefits to those who have used the invention."

03:03   12         Do you see that?

03:03   13         A.    I do.

03:03   14         Q.    Now, when the ladies and gentlemen of the jury apply

03:03   15    Factor 10, if they do to this case, the licensor is Freescale,

03:03   16    correct?

03:03   17         A.    The licensor is Freescale.

03:03   18         Q.    And --

03:03   19         A.    There are other parts to the factor.

03:03   20         Q.    And Factor 10 specifically refers to the licensor,

03:03   21    correct?

03:03   22         A.    And the use of the invention.        Yes.

03:04   23         Q.    Yes.     And if the licensor doesn't use the invention

03:04   24    at all, it tells you something, doesn't it?

03:04   25         A.    No.     It does not.


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03:04    1         Q.    Okay.    You think that suggesting the fact that the

03:04    2    licensor does not have a commercial embodiment, to use the

03:04    3    words of Factor 10, is a red herring and misleading?               Is that

03:04    4    your testimony?

03:04    5         A.    Yes.

03:04    6         Q.    Okay.    Now, I'm going to come back to those factors,

03:04    7    but I wanted -- as you said, one of the people you are accusing

03:04    8    of being misleading was me.       And I wanted to clarify and be

03:04    9    sure we were on the same page.

03:04   10         Now, as you told us, you're not here to give an opinion on

03:04   11    infringement, correct?

03:04   12         A.    That's right.

03:04   13         Q.    So when you used the term "infringing units" during

03:04   14    your testimony today, you were assuming that the jury found

03:04   15    them based upon Dr. Conte's testimony to be infringing,

03:04   16    correct?

03:04   17         A.    Correct.     As a damages expert it is my role to simply

03:05   18    assume infringement.

03:05   19         Q.    All right.    But you agree if Intel does not infringe

03:05   20    the '373 patent, then the damages that the jury should award

03:05   21    for that patent would be zero, correct?

03:05   22         A.    I think that is correct.

03:05   23         Q.    And if the jury finds the '759 patent does not

03:05   24    infringe, the damages would be zero, correct?

03:05   25         A.    I believe that's correct.


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03:05    1         Q.    And if the jury finds the '759 patent is invalid, the

03:05    2    damages would be zero, correct?

03:05    3         A.    That would be my understanding.

03:05    4         Q.    Now, you understand, and you told the jury that

03:05    5    Intel's -- the products accused of infringement are

03:05    6    microprocessors, correct?

03:05    7         A.    Yes.

03:05    8         Q.    You yourself do not have an engineering degree,

03:05    9    correct?

03:05   10         A.    That's right.

03:05   11         Q.    You have never designed a microprocessor, correct?

03:05   12         A.    That too is correct.

03:05   13         Q.    You have never worked as an engineer at a

03:06   14    microprocessor company, correct?

03:06   15         A.    Correct.

03:06   16         Q.    You described your company, Intensity, as an

03:06   17    economics and data science firm, correct?

03:06   18         A.    Yes.    That's right.

03:06   19         Q.    Okay.    And as you told us, you do consulting work.

03:06   20    You do litigation work, correct?

03:06   21         A.    Yes.

03:06   22         Q.    Now, you submitted an expert report in this case in

03:06   23    August of 2020, correct?

03:06   24         A.    Yes.

03:06   25         Q.    And that's the report you described to Ms. Proctor


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03:06    1    earlier today, correct?

03:06    2         A.     Yes.

03:06    3         Q.     And then after that point in time, you actually had

03:06    4    your deposition taken where we got to ask you questions,

03:06    5    correct?

03:06    6         A.     Yes.    Two days of deposition.

03:06    7         Q.     As of the time of your deposition, you could not

03:06    8    identify any time you had been the lead negotiator for a

03:06    9    microprocessor patent license; is that correct?

03:06   10         A.     That's right.     I do not serve as a lead negotiator.

03:07   11         Q.     And just to be clear, the hypothetical that you've

03:07   12    been discussing with us today is a hypothetical license

03:07   13    negotiation, correct?

03:07   14         A.     I'm not sure what you mean by that.

03:07   15         Q.     It's a hypothetical license negotiation that's going

03:07   16    to occur.    That's the phrase, correct?

03:07   17         A.     I've not really heard it referred to as such.           It's a

03:07   18    hypothetical negotiation where the parties negotiate over a

03:07   19    license to the patented technology.

03:07   20         Q.     Okay.    If that's a description you're comfortable

03:07   21    with, let's use that description.

03:07   22         Now, you've been retained by the plaintiff in this case

03:07   23    VLSI, correct?

03:07   24         A.     My firm has.     Yes.

03:07   25         Q.     You've actually been hired as an expert in litigation


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03:07    1    cases more than 150 times, have you not?

03:07    2         A.    I believe that's correct.

03:07    3         Q.    And you've actually worked on probably more than 300

03:07    4    litigation cases, correct?

03:08    5         A.    Throughout my career, yes.

03:08    6         Q.    Now, you told us your hourly rate is $1,150 an hour,

03:08    7    correct?

03:08    8         A.    Yes.

03:08    9         Q.    Now, before your deposition in September, your

03:08   10    company had billed VLSI for your time plus the time of others,

03:08   11    correct?

03:08   12         A.    Yes.

03:08   13         Q.    As of September of 2020, so about five months ago,

03:08   14    you yourself had worked 200 hours or more, correct?

03:08   15         A.    I believe that's about right.

03:08   16         Q.    And as of today, you've worked 300 hours or more,

03:08   17    correct?

03:08   18         A.    Yes.

03:08   19         Q.    So for your time, your company's billing is somewhere

03:08   20    in excess of $300,000, correct?

03:08   21         A.    Yes.

03:08   22         Q.    But there are other individuals at your company who

03:08   23    are also billing time, correct?

03:08   24         A.    Yes, that's right.

03:08   25         Q.    There are six of them, correct?


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03:08    1         A.    Who have worked on this engagement from time to time,

03:08    2    that's right.

03:09    3         Q.    And they have hourly rates as well, correct?

03:09    4         A.    They do.

03:09    5         Q.    Their hourly rates vary from $250 an hour to $800 an

03:09    6    hour, correct?

03:09    7         A.    I believe that's correct.

03:09    8         Q.    And they've worked another 300 hours or so, correct?

03:09    9         A.    Collectively or all total across the team?

03:09   10         Q.    I would say collectively, all-told across the team,

03:09   11    right up until today.

03:09   12         A.    I'm sorry.    I did not follow.

03:09   13         Q.    Sure.    For the other six people, I'm not trying to

03:09   14    ask you to break them down, just for those six people other

03:09   15    than you, have they collectively worked since the beginning of

03:09   16    the case until today, 300 hours or so?

03:09   17         A.    I would think something along those lines.

03:09   18         Q.    So in total Intensity's been paid or will be paid

03:09   19    somewhere close to $500,000 for your work in this case,

03:09   20    correct?

03:09   21         A.    I have not examined the data on that, but something

03:10   22    along those lines would be about correct.

03:10   23         Q.    Now, you are working for VLSI Technology, correct?

03:10   24         A.    No.     The firm was engaged on behalf of VLSI

03:10   25    Technology LLC, I believe.


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03:10    1         Q.     Fair enough.    And it was formed in 2016, correct?

03:10    2         A.     Yes.     That is my understanding.

03:10    3         Q.     There are two people who work at VLSI, if I can call

03:10    4    it that.    If I refer to it as just VLSI, you'll understand what

03:10    5    I mean?

03:10    6         A.     Yes.

03:10    7         Q.     There are two people who work at VLSI, correct?

03:10    8         A.     That is my understanding.

03:10    9         Q.     One is Michael Stolarski, correct?

03:10   10         A.     Yes.

03:10   11         Q.     Before you formed your opinions about the reasonable

03:10   12    royalties in this case, did you meet with Mr. Stolarski?

03:10   13         A.     No.     I did not.

03:10   14         Q.     Did you talk to Mr. Stolarski?

03:10   15         A.     No.

03:10   16         Q.     Did you meet -- Cindy Simpson is the chief technology

03:11   17    officer of VLSI.      Have you ever met with her?

03:11   18         A.     No.     I have not.

03:11   19         Q.     Have you ever met with either Mr. Stolarski -- have

03:11   20    you ever met with Mr. Stolarski in person at any time?

03:11   21         A.     Yes.     I met him, I think it was yesterday or the day

03:11   22    before.    Yeah, here in the trial.

03:11   23         Q.     Okay.    So the first time you met Mr. Stolarski was

03:11   24    yesterday, that would be Tuesday, in connection with the trial,

03:11   25    correct?


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03:11    1            A.   Yes.

03:11    2            Q.   And you've never met Cindy Simpson, the chief

03:11    3    technology officer, correct?

03:11    4            A.   That's right.

03:11    5            Q.   But you do know that VLSI does not design

03:11    6    microprocessors, correct?

03:11    7            A.   That is my understanding.

03:11    8            Q.   They do not manufacture microprocessors, correct?

03:11    9            A.   That too is my understanding.

03:11   10            Q.   They don't manufacture any product of any kind, do

03:12   11    they?

03:12   12            A.   I'm not aware of them manufacturing any sort of

03:12   13    physical product.

03:12   14            Q.   They've never sold any products, correct?

03:12   15            A.   Not a physical product.

03:12   16            Q.   And they don't have any engineers or technologists or

03:12   17    scientists who are engaged in research and development,

03:12   18    correct?

03:12   19            A.   Not as employees as I understand it.

03:12   20            Q.   And no one at VLSI has ever filed for a patent

03:12   21    application as a person working for VLSI, correct?

03:12   22            A.   I am not aware of any patents being filed by

03:12   23    Ms. Simpson or Mr. Stolarski.

03:12   24            Q.   Okay.    And in fact, before you were hired by my

03:12   25    colleagues at Irell & Manella, you had never heard of VLSI,


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03:13    1    correct?

03:13    2            A.   I think that's right.

03:13    3            Q.   Now, one company you had heard of before this

03:13    4    litigation was Intel, correct?

03:13    5            A.   Yes.

03:13    6            Q.   And as you told the jurors, Intel manufactures

03:13    7    microprocessors and has for almost 50 years, correct?

03:13    8            A.   I didn't hear the time period.

03:13    9            Q.   50 years.

03:13   10            A.   No.    I don't think I mentioned that.       I think it's

03:13   11    true, but --

03:13   12            Q.   I'm sorry.

03:13   13            A.   -- I don't think I mentioned it.

03:13   14            Q.   I'm sorry.     If I misstated the question, I apologize.

03:13   15    I didn't ask whether you'd mentioned it.           I said, you know that

03:13   16    Intel has been making microprocessors for 50 years, correct?

03:13   17            A.   That's my understanding.       Yes.

03:13   18            Q.   And there have been thousands of engineers who have

03:13   19    worked on making those -- designing those products, making

03:13   20    those products and selling them, correct?

03:13   21            A.   Thousands of engineers designing in a system with the

03:14   22    manufacturing.      I think some of the engineers help on the sales

03:14   23    side, but there's also other non-engineer types on the sales

03:14   24    side.

03:14   25            Q.   Fair enough.     Now, you talked about large numbers of


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03:14    1    sales to the jurors during your direct testimony, correct?

03:14    2         A.    In my view the sales are large and significant.

03:14    3         Q.    Intel has been very successful in selling

03:14    4    microprocessors over 50 years, correct?

03:14    5         A.    They have experienced significant financial success.

03:14    6         Q.    They were successful before the '373 patent was

03:14    7    applied for, and they were selling a ton of microprocessors

03:14    8    before that patent was applied for, correct?

03:14    9         A.    I think that's right.

03:14   10         Q.    They were successful before the '759 patent was

03:14   11    applied for, and they were selling a ton of microprocessors

03:14   12    before that time, correct?

03:14   13         A.    Similarly.    Yes.

03:15   14         Q.    And they continued to sell a ton of microprocessors

03:15   15    after the patents were applied for, after the patents were

03:15   16    issued, right up until today, correct?

03:15   17         A.    Yes.

03:15   18         Q.    All right.    Now, you know that Intel manufactures

03:15   19    these microprocessors, these -- the number that you say would

03:15   20    basically surround the world.      And they manufacture them in a

03:15   21    number of locations, correct?

03:15   22         A.    Yes.

03:15   23         Q.    This includes Arizona, correct?

03:15   24         A.    That's one location.

03:15   25         Q.    Oregon, correct?


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03:15    1         A.      That's a second.

03:15    2         Q.      And New Mexico, correct?

03:15    3         A.      That is my understanding.

03:15    4         Q.      And you know that Intel also has facilities right

03:15    5    here in Texas, correct?

03:15    6         A.      That too is my understanding.

03:15    7         Q.      And Intel has in the United States more than 10,000

03:16    8    people involved in manufacturing these microprocessors, that if

03:16    9    laid end-to-end would surround the world, correct?

03:16   10         A.      Yes and no.   You're mixing a couple of items there,

03:16   11    but close.

03:16   12         Q.      And you know it has as many as 1,700 people working

03:16   13    in Austin doing research and development on the next

03:16   14    generations of technologies so that Intel can continue to sell

03:16   15    a ton of microprocessors, correct?

03:16   16         A.      I know there are roughly that number of employees,

03:16   17    and I know some of them at least are working on R&D.               I can't

03:16   18    speak to all of them.

03:16   19         Q.      And you know that Intel has made significant

03:16   20    inventions and innovations of its own that are in its products,

03:16   21    correct?

03:16   22         A.      That is my understanding.

03:16   23         Q.      And you know that those products are complex

03:16   24    products, correct?

03:16   25         A.      Yes.   They are complex.


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03:16    1         Q.    With many features?

03:16    2         A.    Yes.

03:17    3         Q.    Billions of transistors, as you told us earlier

03:17    4    today?

03:17    5         A.    I'm sorry.    I did not follow the question.

03:17    6         Q.    Billions of transistors in a single microprocessor?

03:17    7         A.    Yes.

03:17    8         Q.    Correct?

03:17    9         A.    There are.

03:17   10         Q.    And those billions of transistors result in many

03:17   11    features, correct?

03:17   12         A.    I would think of it a little bit differently, that

03:17   13    there are many features in the products, and there are billions

03:17   14    of transistors on the products.       I don't think of it in the

03:17   15    same causality as you suggested.

03:17   16         Q.    And some of those features contribute to power and

03:17   17    power savings, correct?

03:17   18         A.    Yes.

03:17   19         Q.    And some of those features contribute to speed and

03:17   20    performance, correct?

03:17   21         A.    That too is true.

03:17   22         Q.    And many of those features have nothing to do with

03:17   23    what VLSI accuses of infringing in this case, correct?

03:17   24         A.    They are different.

03:17   25         Q.    Yeah.   Now, let me ask you a few questions about


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03:18    1    these patents in particular.       There are two.    One is the '373

03:18    2    which issued in 2009, correct?

03:18    3         A.    Yes.

03:18    4         Q.    There are -- there is the '759 patent that issued in

03:18    5    2010, correct?

03:18    6         A.    Yes.

03:18    7         Q.    So both patents have been around for more than a

03:18    8    decade, correct?

03:18    9         A.    Correct.

03:18   10         Q.    Now, as you told us at your deposition, you've

03:18   11    reviewed a gazillion patents.      That was your word, correct?

03:18   12         A.    I'm sorry?

03:18   13         Q.    You told us that you had reviewed a gazillion

03:18   14    patents, correct?

03:18   15         A.    I don't recall saying that, but it's true.

03:18   16         Q.    You would agree that you have.       You've reviewed a lot

03:18   17    of patents?

03:18   18         A.    I have, yes.

03:18   19         Q.    All right.

03:18   20         A.    Yes.

03:18   21         Q.    But the first time you ever saw these patents was in

03:18   22    the second half of 2019, correct?

03:18   23         A.    Yes.    That's right.    That's very typical.

03:19   24         Q.    That was after you were retained to act as a damages

03:19   25    expert in this case, correct?


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03:19    1            A.   Yes.   Exactly.

03:19    2            Q.   And in all your work both in litigation but also in

03:19    3    the consulting work you've done for other purposes, you had

03:19    4    never even heard of these patents, correct?

03:19    5            A.   That's right.

03:19    6            Q.   You had never heard of the inventors of these

03:19    7    patents, correct?

03:19    8            A.   I think that's right.

03:19    9            Q.   Incidentally, in preparing your analysis did you talk

03:19   10    to any of the inventors of either patent?           Now, one inventor,

03:19   11    Mr. Henson's passed away, but did you talk to any of the other

03:19   12    four?

03:19   13            A.   No, I did not.

03:19   14            Q.   Now, you would agree with me that the '373 and the

03:19   15    '759 patents are not the only patents related to

03:19   16    microprocessors that have been issued by the United States

03:19   17    Patent Office, correct?

03:19   18            A.   I would definitely agree with you on that one.

03:20   19            Q.   In fact, there are probably hundreds of patents that

03:20   20    relate to microprocessor features that have been issued by the

03:20   21    same Patent Office, correct?

03:20   22            A.   By the US PTO, yes.

03:20   23            Q.   Yes.   And many of those microprocessor patents were

03:20   24    issued before the '373 and '759 patents, correct?

03:20   25            A.   Yes.


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03:20    1         Q.    And some of those patents identified improved power

03:20    2    savings, correct?

03:20    3         A.    I would imagine that they have.

03:20    4         Q.    And somebody identified improved performance as well,

03:20    5    correct?

03:20    6         A.    Yes.

03:20    7         Q.    Now, the '759 patent was originally owned by

03:20    8    SigmaTel, correct?

03:20    9         A.    Yes.

03:20   10         Q.    You agree with me that SigmaTel made and sold

03:20   11    semiconductor products?

03:20   12         A.    Yes.

03:20   13         Q.    But you can't identify and have not identified any

03:20   14    product that SigmaTel ever used a patent in, correct?

03:20   15         A.    That's right.     I have not investigated that issue.

03:20   16         Q.    So the patent issued -- let's take each of the two

03:21   17    patents.   The '373 patent issued in 2009, correct?

03:21   18         A.    I did not hear that.

03:21   19         Q.    I'm sorry.    The '373 patent issued in 2009, correct?

03:21   20         A.    That's my recollection, yes.

03:21   21         Q.    The '759 patent issued in 2010, correct?

03:21   22         A.    Yes.   I think we discussed that.

03:21   23         Q.    So the patents have been around --

03:21   24         A.    For about a decade.

03:21   25         Q.    So the patents have been around for about a decade,


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03:21    1    correct?

03:21    2            A.   Yes.

03:21    3            Q.   And in that time, as far as you know, none of the

03:21    4    owners of the patents in that entire decade ever made use of it

03:21    5    in a commercial product, correct?

03:21    6            A.   I do not know.     I'm not an engineer.      I don't

03:21    7    determine use or infringement or practicing, so I simply do not

03:21    8    know.

03:21    9            Q.   One way or the other?

03:21   10            A.   That's right.

03:21   11            Q.   Okay.

03:21   12            A.   I'm an economist.

03:21   13            Q.   So let me ask you to assume that there's been no

03:22   14    evidence that SigmaTel or Freescale or NXP made a product using

03:22   15    either of the two patents.         Just make that assumption, okay?

03:22   16            A.   Okay.

03:22   17            Q.   And I want to take you back to the Tom Brady/Patrick

03:22   18    Mahomes example that you gave, okay?

03:22   19            A.   I remember it.

03:22   20            Q.   Now, I'm from Boston so I followed the career of

03:22   21    both.    Brady was a sixth-round draft choice, correct?

03:22   22            A.   Yes.

03:22   23            Q.   But by his second year, the Patriots figured out what

03:22   24    they had and they put him in the game, and he won the Super

03:22   25    Bowl, correct?


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03:22    1           A.   Yes.   My recollection is he sat on the bench for the

03:22    2    first year, give or take, and then second year really took off.

03:22    3           Q.   So they figured out what they had, they put him in

03:22    4    the game and they won the Super Bowl, correct?

03:22    5           A.   That's how I remember it.

03:22    6           Q.   No one put the '373 patent into the game, did they?

03:22    7           A.   I do not know.

03:22    8           Q.   No one put the '759 patent in the game, did they?

03:23    9           A.   Well, I mean, aside from Intel and the allegations

03:23   10    here, but I'm assuming you're asking about SigmaTel, Freescale,

03:23   11    NXP.

03:23   12           Q.   That's precisely what I'm asking about.

03:23   13           Did the people -- now, the Patriots didn't own Brady, but

03:23   14    they had a contract with Brady.         And they figured out what they

03:23   15    had and they put him in the game, right?

03:23   16           A.   Yes.

03:23   17           Q.   Did the people who owned SigmaTel, Freescale, NXP --

03:23   18    did the people who owned these patents figure out what they had

03:23   19    and put the patents in the game?

03:23   20           A.   They may have or they may not have.         Earlier you

03:23   21    asked me to assume that they had not.          But I don't think the

03:23   22    evaluation of that has been done.         It's very difficult to

03:23   23    determine whether or not a patent is being used.

03:23   24           Q.   If I could ask my question again.         As far as you

03:23   25    know, neither Freescale nor SigmaTel nor NXP put those patents


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03:24    1    into the commercial game, correct?

03:24    2           A.   As far as I know, to my knowledge, that's correct.

03:24    3           Q.   Now, you also can't identify any circumstance where

03:24    4    Freescale licensed either the '373 or the '759 patents,

03:24    5    correct?

03:24    6           A.   That's fair.

03:24    7           Q.   All right.     Now, VLSI acquired these patents in 2018,

03:24    8    as we said earlier, correct?

03:24    9           A.   I'm sorry.     What year did you say?

03:24   10           Q.   2018.

03:24   11           A.   Yes.

03:24   12           Q.   And the only thing that VLSI has done with the

03:24   13    patents is sue Intel?

03:24   14           A.   My understanding is that there have been efforts to

03:24   15    undertake licensing but that those efforts have been chilled as

03:24   16    a result of this litigation.

03:25   17           Q.   Those efforts have been unsuccessful, correct?

03:25   18           A.   Thus far, yes.

03:25   19           Q.   Now, during the time that VLSI has owned the patents,

03:25   20    it has not used the patents to generate any revenue at all,

03:25   21    correct?

03:25   22           A.   I believe they are seeking to.

03:25   23           Q.   So the answer to my question is correct, they have

03:25   24    not?

03:25   25           A.   It has not been realized.


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03:25    1         Q.    Right.    Now, you talked about the United States

03:25    2    patent system today, and you put Section 284 on the screen for

03:25    3    the jurors.    Do you remember that?

03:25    4         A.    I do recall the statute, yes.

03:25    5         Q.    And were you here or watching the opening arguments,

03:25    6    opening statements?

03:25    7         A.    I was doing my best to watch via Zoom, which is kind

03:25    8    of the mechanism in today's day and age.

03:25    9         Q.    Sure.    You heard Mr. Chu talk about the importance of

03:26   10    the patent system and how it promotes innovation, correct?

03:26   11         A.    Yes.

03:26   12         Q.    Now, do you agree that the economy and innovation is

03:26   13    harmed when plaintiffs recover unreasonable damages?

03:26   14         A.    When those damages are objectively unreasonable, I

03:26   15    would agree.

03:26   16         Q.    Yeah.    It harms the economy, and it harms innovation,

03:26   17    correct?

03:26   18         A.    If the damages are objectively unreasonable, I would

03:26   19    agree.

03:26   20         Q.    Now, I'll come to it in more detail a little later,

03:26   21    but have you analyzed the documents by which VLSI acquired

03:26   22    these two patents and others in 2018?

03:26   23         A.    I have, I think, seen some documents.          I would not

03:27   24    characterize it as analyzed.

03:27   25         Q.    But you cited them in your report, correct?


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03:27    1            A.   I likely did.     I cited a lot of documents.           Not a

03:27    2    gazillion, but a lot.

03:27    3            Q.   Okay.     You yourself have never negotiated a

03:27    4    microprocessor patent license for anything like the numbers

03:27    5    that you showed the ladies and gentlemen of the jury on the

03:27    6    screens today, correct?

03:27    7            A.   I have participated in negotiations that ultimately

03:27    8    would lead to such numbers.         But not like a single upfront

03:27    9    payment.

03:27   10            Q.   Okay.     Fair enough.

03:27   11            Now, Dr. Sullivan, you heard of the Texas Rangers?

03:27   12            A.   In multiple ways, yes.

03:27   13            Q.   They're a Major League Baseball team that plays out

03:27   14    of Arlington?

03:27   15            A.   That's one of the Texas Rangers I was thinking about.

03:27   16            Q.   Just to put the numbers that you've given the jurors

03:28   17    in context, the hypothetical negotiation here was:             In what

03:28   18    year?

03:28   19            A.   2011 and '13.

03:28   20            Q.   The Texas Rangers were sold in its -- their entirety

03:28   21    in 2010 for $593 million.        Does that sound right to you?

03:28   22            A.   I would not dispute that.

03:28   23            Q.   Right.     And your damages number would be enough to --

03:28   24            MS. PROCTOR:    Objection, Your Honor.

03:28   25            THE COURT:     I can't hear you.


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03:28    1          MS. PROCTOR:      Objection, Your Honor.    We have a motion in

03:28    2    limine on this.       It is also Rule 403.

03:28    3          MR. LEE:      I'm not sure what limine motion she's referring

03:28    4    to.

03:28    5          MS. PROCTOR:      No. 2, Section 4, Your Honor.

03:28    6          THE COURT:      Hang on a second.    I'm going to overrule the

03:29    7    objection.

03:29    8    BY MR. LEE:

03:29    9          Q.     You've also heard of the Dallas Mavericks?

03:29   10          A.     Yes.

03:29   11          Q.     An NBA team?

03:29   12          A.     That's right.

03:29   13          Q.     And you did some work for the NBA Players

03:29   14    Association, correct?

03:29   15          A.     Yes.

03:29   16          Q.     And in 2015 they were sold in their entirety for

03:29   17    $1.5 billion, correct?

03:29   18          A.     That sounds familiar.

03:29   19          Q.     Right.    And you yourself have written articles about

03:29   20    the purchase and sale of some professional sports teams,

03:29   21    correct?

03:29   22          A.     Yes.     The Atlanta Hawks.

03:29   23          Q.     You also wrote about the sale of the Los Angeles

03:29   24    Clippers, correct?

03:29   25          A.     I -- relatedly.    It was in -- well, you'll get to it,


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03:30    1    I'm sure, but it was in that context.

03:30    2         Q.    And you described the purchase price of the Los

03:30    3    Angeles Clippers as astronomical, correct?

03:30    4         A.    Yes.    In relation to previous purchases of basketball

03:30    5    teams.

03:30    6         Q.    And the number for that sale was $2 billion, correct?

03:30    7         A.    That's right.

03:30    8         Q.    Now, let's focus on what you did specifically in

03:30    9    constructing, and I think the word you used was "developing"

03:30   10    your model, okay?     I want to turn to that specifically.          Can we

03:30   11    do that?

03:30   12         A.    I'm happy to talk about my model.

03:30   13         Q.    Okay.    Now, the hypothetical negotiation, as you told

03:30   14    us, had Freescale on one side, correct?

03:30   15         A.    Yes.

03:30   16         Q.    The earliest time it would occur would be the first

03:30   17    quarter of 2011, correct?

03:30   18         A.    Which quarter did you say?

03:31   19         Q.    Fourth quarter of 2011.       I may have misspoke, so let

03:31   20    me say it again.     The earliest time it would have taken place

03:31   21    would have been the fourth quarter of 2011.

03:31   22         A.    I'd have to go back and look if it was third or

03:31   23    fourth, but right around that time period.

03:31   24         Q.    Okay.    So let's fix ourselves in that time period.

03:31   25    We have Freescale at one side of the table; we have Intel on


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03:31    1    the other.    And let's take you through the steps specifically

03:31    2    that you used to get to your numbers, okay?

03:31    3         A.      Sure.

03:31    4         Q.      First, you relied on Dr. Conte to provide you with

03:31    5    patent specific performance and power benefits, correct?

03:31    6         A.      I do use his work as inputs.

03:31    7         Q.      If Dr. Conte's numbers are incorrect, then your

03:31    8    ultimate numbers are going to be incorrect?

03:32    9         A.      It depends upon in which way his numbers are

03:32   10    incorrect.    But I'll grant you, if his numbers should be

03:32   11    different, then my numbers would be different.         They flow

03:32   12    through and they scale.

03:32   13         Q.      And after receiving Dr. Conte's numbers from his

03:32   14    work, you performed a regression, correct?

03:32   15         A.      I don't think of it chronologically quite the way you

03:32   16    put it, but I did perform a regression analysis.

03:32   17         Q.      All right.

03:32   18         A.      Of course.

03:32   19         Q.      And then you multiplied your regression analysis by

03:32   20    the inputs from Dr. Conte, correct?

03:32   21         A.      Not quite.   I took the result, which is a coefficient

03:32   22    from the regression analysis on -- and I multiplied that by the

03:32   23    improvements provided by Dr. Conte.

03:32   24         Q.      Okay.   So we have the model, the regression model

03:32   25    that you have developed.      We have Dr. Conte's inputs, and then


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03:33    1    you're using them together, correct?

03:33    2         A.    Yes.

03:33    3         Q.    And that gives you what you call the price effect,

03:33    4    correct?

03:33    5         A.    Using the coefficient multiplied by the benefits --

03:33    6         Q.    Right.

03:33    7         A.    -- provides a price benefit --

03:33    8         Q.    And then you use something called "cost

03:33    9    apportionment," correct?

03:33   10         A.    Yes.     I used cost apportionment and commercialization

03:33   11    apportionment.

03:33   12         Q.    And then you do something called "contribution

03:33   13    apportionment," correct?

03:33   14         A.    Contribution or commercialization.         I kind of use

03:33   15    those terms somewhat interchangeably, but it is that next

03:33   16    apportionment after profit.

03:33   17         Q.    So just so we all understand, your analysis relies

03:33   18    upon numbers provided to you by Dr. Conte, correct?

03:33   19         A.    I do use those numbers.

03:33   20         Q.    Dr. Conte relies upon numbers that came from

03:33   21    Dr. Annavaram, correct?

03:33   22         A.    Yes.

03:33   23         Q.    And then you combine the numbers Dr. Conte gave you

03:34   24    with the coefficients from your regression analysis, correct?

03:34   25         A.    I do.


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03:34    1         Q.    And if any of those is wrong, if Dr. Annavaram's data

03:34    2    is wrong or Dr. Conte's data is wrong or the coefficients from

03:34    3    your regression analysis is wrong, then your damages number is

03:34    4    not correct, right?

03:34    5         A.    All depends upon in what way they are wrong.            Yet

03:34    6    again, I will grant you, if those numbers should be different,

03:34    7    then my number or the reasonable royalty would be different.

03:34    8         Q.    If Dr. Annavaram was wrong by a factor of ten

03:34    9    percent, your number would be different, correct?

03:34   10         A.    By ten percent.

03:34   11         Q.    Right.    And if Dr. Conte was wrong by ten percent,

03:34   12    your number would be wrong by ten percent?

03:34   13         A.    Again, yeah.     It's what would be considered a scaler,

03:35   14    so it scales.

03:35   15         Q.    Right.    But in any event, each step in the process is

03:35   16    dependent upon a step that occurred before, correct?

03:35   17         A.    Well, it's all used together.

03:35   18         Q.    Okay.    Now, it's true, is it not, that you could not

03:35   19    identify for us any license agreement in the real world that

03:35   20    was negotiated using the process that I've just described,

03:35   21    correct?

03:35   22         A.    The general process of identifying technical benefits

03:35   23    multiplying them by a price benefit adjusting for profit and

03:35   24    relative contributions, that's a very common approach.

03:35   25         Q.    Tell us, identify by party and name, a single license


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03:35    1    agreement anywhere on the face of the Earth that was negotiated

03:35    2    using this process.

03:35    3         A.     We both know that's not a fair question because --

03:36    4         Q.     Dr. Sullivan --

03:36    5         A.     Well, okay.     I'll just leave it at that.       There's a

03:36    6    reason why that's not a fair question.

03:36    7         THE COURT:     Dr. Sullivan, you need to listen to

03:36    8    Mr. Lee's -- you don't get to judge his question.            You need to

03:36    9    answer his question with a yes or no or tell him you don't

03:36   10    understand it.

03:36   11         THE WITNESS:      Thank you, Your Honor.

03:36   12    BY MR. LEE:

03:36   13         Q.     Dr. Sullivan, can you identify for me by name, by

03:36   14    license or by licensee, any license agreement on the face of

03:36   15    the Earth that was ever negotiated using this multistep process

03:36   16    that you and I have just described?

03:36   17         THE COURT:     Yes, ma'am.

03:36   18         MS. PROCTOR:      I'm going to object on the basis of

03:36   19    confidentiality concerns.

03:36   20         (Clarification by Reporter.)

03:36   21         MS. PROCTOR:      Objection on the basis of confidentiality

03:36   22    concerns.

03:36   23         MR. LEE:     It's just a yes or no question.

03:36   24         THE COURT:     I'll limit it.      I'll allow him to answer with

03:36   25    a yes or no.     If Mr. Lee wants to -- if the answer is yes, he


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03:37    1    can.   And -- I will clear the courtroom and allow us to move

03:37    2    forward.    If in fact it is, Mr. Lee, if you would then find out

03:37    3    whether or not --

03:37    4           MR. LEE:     Fair enough.   Yes.

03:37    5           THE COURT:    -- if there is a yes, whether the information

03:37    6    he has is or is not confidential.

03:37    7           MR. LEE:     Yes.

03:37    8    BY MR. LEE:

03:37    9           Q.   Can you answer that yes or no?

03:37   10           A.   I am -- now I don't recall which way the question

03:37   11    went, but I am unable to disclose or provide for you a name of

03:37   12    such an agreement.

03:37   13           Q.   Okay.     So let me be a little bit more specific, and

03:37   14    let me focus on Intel and Freescale.         Could we do that?

03:37   15           A.   Sure.

03:37   16           Q.   You can't identify any instance where Intel

03:37   17    determined an appropriate royalty rate using the multistep

03:37   18    methodology that you used, correct?

03:37   19           A.   That's fair.

03:37   20           Q.   You cannot identify any instance where Freescale used

03:37   21    the multistep process that you've identified to negotiate a

03:37   22    license, correct?

03:38   23           A.   That's right.

03:38   24           Q.   You cannot identify any instance where NXP used the

03:38   25    multistep process that you employed to negotiate a license,


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03:38    1    correct?

03:38    2         A.    That too is correct.

03:38    3         Q.    And the same's true for SigmaTel, correct?

03:38    4         A.    Yes.

03:38    5         Q.    So let's go back to the steps of your process and run

03:38    6    through them quickly.      As you told us, you're not an engineer,

03:38    7    so you didn't perform any power testing experiment yourself,

03:38    8    correct?

03:38    9         A.    That's right.

03:38   10         Q.    And you relied on Dr. Annavaram and Dr. Conte,

03:38   11    correct?

03:38   12         A.    Correct.

03:38   13         Q.    Now, as you told us, Dr. Conte told you that the '373

03:38   14    patent provides a 5.45 percent power savings benefit in Intel's

03:38   15    Haswell and Broadwell products, correct?

03:38   16         A.    Yes.

03:38   17         Q.    And he said that the '759 patent provided a

03:39   18    1.11 percent performance benefit in the Lake products, correct?

03:39   19         A.    Correct.    The accused Lake products.

03:39   20         Q.    Right.     And you just took those numbers as given to

03:39   21    you, correct?

03:39   22         A.    I did use those numbers.       That's right.

03:39   23         Q.    Did you ever meet with Dr. Annavaram when he

03:39   24    completed his testing to discuss his testing with him?

03:39   25         A.    I did have discussions with Dr. Annavaram.


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03:39    1          Q.     Did you have discussions with him before he conducted

03:39    2    his tests?

03:39    3          A.     Not relatedly.    No.

03:39    4          Q.     Okay.    Did you have any discussions with Dr. Conte

03:39    5    before he provided you his numbers?

03:39    6          A.     Yes.

03:39    7          Q.     All right.     And when he provided you his numbers, did

03:39    8    you discuss the numbers with him?

03:39    9          A.     As I think of it, yes.

03:40   10          Q.     Okay.    But as of the time of your deposition, you

03:40   11    couldn't say where Dr. Conte got his performance test results

03:40   12    from, correct?

03:40   13          A.     That's fair.

03:40   14          Q.     At the time of your deposition, you couldn't say

03:40   15    where Dr. Conte got his '373 power saving numbers from,

03:40   16    correct?

03:40   17          A.     That's right.     I wasn't speaking on behalf of

03:40   18    Dr. Conte.

03:40   19          Q.     Right.    Now, let's go to the regression analysis that

03:40   20    you described in your regression model.         Okay.   Are you with

03:40   21    me?

03:40   22          A.     Sure.

03:40   23          Q.     Okay.    Dr. Sullivan, you're not aware of any

03:40   24    regression analysis ever being used to value the '373 patent,

03:40   25    correct?


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03:40    1         A.    Well, not aside from this case.

03:40    2         Q.    Aside from you in this case and your group at

03:40    3    Intensity who were retained for this case, correct?

03:41    4         A.    Correct.

03:41    5         Q.    Now, you're also not aware of anyone ever using a

03:41    6    regression analysis to value the '759 patent, correct?

03:41    7         A.    Same as with the '373.       That's right.

03:41    8         Q.    And you're certainly not aware of anybody at

03:41    9    SigmaTel, NXP or Freescale using a regression analysis to value

03:41   10    either of these patents, correct?

03:41   11         A.    Correct.

03:41   12         Q.    And no one at VLSI did either, correct?

03:41   13         A.    As far as I know.

03:41   14         Q.    All right.    Now, you do know -- as you told me, you

03:41   15    know who Mr. Stolarski is, correct?

03:41   16         A.    I do.

03:41   17         Q.    The CEO of VLSI, correct?

03:41   18         A.    That is my understanding.

03:41   19         Q.    And you know that he was a lawyer at Motorola for

03:41   20    22 years, don't you?

03:41   21         A.    Sounds familiar.

03:41   22         Q.    And Motorola is the company that spun off Freescale,

03:41   23    correct?

03:42   24         A.    Yes.

03:42   25         Q.    And Mr. Stolarski was involved in negotiating


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03:42    1    hundreds of licenses at Motorola, wasn't he?

03:42    2         A.     I do not recall.

03:42    3         Q.     You know that he was involved in negotiating licenses

03:42    4    at Motorola, correct?

03:42    5         A.     That sounds right.

03:42    6         Q.     And you know that Mr. Stolarski never personally used

03:42    7    a regression analysis in any one of those negotiations,

03:42    8    correct?

03:42    9         A.     That would not surprise me.

03:42   10         Q.     And, in fact, he never asked anybody in connection

03:42   11    with any of those license negotiations to conduct a regression

03:42   12    analysis, correct?

03:42   13         A.     I could not say one way or the other.

03:42   14         Q.     Now, you also reviewed the deposition of Kevin Klein,

03:42   15    K-l-e-i-n, correct?

03:42   16         A.     That name sounds familiar, but at the moment I cannot

03:42   17    place it.

03:42   18         Q.     Mr. Klein was the director of licensing at Freescale,

03:42   19    correct?

03:42   20         A.     I'm going to have to take your word for that one.

03:43   21    I've reviewed far too many depositions in this case.

03:43   22         Q.     If it helps you, and you can look at it if you like,

03:43   23    I'll represent to you if you look at Tab 20 in the notebook in

03:43   24    your report, you reviewed the deposition of Mr. Klein.

03:43   25         A.     I totally believe you.       I just don't have all of


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03:43    1    these names committed to memory.

03:43    2         Q.    Okay.    Mr. Klein was at Freescale, and I will

03:43    3    represent to you that in your report you identify his

03:43    4    deposition as one of the depositions you reviewed in preparing

03:43    5    your opinions, okay?

03:43    6         A.    Sounds great.

03:43    7         Q.    And Mr. Klein couldn't identify a single instance

03:43    8    where Freescale used a regression analysis in a patent license

03:43    9    negotiation, correct?

03:43   10         A.    I do not recall that, but that may be the case.

03:43   11         Q.    Any reason to disagree?

03:43   12         A.    No.

03:43   13         Q.    Okay.    You also reviewed the deposition of someone

03:43   14    called Aaron Waxler.     Do you recall that?

03:44   15         A.    I do.

03:44   16         Q.    And Mr. Waxler now was at NXP, correct?

03:44   17         A.    I'm sorry.    I'm not quite following the time.          Are

03:44   18    you saying he is now but wasn't --

03:44   19         Q.    No.     He was at the time of his deposition the vice

03:44   20    president of IP licensing at NXP, correct?

03:44   21         A.    I do not recall his title, but I do recall him doing

03:44   22    licensing at NXP.

03:44   23         Q.    And, in fact, you know from having read his

03:44   24    deposition that there's a whole group of folks at NXP who do

03:44   25    nothing other than license patents, correct?


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03:44    1            A.   They do have a licensing group.         That's my

03:44    2    understanding.

03:44    3            Q.   And it's not a small group, is it?

03:44    4            A.   I don't recall the size.

03:44    5            Q.   Now, you know from your review that Mr. Waxler

03:44    6    testified that no one at NXP has ever used a regression

03:44    7    analysis to value patents or negotiate a license agreement,

03:44    8    correct?

03:44    9            A.   I do not have that recollection, but that may be the

03:45   10    case.

03:45   11            Q.   Do you have any reason to disagree with me?

03:45   12            A.   No.

03:45   13            Q.   Okay.    You also reviewed the deposition of James

03:45   14    Kovacs, correct?

03:45   15            A.   Yes.

03:45   16            Q.   Now, Mr. Kovacs is the director of licensing

03:45   17    trademarks and standards at Intel, correct?

03:45   18            A.   Yes.

03:45   19            Q.   And he testified that in all his time at Intel, no

03:45   20    one has ever used a regression analysis to negotiate a license

03:45   21    agreement, correct?

03:45   22            A.   That does sound familiar.

03:45   23            Q.   Now, in your regression analysis -- let's turn to

03:45   24    your regression analysis.        We heard that VLSI's accusing

03:45   25    certain Intel products that you described earlier today,


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03:45    1    correct?

03:45    2         A.    I did not hear that.      Just try again.

03:45    3         Q.    Sure.    Intel has accused certain Skylake products and

03:45    4    certain Broadwell and Haswell products of infringing these two

03:45    5    patents, correct?

03:45    6         A.    Yes.    Lake products and well products.

03:46    7         Q.    Okay.    And now, in your regression model, I think you

03:46    8    explained to the jurors that you included both accused features

03:46    9    and nonaccused features, correct?

03:46   10         A.    I did, yeah.     I don't think that's the question you

03:46   11    intended to ask.

03:46   12         Q.    But you did include both features accused of

03:46   13    infringement and other features not accused of infringement,

03:46   14    correct?

03:46   15         A.    Yes.

03:46   16         Q.    And, in fact, it was your belief that it was

03:46   17    impossible to perform your regression model only on accused

03:46   18    products, correct?

03:46   19         A.    It would not be feasible to run the regression on

03:46   20    only accused products to be able to determine what the valid

03:46   21    price effect is associated with the technology.

03:46   22         Q.    So the answer is it would not be feasible to use your

03:46   23    regression model and include only accused products, correct?

03:47   24         A.    That would not be my model.        That's correct.

03:47   25         Q.    Now, let me focus you on the '373 patent.          You never


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03:47    1    performed your regression on just the accused Haswell and

03:47    2    Broadwell products, did you?

03:47    3         A.    No.     That would not be proper.

03:47    4         Q.    And for the Lake products, you never performed a

03:47    5    regression just on the products accused of infringing the '759?

03:47    6         A.    Similarly, no.     I did not.

03:47    7         Q.    And you never performed an analysis showing what the

03:47    8    impact was of nonaccused products on your regression analysis,

03:47    9    correct?

03:47   10         A.    That would not be valid.

03:47   11         Q.    And just so I'm clear with you on the terminology,

03:47   12    there are accused products and nonaccused products, correct?

03:47   13         A.    Yes.

03:47   14         Q.    And if I go to the first category of accused

03:47   15    products, within the accused products, there are accused

03:48   16    features and nonaccused features, correct?

03:48   17         A.    In effect, yes.

03:48   18         Q.    And so within the products accused of infringing,

03:48   19    there are many features that are not accused of infringing the

03:48   20    '373 or '759 patent, correct?

03:48   21         A.    That's right.

03:48   22         Q.    And can we refer to them as nonaccused features?

03:48   23         A.    If you'd like.     I think of it more as features and

03:48   24    characteristics and functionalities.

03:48   25         Q.    Okay.    So I'm going to talk about nonaccused


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03:48    1    features.    Intel's microprocessors have many nonaccused

03:48    2    features that contribute to performance, correct?

03:48    3         A.     I would agree.

03:48    4         Q.     Intel's microprocessors have many nonaccused features

03:48    5    that contribute power savings, correct?

03:48    6         A.     I would agree with that too.

03:49    7         Q.     Now, when you did your regression analysis, you

03:49    8    actually prepared a table at H. -- H.1 of your report.

03:49    9         MR. LEE:     And actually, Your Honor, I don't know when you

03:49   10    wanted to take a break, but I'm about to go into this report,

03:49   11    if this is the right time.

03:49   12         Why don't we -- why don't we keep going?

03:49   13    BY MR. LEE:

03:49   14         Q.     Turn in your binder to Tab 24.

03:49   15         Now, I'm going to ask you to go to attachment H.1A.            And

03:49   16    I'm only going to put it up on the jurors' screens, the Court

03:49   17    and counsel because VLSI has designated it confidential.

03:49   18         MS. PROCTOR:      We're -- objection to this being shown.

03:49   19         THE COURT:     I can't hear you.

03:49   20         MS. PROCTOR:      I'm just objecting to this being shown on

03:50   21    the screens at this point in the examination.

03:50   22         THE COURT:     I can't hear you.

03:50   23         MS. PROCTOR:      Your Honor, I apologize.       I object to this

03:50   24    being shown at this point in the examination on the screens.

03:50   25         MR. LEE:     It's the schedule from his report, Your Honor.


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03:50    1         THE COURT:     Well, we can limit it.      I assume your concern

03:50    2    is that anyone see it beyond the jury, correct?

03:50    3         MS. PROCTOR:      Well, I guess it depends what he's going to

03:50    4    ask, Your Honor, but that he -- yes, that anyone else see it

03:50    5    and also that it be shown to the jury.

03:50    6         THE COURT:     That he not show it to the jury?

03:50    7         MS. PROCTOR:      Well, I'll let him ask the question, Your

03:50    8    Honor.    Based on -- I want to hear the question he's going to

03:50    9    ask before he shows it to the jury, Your Honor.           I apologize.

03:50   10         THE COURT:     Well, let's not show it to anybody until we

03:50   11    hear the question, and then if we show it to anyone, we'll

03:50   12    limit it to the jury.

03:50   13    BY MR. LEE:

03:50   14         Q.     Now, turn, if you would, to Tab 24 in your binder.

03:51   15    Do you have that?

03:51   16         A.     Yes.   I'm there.

03:51   17         Q.     Do you find a copy of attachment H.1 A from your

03:51   18    expert report?

03:51   19         A.     Correct.

03:51   20         Q.     Do you recognize it?

03:51   21         A.     As a matter of fact, I do.

03:51   22         Q.     And that is one of the schedules that you attached to

03:51   23    your report, correct?

03:51   24         A.     Yes.   It's one of the tables.

03:51   25         Q.     Now, here, Your Honor, I would ask now to put it up


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03:51    1    on the jurors' screens and counsels' screen but not the public

03:51    2    screen.

03:51    3         THE COURT:     Okay.    Yes, sir.

03:51    4         MS. PROCTOR:    That's fine, Your Honor.

03:51    5         MR. LEE:     That's fine.

03:51    6    BY MR. LEE:

03:51    7         Q.    Do you have it before you?

03:51    8         A.    Yes.    I do.

03:51    9         Q.    All right.       Now, this is entitled "ARK Variable

03:51   10    Selection for Modeling," correct?

03:51   11         A.    Yes.

03:51   12         Q.    ARK is the Intel website that lists specification for

03:52   13    Intel products as you've told us before, correct?

03:52   14         A.    That's right.

03:52   15         Q.    So if the jurors look at the second column, it says,

03:52   16    "ARK Feature Name," correct?

03:52   17         A.    Yes.

03:52   18         Q.    And the -- as you've told us, the variables that you

03:52   19    use in your regression are based on the features listed on the

03:52   20    ARK website, correct?

03:52   21         A.    That's right.

03:52   22         Q.    And you compiled a list of the features from ARK, and

03:52   23    you then included some of them, and you excluded some of them

03:52   24    from your regression, correct?

03:52   25         A.    That's right.


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03:52    1         Q.     Now, if we look at the column all the way to the

03:52    2    right that says "Variable Considered," do you see that?

03:52    3         A.     I do.

03:52    4         Q.     This refers to whether the variable was considered or

03:52    5    not considered in your regression analysis, correct?

03:52    6         A.     No.

03:52    7         Q.     Well, when it says Variable Considered, when you say

03:53    8    yes, you included data for that variable, correct?

03:53    9         A.     This is part of the initial review of the data.         This

03:53   10    isn't the data that determines what factors go into the model.

03:53   11    This is a summary of the data.

03:53   12         Q.     Well, let me see what you said at your deposition.

03:53   13    Tab 1 of your binder, day one of your deposition, Page 195,

03:53   14    Lines 3 to 10, and we can bring it up on the screen if it's

03:53   15    easier for you, Dr. Sullivan.

03:53   16         A.     I'm also there, so either way.

03:53   17         MS. PROCTOR:      Mr. Lee, can you repeat -- Mr. Lee, can you

03:53   18    repeat the page, please?

03:53   19         MR. LEE:     Yes.   195, Lines 3 to 10.

03:53   20    BY MS. LEE:

03:53   21         Q.     Are you with me?

03:53   22         A.     Yes, I'm there.

03:53   23         Q.     Question:    "And when you list yes in that column,

03:54   24    that means you use that feature in your regression model,

03:54   25    correct?"


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03:54    1         Answer:     "It means I include data for that variable.

03:54    2    Although ARK often refers to these items and features, some of

03:54    3    them really are more like characteristics for other types of

03:54    4    reporting items.     They are not actually all features."

03:54    5         That was your answer, correct?

03:54    6         A.    Yes.     That's right.

03:54    7         Q.    And you stand by it?

03:54    8         A.    I do.

03:54    9         Q.    And when you say "no," that means that you do not

03:54   10    include data for that variable in your regression model,

03:54   11    correct?

03:54   12         A.    Well, in effect, it's whether it's ultimately

03:54   13    included, I think, is a better way to put it.          I think it's

03:54   14    fair to say "considered."

03:54   15         Q.    So whether it's ultimately considered, if it's no, it

03:54   16    means that it was ultimately not considered, correct?

03:54   17         A.    No.     I would not put it that way.      I would put it the

03:55   18    way I did a moment ago.

03:55   19         Q.    Well, let's see what you said in your deposition.

03:55   20    Again, Page 195, Line 24 to 196, Line 5.         It's right after what

03:55   21    we just talked about a few minutes ago.

03:55   22         "When you list 'no' in that column titled 'Variable

03:55   23    Considered,' that means you did not include the variable in the

03:55   24    regression model, correct?"

03:55   25         Answer:     "That is generally the intention," correct?


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03:55    1            A.   Exactly.

03:55    2            Q.   Now, if I look at the table that was before you and I

03:55    3    count up the yeses, there are 39 of them.           Does that sound

03:55    4    about right to you?

03:55    5            A.   It should be about that number.

03:55    6            Q.   Okay.    Now, we heard that Dr. Conte accuses Intel

03:55    7    Speed Shift of infringing the '759 patent, correct?

03:56    8            A.   My understanding is that the '759 patent does

03:56    9    implicate Speed Shift, yeah.

03:56   10            Q.   You were here for Dr. Conte's testimony yesterday,

03:56   11    were you not?

03:56   12            A.   No.     I was not.   I was listening via Zoom.

03:56   13            Q.   Speed Shift is listed in your attachment H.1A at Page

03:56   14    2, correct?

03:56   15            A.   It should be on the list.       I just don't know on what

03:56   16    page.

03:56   17            Q.   We're highlighting it on the list.         You have no doubt

03:56   18    that Speed Shift is what Dr. Conte accuses of infringement,

03:56   19    correct?

03:56   20            A.   That's the product that's accused, but the feature

03:56   21    that's implicated is the Speed Shift technology, as I

03:56   22    understand it.

03:56   23            Q.   And the --

03:56   24            A.   And yes.     It is on Page 2.

03:56   25            Q.   Fair enough.


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03:56    1         And the entry on your chart for whether Speed Shift was

03:56    2    considered in your analysis was no, correct?

03:56    3         A.    It was not included.

03:57    4         Q.    Right.    And you talked about a little bit of it on

03:57    5    your direct earlier today, correct?

03:57    6         A.    Yes.     I explained why.

03:57    7         Q.    But the one thing we can agree upon is the accused

03:57    8    feature, Speed Shift, was not considered in your analysis,

03:57    9    correct?

03:57   10         A.    Well, I considered it.       That's why it's listed here.

03:57   11    But it was not included in the regression model.

03:57   12         Q.    Okay.    Fair enough.    So you considered it, but you

03:57   13    didn't include it, correct?

03:57   14         A.    In the model.     That's right.

03:57   15         Q.    So let's look at a few things that you did include in

03:57   16    your model.    There's something called hyperthreading

03:57   17    technology.

03:57   18         MR. LEE:     Can we highlight that?

03:57   19    BY MR. LEE:

03:57   20         Q.    Do you see that, Dr. Sullivan?

03:57   21         A.    Yes.

03:57   22         Q.    Hyperthreading technology is not accused of

03:57   23    infringing the -- either of the two patents, correct?

03:58   24         A.    As far as I know, that's not implicated.          But I --

03:58   25    again, I'm approaching this not as an engineer --


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03:58    1         Q.     Okay.    But as far as you know, it's not been accused

03:58    2    of infringing, correct?

03:58    3         A.     Well, the product is.       And hyperthreading's in the

03:58    4    product.

03:58    5         Q.     Is the feature accused of infringing?

03:58    6         A.     That's not my understanding.

03:58    7         Q.     Now, there's also Intel's Identity Protection

03:58    8    Technology.     Do you see that?

03:58    9         A.     Yes.

03:58   10         Q.     And you know that identity protection technology,

03:58   11    particularly today, is important technology, correct?

03:58   12         A.     There are security aspects that are important.          And

03:58   13    it's, you know, debatable whether this is playing an important

03:58   14    role for customers or not.

03:58   15         Q.     And that was considered and included in your

03:58   16    analysis, correct?

03:59   17         A.     Yes.    I do.

03:59   18         Q.     But no one accuses that feature of infringing either

03:59   19    of the patents, correct?

03:59   20         A.     That's my understanding.

03:59   21         Q.     You also considered Intel's Trusted Execution

03:59   22    Technology, correct?

03:59   23         A.     Yes.    That too is a security feature.

03:59   24         Q.     And security features are really important today, are

03:59   25    they not?


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03:59    1           A.   Generally, they can be.       The role depends upon --

03:59    2           Q.   And you included -- I'm sorry.        I didn't mean to stop

03:59    3    you.

03:59    4           A.   Nothing.     I'm good.

03:59    5           Q.   And you included this feature.        You considered this

03:59    6    feature and included it in your regression analysis, correct?

03:59    7           A.   Yes.

03:59    8           Q.   But it's not accused of infringing either patent,

03:59    9    correct?

03:59   10           A.   That is my understanding.

03:59   11           Q.   Okay.

03:59   12           MR. LEE:     Your Honor, is it a good time to take the

03:59   13    afternoon break?

03:59   14           THE COURT:    Do you have more?

03:59   15           MR. LEE:     I have a little bit more, and I asked to use a

03:59   16    break to basically fix what I need to do.

03:59   17           THE COURT:    Absolutely.     I'm sure no one on the jury is

04:00   18    opposed to us taking a break.        And so -- and if they are,

04:00   19    they're not going to admit it in front of the other jurors.

04:00   20           So if you all would remember my instructions not to

04:00   21    discuss the case amongst yourselves.

04:00   22           Did you have a particular need?        Is ten minutes enough,

04:00   23    Mr. Lee?

04:00   24           MR. LEE:     Pardon, Your Honor?

04:00   25           THE COURT:    Is ten minutes enough?


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04:00    1            MR. LEE:     Ten minutes is great.

04:00    2            THE BAILIFF:    All rise.

04:00    3            (Jury exited the courtroom at 4:00.)

04:00    4            THE COURT:     Mr. Lee, is there something you needed take

04:00    5    up?

04:00    6            MR. LEE:     No, no.    I just thought it seemed like the right

04:00    7    time.

04:00    8            THE COURT:     Oh.     And anyone can be seated who wants to.

04:00    9    I'm just tired of sitting.

04:00   10            I anticipate -- how -- are you almost done with -- I don't

04:00   11    care.    Just trying to figure out the rest of the day.

04:01   12            MR. LEE:     I think probably 20 minutes and I'll be done.

04:01   13            THE COURT:     Redirect?

04:01   14            MS. PROCTOR:    Yes, Your Honor.

04:01   15            THE COURT:     I know the "yes."

04:01   16            (Laughter.)

04:01   17            THE COURT:     I was hoping for an amount of time.

04:01   18            MS. PROCTOR:    Hard to say.     Maybe ten to 15 minutes, Your

04:01   19    Honor, depending on how things go.

04:01   20            THE COURT:     It sounds to me like we'll be close to

04:01   21    5 o'clock.

04:01   22            Now, the question is whether or not you all wanted to

04:01   23    start your -- I'll leave this up to you, because -- Mr. Lee,

04:01   24    because if your witness wants to go today and we can get him

04:01   25    out of the way, and I think you said in under an hour, I'm


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04:01    1    happy to do that.       I'm also happy to break at 5:00.

04:01    2         MR. LEE:     Your Honor, I guess the question I have is --

04:01    3         THE COURT:     Oh.     I know we've still got -- they've still

04:01    4    got depositions.

04:01    5         MR. LEE:     They have depositions, and they have -- so

04:01    6    before I think we would want them to rest.

04:01    7         THE COURT:     Absolutely.     You'd think I'd never been in a

04:02    8    trial.     I'm sorry.    I forgot that there's more to come.

04:02    9         So what we'll do is this.        Where do the -- does

04:02   10    plaintiff's counsel have any -- is Dr. Sullivan the last

04:02   11    witness?

04:02   12         MS. PROCTOR:       Yes, Your Honor.

04:02   13         THE COURT:     Okay.    So do you all have depositions ready to

04:02   14    go today, or would it be easier for you if we started in the

04:02   15    morning?    I'll do whatever.

04:02   16         MS. PROCTOR:       I believe we do have some plays ready to go

04:02   17    today.

04:02   18         (Conference between counsel.)

04:02   19         MR. HEINRICH:        I think it's going to be easier to do it in

04:02   20    the morning.

04:02   21         THE COURT:     Mr. Lee, are you okay with that?

04:02   22         MR. LEE:     That's fine with us, Your Honor.

04:02   23         THE COURT:     Okay.    So here's what -- we'll finish with

04:02   24    Dr. Sullivan whenever that happens.         Then you'll have the rest

04:02   25    of the evening to just take off and have a cozy fun evening.


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04:02    1            MR. LEE:     Actually, for those of us from Boston, to enjoy

04:02    2    the weather is what we'll do.

04:02    3            THE COURT:     And then in the morning we'll start with --

04:02    4    the depositions will be ready to go.         But I haven't seen any

04:03    5    deposition designations.        If there are -- if you all are

04:03    6    expecting me to rule on objections to depositions, I don't

04:03    7    think -- if you've given them to my clerks, I haven't seen

04:03    8    them.

04:03    9            MS. PROCTOR:    We will submit those to you if there are any

04:03   10    remaining objections after tonight, Your Honor.

04:03   11            THE COURT:     Okay.   I would encourage you -- I would

04:03   12    strongly encourage you -- it is highly unlikely I will sustain

04:03   13    any objections in a deposition unless it was something very

04:03   14    substantive.       You know, something -- in other words, something

04:03   15    I would sustain if the person were here.

04:03   16            I get a lot of irrelevant, duplicative, all that.           You can

04:03   17    presume I would not sustain those objections in either

04:03   18    direction of any deposition.        But if there's something in the

04:03   19    deposition that you really believe was inappropriate and the

04:03   20    jury shouldn't get to hear it, let me know and we can take that

04:04   21    up in the morning and I'll rule on that.          Otherwise, you should

04:04   22    plan on just playing the depositions.

04:04   23            MS. PROCTOR:    Yes, sir.

04:04   24            THE COURT:     And then how long do we have on depositions?

04:04   25            MS. PROCTOR:    It'll be relatively short, Your Honor.


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04:04    1    Maybe half an hour at the most, I think.

04:04    2            THE COURT:     Okay.   Then we'll have -- I'll take up your

04:04    3    motions.     And then you should have your witnesses prepared to

04:04    4    go.

04:04    5            MR. LEE:     And our plan was, Your Honor, to make the

04:04    6    motions briefly and then file something in writing to amplify

04:04    7    them.

04:04    8            THE COURT:     That's absolutely fine.

04:04    9            MR. LEE:     Thank you, Your Honor.

04:04   10            THE COURT:     Okay.   We'll come back in just a few minutes.

04:04   11            (Recess taken from 4:04 to 4:14.)

04:14   12            THE BAILIFF:    All rise.

04:14   13            THE COURT:     Please remain standing for the jury.

04:15   14            (The jury entered the courtroom at 4:14.)

04:15   15            THE COURT:     Thank you.   You may be seated.

04:15   16            Mr. Lee, you may resume.

04:15   17            MR. LEE:     Thank you, Your Honor.

04:15   18            (Off-the-record discussion.)

04:15   19            THE COURT:     Mr. Lee, now that we have a witness back, you

04:15   20    may proceed.

04:15   21            (Laughter.)

04:15   22            MR. LEE:     I will, Your Honor.

04:15   23    BY MR. LEE:

04:15   24            Q.   All set, Dr. Sullivan?        All set?

04:15   25            A.   Oh, yes.


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04:15    1         Q.    Okay.    Now, Dr. Sullivan, I want to go back to your

04:16    2    model and the point in which you multiplied the regression

04:16    3    coefficients by the data that Dr. Conte gave you.          Do you

04:16    4    recall that?

04:16    5         A.    Yes.     The coefficient for clock speed.

04:16    6         Q.    Yes.     Now, Dr. Conte's tests for the '373 patent

04:16    7    measured power savings provided by the patent, correct?

04:16    8         A.    Yes.

04:16    9         Q.    And Dr. Conte's tests for the '759 patent measured --

04:16   10    or claimed to measure performance improvement provided by the

04:16   11    patent, correct?

04:16   12         A.    Yes.

04:16   13         Q.    But the regression model you used determines the

04:16   14    specific relationship between price and frequency, correct?

04:16   15         A.    Yes.     That's right.

04:16   16         Q.    Your regression model does not determine the

04:16   17    relationship between price and power savings, correct?

04:17   18         A.    It measures the benefit but not those separately.

04:17   19         Q.    Right.    There's no separate variable in your

04:17   20    regression analysis for a performance benchmark, correct?

04:17   21         A.    That's right.

04:17   22         Q.    And so in your damages model, you assume that a

04:17   23    1 percent increase in power savings is valued as a 1 percent

04:17   24    increase in frequency, correct?

04:17   25         A.    That's right.    And that's a minimum threshold.


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04:17    1         Q.    Right.    And you assume that a 1 percent increase in

04:17    2    performance is valued as the same as a 1 percent increase in

04:17    3    frequency, correct?

04:17    4         A.    At least as much.      That's right.

04:17    5         Q.    And you rely upon Dr. Conte for those assumptions,

04:17    6    correct?

04:17    7         A.    I do.    I mean, as a matter of economics and economic

04:17    8    principles, I rely upon that as well.

04:17    9         Q.    Well, do you know if there's any relationship among,

04:18   10    for instance, frequency and voltage and speed?

04:18   11         A.    Yes.

04:18   12         Q.    Okay.    And is there a 1:1 relationship?

04:18   13         A.    Not as I understand it from an engineering

04:18   14    perspective.    That's why I approached this as an economist.

04:18   15         Q.    But the assumption of 1:1 came from Dr. Conte,

04:18   16    correct?

04:18   17         A.    He provided support for that notion, yes.

04:18   18         Q.    Okay.    Now, I want to move to a different subject

04:18   19    which is the acquisition of patents by VLSI, in particular the

04:18   20    acquisition of the two patents in this case, okay?

04:18   21         A.    Okay.

04:18   22         Q.    Now, if you turn to Volume 1, Tab 7.         And let me ask

04:19   23    it this way first, Dr. Sullivan.        In preparing your lengthy

04:19   24    report, you reviewed some of the documents by which VLSI

04:19   25    acquired patents from NXP, correct?


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04:19    1          A.   I do recall a couple of documents in that regard.

04:19    2          Q.   Sure.     And if you turn to Volume 1, Tab 7, you'll

04:19    3    find a patent purchase and cooperation agreement.           Do you see

04:19    4    it?

04:19    5          A.   Yes, I do.

04:19    6          Q.   This is Defendant's Exhibit 40.         And if it helps --

04:19    7    don't put it on the screen quite yet.         And if it helps, it is

04:19    8    cited in your expert report at Paragraph 17, Footnote 7.

04:20    9          A.   That sounds right.

04:20   10          Q.   Okay.     Now, let's put D-40 on the screen, but not for

04:20   11    the public, just for the members of the jury, the Court and

04:20   12    counsel.

04:20   13          MS. PROCTOR:    And, Your Honor, I want to preserve

04:20   14    objections to any use of other sections of this that are not

04:20   15    cited in the report or the use of it for other purposes.

04:20   16          THE COURT:     Let's wait and see what Mr. Lee does.         And if

04:20   17    he does something you're unhappy with, make an objection.

04:20   18    BY MR. LEE:

04:20   19          Q.   The agreement is dated June 30, 2016, correct?

04:20   20          A.   Yes.

04:20   21          Q.   And having reviewed the document, you know that VLSI

04:20   22    purchased from NXP a number of patent families, correct?

04:20   23          A.   That is my recollection.

04:20   24          Q.   In fact, if you turn to Exhibit A, Page 37, there's a

04:21   25    list of patent families, correct?        Over the next several pages.


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04:21    1         A.     Yes.

04:21    2         Q.     I've counted them up.       There are 21.    Do you have any

04:21    3    reason to disagree?

04:21    4         A.     No.    I have not done that count, but I'll take your

04:21    5    word for it.

04:21    6         Q.     But you know from your own review the '373 and '759

04:21    7    patents were not included on this list, correct?

04:21    8         A.     That sounds familiar.

04:21    9         Q.     Turn if you would to Volume 1, Tab 8 in your

04:21   10    notebook.    And do you find Defendant's Exhibit -- or D-119?

04:22   11         A.     Yes.

04:22   12         Q.     This is an amendment to the purchase agreement

04:22   13    between VLSI and NXP, correct?

04:22   14         A.     That's my understanding.

04:22   15         Q.     And you reviewed this as well and referred to it at

04:22   16    the same place in your report, correct?

04:22   17         A.     Yes.

04:22   18         Q.     And it's dated December 2017, correct?

04:22   19         A.     Yes.    December 4th.

04:22   20         Q.     And this agreement identifies more patents that VLSI

04:22   21    has purchased from NXP, correct?

04:22   22         A.     I do not recall the specifics.

04:22   23         Q.     Turn, if you would, to Annex C, which is at Page 32.

04:22   24         A.     I see that.

04:22   25         Q.     And if you go from Annex C to Annex D, you will see


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04:23    1    the patents that had been previously selected and patents that

04:23    2    were being selected now.

04:23    3         A.    I see the headings.

04:23    4         Q.    And I've counted them up and there are 137 patent

04:23    5    families that are being acquired at this moment in time.            Any

04:23    6    reason to disagree?

04:23    7         A.    I'm not sure that's right.        I would have to go back

04:23    8    and review.     I have not thought about this agreement in the way

04:23    9    you're asking.

04:23   10         Q.    Now, the '373 patent is not included on that list,

04:23   11    correct?

04:23   12         A.    Which list?

04:23   13         Q.    The two lists, Annex C and Annex D.

04:23   14         A.    I can take your word for it, or I can take a look

04:24   15    through here.

04:24   16         Q.    Well, do you know of the precise agreement that

04:24   17    resulted in the purchase of the '373 and '759 agreement?

04:24   18         A.    I'm sorry.    I did not follow.

04:24   19         Q.    All right.    Do you know which agreement between NXP

04:24   20    and VLSI resulted in the purchase of the '373 patent and the

04:24   21    '759 patent?

04:24   22         A.    Not sitting here at the moment.

04:24   23         Q.    All right.    Now, but you have reviewed this

04:24   24    agreement, as you said in your report, correct?

04:24   25         A.    Yes.    That's why I had a report.


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04:24    1         Q.     And if I go to Page 4, Section 1(n), there is the

04:24    2    amount that's being paid.       Now, we can agree that the patents

04:24    3    that are being sold are on Annex C and Annex D, correct?

04:25    4         A.     No.     I mean, I can take your word for it, but I have

04:25    5    not --

04:25    6         Q.     I'll represent to you that Mr. Stolarski has

04:25    7    testified that those are the patents that were transferred.

04:25    8         A.     Okay.

04:25    9         Q.     And the price for all of those patent families, which

04:25   10    as I said -- I suggested were about 100-plus, was the number

04:25   11    that I'm going to highlight now.         I'm not going to say the word

04:25   12    because the jurors will have this back in the jury room, this

04:25   13    actual document.

04:25   14         So for multiple patents from NXP sold to VLSI and multiple

04:25   15    patent families, the price was the number that's on the screen

04:25   16    right now in this exhibit, correct?

04:25   17         A.     My recollection is that is a partial payment or a

04:26   18    partial price.

04:26   19         Q.     You think that that is the partial -- how much more

04:26   20    was paid?

04:26   21         A.     If I recall -- and again, I haven't looked at this

04:26   22    recently, but if I recall the agreement and transaction is

04:26   23    structured in part is an upfront payment and part as a share of

04:26   24    future royalties.

04:26   25         Q.     Sure.    How much have they gotten in future royalties?


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04:26    1         A.      Thus far, I believe that number is zero, but of

04:26    2    course that number could be different from zero.

04:26    3         Q.      Right.    The amount that has actually been paid by

04:26    4    VLSI to NXP for all of these patent families in this actual

04:26    5    transaction is the number on the screen right now, correct?

04:26    6         A.      I could not verify the exact amounts for you.

04:26    7         Q.      And you don't know of an additional penny that's been

04:26    8    paid beyond that, correct?

04:27    9         A.      I have not performed such an audit.       I'm not

04:27   10    disputing.    I'm just -- I can't validate.

04:27   11         Q.      Okay.    Well, let's turn if we could to Tab 9 of your

04:27   12    binder to PTX-4267.

04:27   13         A.      I'm sorry.   Which tab?

04:27   14         Q.      Tab 9 of your binder.     Do you have that before you,

04:27   15    Dr. Sullivan?

04:27   16         A.      Yes.

04:27   17         Q.      This is Amendment 2 to the patent purchase agreement

04:27   18    between VLSI and NXP, correct?

04:27   19         A.      Yes.

04:27   20         Q.      And again, this is a document that you reviewed,

04:27   21    correct?

04:27   22         A.      This is not immediately looking familiar, but that

04:27   23    doesn't mean I have not reviewed it.

04:27   24         Q.      Well, I'll represent to you that in your

04:27   25    Attachment A-3a, at Page 31, you refer specifically to this


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04:28    1    document.

04:28    2           A.   Okay.    I'll take your word for it.

04:28    3           Q.   Okay.    Now, it's on the screen now.          It's PTX-4267.

04:28    4    You do know that this is the agreement under which VLSI finally

04:28    5    bought the '373 and '759 patents, correct?

04:28    6           A.   I do not have that personal knowledge.           I'll take

04:28    7    your word for it.

04:28    8           Q.   Well, and you reviewed Mr. Stolarski's deposition?

04:28    9           A.   I have looked at parts of that.         Yes.

04:28   10           Q.   And you know that he testified that this was the

04:28   11    amendment that led to the sale of these two patents to VLSI,

04:28   12    correct?

04:28   13           A.   He may have.

04:28   14           Q.   Now, the agreement was entered into in December of

04:28   15    2018, correct?

04:28   16           A.   I see that here.

04:28   17           Q.   Four months later this lawsuit was filed, correct?

04:28   18           A.   Roughly.

04:28   19           Q.   Okay.    Now, just to be sure, if you turn to

04:29   20    Exhibit D-44 at Tab 10 of your binder.          Do you have that before

04:29   21    you?

04:29   22           A.   Yes.

04:29   23           Q.   Exhibit D-44 is a list showing the third set of

04:29   24    patents that VLSI bought from NXP, correct?

04:29   25           A.   I do not know.


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04:29    1         Q.    Well, if we -- you see the specific reference to

04:29    2    Amendment No. 2, which you in fact reviewed, correct?

04:29    3         A.    I do not recall Amendment No. 2.        I may have reviewed

04:29    4    it or seen it.    I just don't recall it.

04:29    5         Q.    This is the page of your report that I specifically

04:29    6    referred you to, where you referred to this document by Bates

04:29    7    number.   Do you recall that just a few minutes ago?

04:29    8         A.    So you referenced Attachment A-3a to my report, which

04:30    9    is a list of all documents that I had access to for

04:30   10    consideration.    That's not a set of documents that's

04:30   11    demonstrating I have reviewed all those documents.

04:30   12         Q.    Oh, so you had access to them, but you didn't review

04:30   13    all of them?

04:30   14         A.    I did my best to consider as much information as I

04:30   15    could, but I am human and I did not read every document from

04:30   16    cover to cover.

04:30   17         Q.    Well, let's look at D-44 to see if it refreshes your

04:30   18    recollection that in fact this is the time when the '759 and

04:30   19    '373 patent were transferred.

04:30   20         MR. LEE:     At Page 2, could I have on the screen D-44?

04:30   21    BY MR. LEE:

04:30   22         Q.    So we're now near the end of 2018.        Do you have the

04:30   23    time frame in mind?

04:30   24         A.    I have that time frame.

04:30   25         Q.    And of the patents that VLSI purchased from NXP, one


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04:30    1    of them is listed -- one of them that is listed is the '759

04:31    2    patent, correct?

04:31    3          Do you see it highlighted?

04:31    4          A.   Yes.    I see that.

04:31    5          Q.   And if we go down to Page 5, we see that one of the

04:31    6    other patents that has been selected is '373, correct?

04:31    7          A.   I see that listed.

04:31    8          Q.   And there are a number of other patents and patent

04:31    9    families listed, correct?

04:31   10          A.   Yes.

04:31   11          Q.   By my count, there are 18 patent families in total.

04:31   12    Does that seem about right to you?

04:31   13          A.   I have not counted them, but I'll take your word for

04:31   14    it.

04:31   15          Q.   So let's go back to PTX-4267 and put it back on the

04:31   16    screen?

04:32   17          MR. LEE:    Not for the public, Your Honor.       Just for the

04:32   18    jurors, the Court and counsel.

04:32   19    BY MR. LEE:

04:32   20          Q.   And I'm going to go to Page 7, and I want to focus on

04:32   21    what in 2018 VLSI paid to NXP for the two patents in the case

04:32   22    plus 16 other patent families.

04:32   23          I'm putting on the screen now Paragraph 1(a).          Do you see

04:32   24    it?

04:32   25          A.   Yes.    I see it.


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04:32    1            Q.   Okay.    And if we go down to what's being paid for

04:32    2    this purchase, it's in 1(a)(ii), and I'm now highlighting the

04:32    3    number that is being paid by VLSI to NXP for these two patents

04:33    4    plus others, correct?

04:33    5            A.   Well, I'm not so sure about that.         As I mentioned

04:33    6    earlier, there's -- the way the transaction, as I understand

04:33    7    it, is arranged is for certain initial payments to be made plus

04:33    8    a partnership.       I think they call it a cooperation agreement,

04:33    9    whereby then there are other payments that are made to NXP as

04:33   10    well.

04:33   11            Q.   Well, you reviewed the Chastain deposition, did you

04:33   12    not?

04:33   13            A.   Yes.    I have --

04:33   14            Q.   And you know that --

04:33   15            A.   -- reviewed pieces of that.

04:33   16            Q.   You know that Chastain testified that the total price

04:33   17    of the agreement is the number that I've highlighted here,

04:33   18    correct?

04:33   19            A.   I could not validate that for you.

04:33   20            Q.   You don't know one way or another?

04:33   21            A.   I do not have somebody else's deposition committed to

04:33   22    memory.

04:33   23            Q.   I'm just asking about a deposition you reviewed.

04:34   24            Do you recall that from reviewing that deposition, that

04:34   25    the deponent, Chastain, was very specific about the amount that


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04:34    1    was paid for the '373 the '759 and all of these other patents?

04:34    2         A.      I do not have that specific recollection.

04:34    3         Q.      All right.   And you can't tell us one way or another

04:34    4    whether the number that's highlighted on the screen is the

04:34    5    amount that in fact has been paid and the only amount that has

04:34    6    been paid?

04:34    7         A.      Well, I think we were establishing earlier that there

04:34    8    were other amounts that were paid.       But under this amendment, I

04:34    9    cannot validate that for you.      That's not my role.

04:34   10         Q.      Okay.   Now, you said that there might be some other

04:34   11    amounts paid if amounts were recovered under the -- for the

04:34   12    patents, correct?

04:34   13         A.      If there are royalties or other payments made for the

04:35   14    patents, then yes.     My understanding is that a substantial

04:35   15    share of that goes to NXP.

04:35   16         Q.      And amounts go to other folks as well, correct?

04:35   17         A.      Oh, I do recall some testimony earlier in this case

04:35   18    on that point.

04:35   19         Q.      Well, I'm not going to ask you about the other folks

04:35   20    because I'm going to come to that in Mr. Stolarski's deposition

04:35   21    testimony.

04:35   22         But I am going to ask you this:        It's true, is it not,

04:35   23    that Mr. Stolarski, who was here on Monday, gets 3.5 percent of

04:35   24    the recovery, of any amounts recovered, for the patents

04:35   25    licensed to VLSI -- sold by NXP to VLSI?


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04:35    1         Let me state it again so it's clear on the record.

04:35    2         It's true, is it not, that Mr. Stolarski gets 3.5 percent

04:35    3    of any recovery under the two patents that are in litigation

04:36    4    here, correct?

04:36    5         A.    I do not know.

04:36    6         Q.    All right.    You have -- you've read his deposition

04:36    7    and you still don't know that?

04:36    8         A.    That is correct.

04:36    9         Q.    3.5 percent of the damages number you gave to the

04:36   10    jurors would be a very, very large number, correct?

04:36   11         MS. PROCTOR:    And I want to object that that misstates the

04:36   12    record and mischaracterizes the evidence.        And the prior

04:36   13    question as well.

04:36   14         THE COURT:     I don't know what record it misstates.

04:36   15         MS. PROCTOR:    He's misstating the documents relating to

04:36   16    Mr. Stolarski's --

04:36   17         THE COURT:     Well, if so, you can clarify that with the

04:36   18    witness on cross.

04:36   19    BY MR. LEE:

04:36   20         Q.    The best person to hear about this from would be

04:36   21    Mr. Stolarski, right?

04:36   22         A.    I do not know.

04:36   23         Q.    Now, I just want to correct one thing.         I think you

04:36   24    asked me about Mr. Waxler at NXP.       And I think I may have

04:37   25    suggested that he was at NXP at the time of his deposition.         To


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04:37    1    be accurate, he had been at NXP but was no longer there, but

04:37    2    that doesn't change the answers to your questions, correct?

04:37    3         A.    No.

04:37    4         MR. LEE:     Okay.    Thank you, Your Honor.     Nothing further.

04:37    5         THE COURT:     Redirect?

04:37    6         MS. PROCTOR:     Thank you, Your Honor.

04:37    7                               REDIRECT EXAMINATION

04:37    8    BY MS. PROCTOR:

04:37    9         Q.    Hi, Dr. Sullivan.

04:37   10         A.    Good afternoon.

04:37   11         Q.    So can we go back to your Slide 712, and maybe

04:38   12    Mr. Simmons can help us pull that up.

04:38   13         And I believe you were asked about -- this is the slide on

04:38   14    the Georgia-Pacific factors.       There we go.     I believe you were

04:38   15    asked about Factor 10.       Do you recall that?

04:38   16         A.    Yes.    I do.

04:38   17         Q.    And what is covered by Factor 10 of the

04:38   18    Georgia-Pacific factors?

04:38   19         A.    Well, the last part of it, I think, is the most

04:38   20    telling.   It is the benefits to those who have used the

04:38   21    invention, and here that -- those who have used the invention

04:38   22    as alleged is Intel, and, thus, Factor 10 is relating to the

04:38   23    use of the invention by Intel.

04:38   24         Q.    So Factor 10 is not limited to uses by the licensor?

04:38   25         A.    Correct.


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04:38    1         Q.    And what does the statute tell us about which uses

04:38    2    are relevant in calculating damages here?

04:38    3         A.    According to --

04:38    4         MR. LEE:     Your Honor, I object, Your Honor.       This is a

04:39    5    legal question.    What does the statute tell us?        That's for

04:39    6    Your Honor, not for the witness.

04:39    7         THE COURT:     Could you rephrase the question?

04:39    8         MS. PROCTOR:    Sure.

04:39    9    BY MS. PROCTOR:

04:39   10         Q.    You testified earlier that your -- that your

04:39   11    calculation of damages is based on the use of the invention to

04:39   12    Intel; is that right?

04:39   13         A.    Yes.    So I have performed damages analyses and

04:39   14    reasonable royalties in many cases, and my understanding is

04:39   15    that the proper framework is to evaluate the royalty based upon

04:39   16    the use of the technology by the alleged infringer.

04:39   17         Q.    So in your view, the relevant benefit here is the

04:39   18    benefit that Intel's obtaining from this technology?

04:39   19         A.    Yes.    Exactly.

04:39   20         Q.    And in your experience, is the purchase price of a

04:39   21    patent relevant to a proper damages analysis?

04:39   22         A.    Typically not.     Because a purchase does not reflect

04:40   23    the use of the technology by another entity, and in particular

04:40   24    recognizing that in many or most instances that information is

04:40   25    highly confidential is not known.


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04:40    1         Whether there's infringement, the likelihood of

04:40    2    infringement, the extent of use, which products, what the sales

04:40    3    are, all of those things are confidential.          So patent purchases

04:40    4    typically do not reflect that kind of value.

04:40    5         Q.    So, for example, Mr. Lee asked you about some patent

04:40    6    acquisition documents.      Do you remember that?

04:40    7         A.    Yes.

04:40    8         Q.    And at the time of those agreements, did NXP have

04:40    9    evidence about the value of Intel's use of the '373 and '759

04:40   10    patents?

04:40   11         A.    No.    That would not be available because again, that

04:41   12    would be based upon confidential information of Intel that is

04:41   13    only available through, you know, a court proceeding such as

04:41   14    this and it's still maintained confidential.

04:41   15         Q.    So that's right actually.       We here in this room,

04:41   16    especially those of us who can see the screen, know things that

04:41   17    even NXP does not know to this day, right?

04:41   18         A.    That is correct.

04:41   19         Q.    And in fact, no one from NXP is allowed to see the

04:41   20    screens that the jury is seeing today, right?

04:41   21         A.    That is my understanding.

04:41   22         Q.    And so is it fair to say that a patent acquisition

04:41   23    deal like that where there's no actual ability to access

04:41   24    confidential information about the patent's value is akin to

04:41   25    that rookie contract you were talking about?


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04:41    1         A.    Yes.   I think the analogy with Tom Brady and Patrick

04:41    2    Mahomes is reasonably fitting for the situation.

04:41    3         Q.    So I want to go back and talk just a little bit

04:42    4    briefly about your regression analysis again.         Has regression

04:42    5    analysis generally been used in connection with real-world

04:42    6    licensing negotiations?

04:42    7         A.    Yes.   It has.   Now I have used, personally used

04:42    8    regression analysis in helping companies with their license

04:42    9    negotiations and entering into agreements at least a dozen

04:42   10    times and, you know, I recognize -- I'm an economist so that's

04:42   11    often what I'm called upon to do.

04:42   12         I do recognize that across all licensing negotiations

04:42   13    that's not typical, because oftentimes there's not access to

04:42   14    the confidential information or the market data that would be

04:42   15    necessary as inputs to that type of an analysis.

04:42   16         Q.    So oftentimes in a licensing negotiation you wouldn't

04:42   17    have access to the information you would need to do the type of

04:43   18    regression analysis that you did here; is that right?

04:43   19         A.    That's right.

04:43   20         Q.    And your regression model absolutely relies on

04:43   21    confidential Intel materials that, as we said, are still not

04:43   22    available to companies like NXP, right?

04:43   23         A.    That's right.    You know, the key piece of the

04:43   24    regression is built upon the actual sales transactions, the 6.5

04:43   25    million sales transactions from Intel's data, and that is


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04:43    1    highly confidential to Intel and that is not available, you

04:43    2    know, outside of this.

04:43    3            Q.   And is that why when you testified earlier that you

04:43    4    weren't surprised that certain people may not have been able to

04:43    5    use regression in their licensing negotiations?             Is that why

04:43    6    it's related to the confidential information and the access to

04:43    7    that?

04:43    8            A.   That is a key piece of it.

04:43    9            Q.   So in connection with your specific regression,

04:44   10    Mr. Lee showed you a number of features and suggested that you

04:44   11    didn't consider certain of those features like Speed Shift.               Do

04:44   12    you remember that?

04:44   13            A.   I do.

04:44   14            Q.   And is that accurate?

04:44   15            A.   No.     That's not accurate.    You know, clearly I

04:44   16    considered all of these features.

04:44   17            It -- you'll probably recall from my testimony earlier

04:44   18    today that it would not be appropriate to include the feature,

04:44   19    Speed Shift, along with the benefit of the feature.             If you do

04:44   20    so, that's double counting and that results in duplicative

04:44   21    effects and thus dilutes the effect.

04:44   22            It's, you know, very similar to the car analogy where if

04:44   23    you have the lightning bolt technology, customers care about

04:44   24    the benefits, not the lightning bolt itself.            All right?   So

04:44   25    one -- the right way to measure its benefits is to look at the


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04:44    1    benefits it has on fuel efficiency, on price, which is in

04:45    2    effect how I went about my analysis here.

04:45    3         Q.    So in your analysis here, you focused on valuing the

04:45    4    benefits that the patents provide to Intel's products?

04:45    5         A.    Exactly.    Customers care about the benefits, and

04:45    6    that's the focus of the work that I did.

04:45    7         Q.    Now, Mr. Lee also asked about some nonaccused

04:45    8    features that you included in your regression.         Why did you

04:45    9    include features that are not accused of infringement in that

04:45   10    regression model that you built?

04:45   11         A.    Well, it's essential to do so because I wanted to

04:45   12    separate out the effects of clock speed and the benefits of the

04:45   13    technology separate and apart from all of the other features

04:45   14    and functionalities.

04:45   15         I precisely did that so that when I developed the

04:45   16    royalties, it's isolated just to the benefits of the

04:45   17    technology.    And you can see that in part because there's the

04:46   18    coefficient on clock speed, and then I have, you know, the

04:46   19    non-accused, you know, functionalities.

04:46   20         But not only that, I only then apply the results, you

04:46   21    know, that coefficient of 0.764 to -- only to the sales of the

04:46   22    accused products, right?      So it's limited to the accused

04:46   23    products, so I take that result and narrowly apply it.

04:46   24         Q.    So you included some of those nonaccused features in

04:46   25    the model as control factors just so that you could make sure


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04:46    1    that you weren't counting them in your damages; is that fair?

04:46    2         A.     Exactly.

04:46    3         Q.     Now, just to be super clear on that point, do the

04:46    4    ultimate damages you calculated here as reasonable royalties

04:46    5    actually include value from those nonaccused features?

04:46    6         A.     No.   And that's by design.       By using the benefits of

04:46    7    the patents as determined by Professors Conte and Annavaram, by

04:47    8    using the coefficient on clock speed, those items ensure that

04:47    9    the royalty is isolated to the benefits of the patented

04:47   10    technology separate and apart from all other features and

04:47   11    functionalities.

04:47   12         Q.     Thank you.

04:47   13         You were also asked some questions about real-world

04:47   14    licenses.    Are there any differences between negotiating in the

04:47   15    real world and negotiating in the hypothetical negotiation, or

04:47   16    in calculating damages in the hypothetical negotiation?

04:47   17         A.     There's a number of differences.         I think one of the

04:47   18    key differences is that at the hypothetical negotiation for

04:47   19    that damages framework, as I mentioned earlier, it's as if one

04:47   20    is playing cards with all of the cards face up where everybody

04:47   21    knows all of the information, and, of course, in a real-world

04:47   22    negotiation, the parties are holding their cards very close to

04:48   23    the vest so that that information isn't known.           And they try to

04:48   24    use those information differences to gain an advantage in the

04:48   25    negotiation.


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04:48    1         But here, when calculating a reasonable royalty, that

04:48    2    information is all known to the parties.

04:48    3         Q.    So here, what real-world facts do you think are most

04:48    4    relevant to calculating a reasonable royalty?

04:48    5         A.    Well, I think there's several.       You know, in my view,

04:48    6    looking at the tested benefits of the technology, that

04:48    7    allows -- that uses Intel's confidential information to

04:48    8    identify specifically the benefits of the technology,

04:48    9    technically speaking.

04:48   10         Secondly is the actual sales data.        And that enables a

04:48   11    determination of what the effect is on price and then being

04:48   12    able to use, again, the -- you know, the financial data to

04:48   13    determine the appropriate adjustments for costs and relative

04:49   14    contributions, and ultimately what that provides is a

04:49   15    determination of what is the value to Intel as a result of

04:49   16    using the technology specific to this technology.

04:49   17         MS. PROCTOR:    Okay.     I'll pass the witness.

04:49   18         Thank you, Dr. Sullivan.

04:49   19         THE COURT:     Mr. Lee?

04:49   20                             RECROSS-EXAMINATION

04:49   21    BY MR. LEE:

04:49   22         Q.    Just a few questions, Dr. Sullivan.

04:49   23         MR. LEE:     Could I have PDX-7.12 on the screen?

04:49   24    BY MR. LEE:

04:49   25         Q.    It's your Georgia-Pacific chart.


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04:49    1          Are you with us?

04:50    2          A.    Yes.

04:50    3          Q.    So I want to examine your testimony about the

04:50    4    relevance of real-world agreements to the hypothetical

04:50    5    negotiation you just talked about with Ms. Proctor, correct?

04:50    6          A.    I did.

04:50    7          Q.    Georgia-Pacific Factor No. 1:        "The royalties

04:50    8    received by the patentee for the licensing of the

04:50    9    patent-in-suit proving or tending to prove an established

04:50   10    royalty."    Have I read that correctly?

04:50   11          A.    You did.

04:50   12          Q.    That's referring to real-world agreements, isn't it?

04:50   13          A.    It's referring to royalties, if they exist.             That

04:50   14    would be received by the patent holder.

04:50   15          Q.    Real-world agreements?

04:50   16          A.    It can be, yes.

04:50   17          Q.    Georgia-Pacific Factor No. 2:        "The rates paid by the

04:50   18    licensee for the use of other patents comparable to the

04:50   19    patent-in-suit," that refers to real-world agreements, doesn't

04:50   20    it?

04:50   21          A.    Real-world royalty rates.

04:51   22          Q.    Now, if we go down to No. 8:        "The established

04:51   23    profitability of the product made under the patent, the

04:51   24    commercial success, and its current popularity."

04:51   25          Do you see that?


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04:51    1          A.   Yes, I do.

04:51    2          Q.   That's not limited to the accused infringer, is it?

04:51    3          A.   Not limited.     But it's certainly relevant.

04:51    4          Q.   Right.    And it doesn't exclude the patent owner, does

04:51    5    it?

04:51    6          A.   Not necessarily.

04:51    7          Q.   And if I go to No. 9, "the utility and advantages of

04:51    8    the patent property over the old modes and devices, if any,

04:51    9    that had been used for working out similar results."               Do you

04:51   10    have that in mind?

04:51   11          A.   I do.

04:51   12          Q.   That is a reference to real-world utility and

04:51   13    advantages of the patent, correct?

04:51   14          A.   Yes.     Exactly like--

04:51   15          Q.   It's not limited to the accused infringer, correct?

04:51   16          A.   I'm sorry.     I did not hear.

04:51   17          Q.   It's not limited to the accused infringer, correct?

04:51   18          A.   Not limited.     No.

04:51   19          Q.   It could include the patent owner, correct?

04:52   20          A.   It could.    In theory.

04:52   21          Q.   And Georgia-Pacific Factor No. 10 refers explicitly

04:52   22    to products or -- withdrawn.

04:52   23          It refers explicitly to the commercial embodiment as owned

04:52   24    and produced by the licensor, correct?

04:52   25          A.   Yes.     That's right.


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04:52    1            Q.   That's the patent owner, correct?

04:52    2            A.   Yes.

04:52    3            Q.   So we've looked at five of the Georgia-Pacific

04:52    4    Factors that don't exclude activity by the patent owner, do

04:52    5    they?

04:52    6            A.   That's right.

04:52    7            Q.   And that referred to events occurring in the real

04:52    8    world with real products and real agreements, correct?

04:52    9            A.   All except for the last part, but yes.

04:52   10            MR. LEE:    Okay.   Nothing further, Your Honor.

04:52   11                           FURTHER REDIRECT EXAMINATION

04:52   12    BY MS. PROCTOR:

04:53   13            Q.   Very briefly, Dr. Sullivan.        Thank you for your

04:53   14    patience.

04:53   15            MS. PROCTOR:    Can we pull up the Georgia-Pacific factors

04:53   16    one more time?

04:53   17    BY MS. PROCTOR:

04:53   18            Q.   So on Georgia-Pacific Factor 1, were there any

04:53   19    licenses that were relevant under this factor here?

04:53   20            A.   No.

04:53   21            Q.   And under Georgia-Pacific Factor 2, were there any

04:53   22    agreements that Intel looked at that you found to be comparable

04:53   23    here?

04:53   24            A.   No.

04:53   25            Q.   And as we talked about already on Georgia-Pacific


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04:53    1    Factor 10, the last bit there is the benefits to those who have

04:53    2    used the invention, right?

04:53    3         A.     Yes.

04:53    4         Q.     And in this case, of course, that's Intel, right?

04:53    5         A.     That's right.

04:53    6         Q.     And, Dr. Sullivan, in all of your analysis that we've

04:53    7    talked about this afternoon, did you consider all of the

04:53    8    Georgia-Pacific factors and all the relevant evidence under

04:53    9    each of those factors?

04:53   10         A.     Yes.    I did.

04:53   11         Q.     Thank you, Dr. Sullivan.

04:53   12                          FURTHER RECROSS-EXAMINATION

04:53   13    BY MR. LEE:

04:54   14         Q.     Just one more question.

04:54   15         MR. LEE:      If we could keep that on the screen.

04:54   16         THE COURT:     I'm willing to bet it's not just one more

04:54   17    question.

04:54   18         (Laughter.)

04:54   19         THE COURT:     But I'll --

04:54   20         MR. LEE:      I'm going to take that bet so I can win it.

04:54   21    BY MR. LEE:

04:54   22         Q.     Dr. Sullivan, Mr. Huston disagrees with you on the

04:54   23    question of whether there are license agreements that are

04:54   24    relevant under Georgia-Pacific Factor No. 1, correct?

04:54   25         A.     He does under Factor 2, but I don't recall the


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04:54    1    disagreement under Factor 1 at the moment.

04:54    2         MR. LEE:     He'll be here to testify.     Nothing further, Your

04:54    3    Honor.

04:54    4         THE COURT:     Good job.

04:54    5         Anything else for, Dr. Sullivan?

04:54    6         MS. PROCTOR:    No, Your Honor.

04:54    7         THE COURT:     Dr. Sullivan, you may step down.

04:54    8         Ladies and gentlemen of the jury, we are going to recess

04:54    9    for the evening.    Is there any problem with starting tomorrow

04:55   10    morning at 9 o'clock?

04:55   11         If not, then remembering my instructions not to discuss

04:55   12    the case amongst yourselves or, since you're going home, with

04:55   13    anyone else.    I'll see you tomorrow.     Hopefully if you'll be

04:55   14    here by 8:45, that would be great.

04:55   15         THE BAILIFF:    All rise.

04:55   16         (Jury exited the courtroom at 4:55.)

04:55   17         THE COURT:     Thank you.   You may be seated.

04:55   18         A couple of things.      Housekeeping.

04:55   19         One is, we are going to do the jury charge Friday

04:55   20    afternoon after we finish with the trial day.         I always hated

04:55   21    it when I was in trial and the judge made me come sit and work

04:55   22    on the jury charge while I thought maybe I could be getting

04:56   23    ready for the next day in trial, so I'm trying to avoid that

04:56   24    for you all.    And so that's why I'm doing it Friday afternoon

04:56   25    as opposed to tomorrow.


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04:56    1            Number two, the plaintiffs, by our calculation, have used

04:56    2    six hours and 26 minutes.         The defendant has used four hours

04:56    3    and 19 minutes is what we show.         If tomorrow you tell me that

04:56    4    there's a substantial discrepancy, let me know.

04:56    5            But it appears to me that the plaintiff has only used six

04:56    6    hours and 26 minutes at this point, and you're essentially done

04:56    7    with your case-in-chief.         Doesn't look to me like anyone's in

04:56    8    great peril of running out of time with the amount of time I

04:56    9    gave you for trial, so I don't know that it's that big a deal

04:56   10    one way or the other.

04:56   11            So having said that, let me start with the plaintiff.

04:56   12            Mr. Chu, is there anything we need to take up this evening

04:56   13    before we part?

04:56   14            MR. CHU:     Nothing further, Your Honor.     Thank you.

04:56   15            THE COURT:    I love the jacket.     I think that's a good

04:57   16    look.

04:57   17            MR. LEE:     Oh, two things, Your Honor.     Mr. Mueller should

04:57   18    deal with the exhibit question that came up earlier today, just

04:57   19    for the record.

04:57   20            THE COURT:    Okay.

04:57   21            MR. LEE:     But this relates to the 255 case and I'm sure

04:57   22    that --

04:57   23            (Clarification by Reporter.)

04:57   24            THE COURT:    Why don't you come to the podium?

04:57   25            MR. LEE:     Okay.    Your Honor, this deals with the motion to


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04:57    1    transfer in the 255 case, and I'm sure they haven't had a

04:57    2    chance to address it, but we'd like to get an extension to

04:57    3    March 10th to respond, only because we're here working on this

04:57    4    case.

04:57    5            THE COURT:    I don't have a problem with that if they don't

04:57    6    have a problem with that.

04:57    7            MR. CHU:     We do have a problem.

04:57    8            THE COURT:    Okay.

04:57    9            MR. CHU:     The basis for the motion, as well as their

04:57   10    opposition, has been briefed multiple times.           It's the same

04:57   11    issues.

04:57   12            THE COURT:    Yeah.   Let me interrupt you, Mr. Chu.        Is this

04:57   13    motion to transfer the April setting?

04:58   14            MR. CHU:     Yes.

04:58   15            THE COURT:    I'll double-check, Mr. Lee, but I don't think

04:58   16    Austin is open in April.       I think they've already made that

04:58   17    decision.    I think that's correct.

04:58   18            If you all know that that's incorrect, let me know.          But

04:58   19    the most recent order I saw -- and I am pretty certain they're

04:58   20    closed in April.       And I am pretty certain that they have not

04:58   21    yet decided if and when -- that's the wrong word -- that they

04:58   22    have not decided when they will resume having trials in Austin.

04:58   23            MR. LEE:     Your Honor, I don't disagree with Mr. Chu that

04:58   24    the basic issues have been briefed before.           I also expect that

04:58   25    we will -- the briefs will be very similar to what you've seen


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04:58    1    before.   And I expect the ruling will be, if Austin's closed,

04:58    2    what we've seen before.      We'd just like a little extra time to

04:58    3    do it because we're in trial.

04:59    4         THE COURT:    I understand.

04:59    5         Mr. Chu, I will forecast for you that what Mr. Lee just

04:59    6    predicted is accurate, that if I'm correct that the Austin

04:59    7    court is not going to be open in April and they are not able to

04:59    8    say that they'll be open immediately after April, given what

04:59    9    I've decided in the past, I can assure you that the resolution,

04:59   10    you may not need to file a reply.        Or I'll know -- I mean, it's

04:59   11    their reply -- maybe it's -- you won't need to file a rebuttal.

04:59   12         MR. CHU:     Here's our concern, Your Honor.

04:59   13         THE COURT:    Okay.

04:59   14         MR. CHU:     We think there is at least the tiny possibility

04:59   15    that Intel will run to the Federal Circuit.          There's some data

04:59   16    in this particular litigation between the parties.           And then as

04:59   17    a result of that, the current trial date gets delayed.             They --

04:59   18    as a practical matter, 99 times out of 100, I am always willing

05:00   19    to grant reasonable extensions.

05:00   20         THE COURT:    I understand.

05:00   21         MR. CHU:     But this is an old motion that they have filed

05:00   22    twice in this Court, went to the Federal Circuit twice, and

05:00   23    they've shown the capacity to do the full briefing in 24 hours.

05:00   24         THE COURT:    Can you tell me when we're set for trial in

05:00   25    April?    I know we are, but I don't know.


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05:00    1         MR. CHU:     April 12, I believe.

05:00    2         THE COURT:    Mr. Lee, I don't want to be obstreperous here.

05:00    3    I understand you're in trial.       But Mr. Chu makes a pretty good

05:00    4    point that if I deny it -- let's say I do deny the motion on

05:00    5    March 16th, and to protect your client you go to the Federal

05:00    6    Circuit.    I am worried if I wait till then that it may disturb

05:00    7    our trial setting here.

05:00    8         MR. LEE:     Your Honor, I can represent to you that if there

05:00    9    are no changed circumstances -- we understand what Your Honor's

05:01   10    ruling will be.    And if there are no changed circumstances, I'm

05:01   11    not going to file a petition for a mandamus.

05:01   12         Now, the only reason I say it that way is something could

05:01   13    happen.    I doubt that it will, but that's not our intention.

05:01   14    Our intention is to propose the motion because we have to for

05:01   15    the record, but we expect to be on trial before Your Honor on

05:01   16    April the 12th.

05:01   17         THE COURT:    Very good.     I'm satisfied with that

05:01   18    representation because -- let me do this.

05:01   19         Let me -- before -- Mr. Lee, before I grant your motion,

05:01   20    let me find out from Austin what the status is of the Austin

05:01   21    courthouse.    And that way that will be -- I see it as a

05:01   22    two-step deal.    You all can tell me if you see it differently.

05:01   23         The concern -- the reason we're having the case now here

05:01   24    in Waco was not only because the Austin courthouse was

05:01   25    unavailable in January and in February, but they couldn't tell


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05:02    1    me with any certainty when it would be reopened.            I'm 99

05:02    2    percent sure it will be closed in April.          And as best I can

05:02    3    tell, they won't be able to tell me when it's going to reopen.

05:02    4            And under those two circumstances, I would definitely

05:02    5    continue the trial in Waco on the 12th.          And I would be -- if I

05:02    6    grant this, unlike the last time, this time I probably would be

05:02    7    very unhappy if you went to the Circuit.          I heard what you

05:02    8    said.    I don't anticipate you will.       But this time I might be

05:02    9    more concerned about Intel going to the Circuit if it's an

05:02   10    identical situation that the Circuit has already addressed.

05:02   11            So with that being said, let me try and find out overnight

05:02   12    what the status is in Austin.        If it is as I believe it is, I'm

05:02   13    going to grant Intel the extension of time to file the motion

05:03   14    or pleading, whatever it is, but Intel should expect the same

05:03   15    ruling as there was in this case if the circumstances are the

05:03   16    same.

05:03   17            Yes, sir.

05:03   18            MR. CHU:     Not necessarily to do it right at this instance,

05:03   19    because we had no notice that this exact issue comes up.             If we

05:03   20    could reserve a response until tomorrow morning in terms of if

05:03   21    the circumstances Your Honor just described are in fact true,

05:03   22    then what a reasonable date would be in terms of their

05:03   23    responding.     And obviously of course what Your Honor learns

05:03   24    between now and tomorrow may have an impact.

05:03   25            THE COURT:    Okay.   Anything else?


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05:03    1         MR. CHU:     Not for me.

05:03    2         THE COURT:     Yes, sir.

05:03    3         MR. MUELLER:      Yes, Your Honor.     Just briefly on the

05:03    4    exhibits.

05:03    5         THE COURT:     Oh, please.

05:03    6         MR. MUELLER:      And, Your Honor, this is with respect to the

05:03    7    list that was read this morning before we started.

05:03    8         THE COURT:     Oh, good.

05:03    9         MR. MUELLER:      We had two.

05:04   10         THE COURT:     It's sad when you have to remind me of what

05:04   11    you did this morning and I truly had not remembered it.

05:04   12         MR. MUELLER:      No problem.

05:04   13         THE COURT:     It's been a long day.

05:04   14         MR. MUELLER:      So, Your Honor, there's two issues.

05:04   15         Number one is there were two exhibits that we could not

05:04   16    find referred to on the record during the testimony.                I'll read

05:04   17    those two.

05:04   18         The first one is PTX-1696.         The second is PTX-3851.         And

05:04   19    my understanding is our team notified their team and asked for

05:04   20    a transcript cite, and we haven't received it yet.            So those

05:04   21    two we don't think should be admitted until we have some clear

05:04   22    indication that they were used.

05:04   23         THE COURT:     And let me hear from -- do you have any reason

05:04   24    to believe that --

05:04   25         MR. HEINRICH:      So PTX-1696 was addressed by Dr. Conte, but


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05:04    1    we didn't call out that particular exhibit number.           It was on

05:04    2    the slide but not stated.      And I do believe -- I need to

05:05    3    confirm, but I do believe 3851 was in error.          So I think

05:05    4    there's just one at issue.

05:05    5         THE COURT:     Well, if the doctor discussed it without

05:05    6    objection -- a slide without objection that referred to an

05:05    7    exhibit, then I'm going to admit that exhibit.

05:05    8         MR. HEINRICH:     Okay.

05:05    9         THE COURT:     Assuming that's correct, if the jury's heard a

05:05   10    discussion of a slide that was derived from an exhibit and

05:05   11    there was no objection to the slide, I'm going to admit the

05:05   12    exhibit.

05:05   13         MR. MUELLER:     And, Your Honor, the other three were

05:05   14    exhibits that were used on cross-examination of Dr. Conte.          We

05:05   15    would ask that these be added to the list of admitted exhibits.

05:05   16    And those are DX-249, DX-517 and PTX-1590, and I have page

05:05   17    citations, if necessary, to where those were used.

05:06   18         MR. HEINRICH:     We have no objections.

05:06   19         THE COURT:     There you go.

05:06   20         MR. MUELLER:     Thank you, Your Honor.

05:06   21         THE COURT:     Winning.

05:06   22         (Laughter.)

05:06   23         THE COURT:     Is there anything that we need to take up,

05:06   24    Mr. Lee?

05:06   25         MR. LEE:     No, Your Honor.


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05:06    1         THE COURT:    Mr. Chu?

05:06    2         MR. CHU:     No, Your Honor.    Thank you.

05:06    3         THE COURT:    Okay.   I hope to see that jacket tomorrow.

05:06    4         (Hearing adjourned at 5:06 p.m.)

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 1    UNITED STATES DISTRICT COURT )

 2    WESTERN DISTRICT OF TEXAS        )

 3

 4         I, Kristie M. Davis, Official Court Reporter for the

 5    United States District Court, Western District of Texas, do

 6    certify that the foregoing is a correct transcript from the

 7    record of proceedings in the above-entitled matter.

 8         I certify that the transcript fees and format comply with

 9    those prescribed by the Court and Judicial Conference of the

10    United States.

11         Certified to by me this 8th day of March 2021.

12
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